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      EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 MAURICE FRANKLIN,                               )
                                                 )
                Plaintiff,                       )   Case No. 21-cv-04367
                                                 )
        v.                                       )   Hon. Steven C. Seeger
                                                 )
 MAXIMUS, INC., MAXIMUS                          )   Magistrate Judge Jeffrey T. Gilbert
 HUMAN SERVICES, INC., AND                       )
 MAXIMUS SERVICES LLC                            )
                                                 )
                Defendants.                      )

            DEFENDANTS’ FIRST SET OF INTERROGATORIES TO PLAINTIFF

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendants direct Plaintiff

Maurice Franklin (“Plaintiff,” “Franklin,” or “you”) to answer in writing, separately and under

oath, the following interrogatories within thirty (30) days of the date of service hereof.

                             INSTRUCTIONS AND DEFINITIONS

       In answering these interrogatories, provide all information available to you, including

information in the possession of your attorneys, any investigators, and all persons acting on your

behalf. If you cannot answer the interrogatories in full after exercising due diligence to secure the

information, so state and answer to the extent possible, specifying your inability to answer the

remainder and stating whatever information or knowledge you have concerning the unanswered

portions.

       The interrogatories that follow are to be considered as continuing, and you are requested

to provide, by way of supplementary answers, such additional information as you or any person

acting on your behalf may hereafter obtain which will augment, clarify, or otherwise modify the

answers now given to these interrogatories.

       As used herein, the following terms shall have the meanings indicated below:
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    a. “Plaintiff,” “Franklin,” and “you” means Plaintiff Maurice Franklin, and includes all
       persons acting or purporting to act on her behalf.

    b. “Maximus” and “Defendants” means, collectively, Maximus, Inc., Maximus Human
       Services, Inc., Maximus Services LLC, and their current or former officers, directors,
       managers, supervisors, employees, representatives, assigns, agents, attorneys,
       consultants, divisions, departments, brands, affiliates, predecessors, successors, and
       subsidiaries.

    c. “Second Amended Complaint” means the Second Amended Complaint filed by
       Franklin on May 24, 2022 in the United States District Court for the Northern District
       of Illinois in the case captioned as Maurice Franklin v. Maximus, Inc., Maximus Human
       Services, Inc., and Maximus Services LLC, and any amended complaints.

    d. “Litigation” means the case captioned as Maurice Franklin v. Maximus, Inc., Maximus
       Human Services, Inc., and Maximus Services LLC, Case No. 1:21-cv-04367, pending
       in the United States District Court for the Northern District of Illinois.

    e. “Period of Employment” means the period of time in which you were an employee of
       Maximus, i.e., from your rehire on or about August 25, 2008 until on or about October
       9, 2021.

    f. “Person” means natural persons, corporations, partnerships, sole proprietorships,
       unions, organizations, associations, federations, or any other kind of entity.

    g. “Document” means any written, printed, typed, recorded, transcribed, punched, taped,
       or graphic matter of every type and description, however and by whomever prepared,
       produced, reproduced, disseminated, or made, in the actual or constructive possession,
       custody, or control of Plaintiff, or the existence of which you have knowledge,
       including but not limited to all communications, correspondence, writings, letters,
       envelopes, routing slips, statements, computer printouts, pleadings, filings, affidavits,
       memoranda, opinions, analyses, evaluations, journals, statistical records, worksheets,
       tabulations, records and/or minutes of meetings, handwritten notes, instruments,
       specifications, logs, plans, drawings, sketches, diagrams, blueprints, Photostats, charts,
       motion pictures, bulletins, telegrams, telexes, memoranda, notes, instructions,
       literature, work assignments, notebooks, diaries, calendars, records, agreements,
       contracts, notations of telephone or personal conversations or conferences, messages,
       inter-office or intra-office communications, e-mail, microfilm, circulars, pamphlets,
       studies, notices, summaries, reports, books, checks, credit card vouchers, statements of
       account, receipts, invoices, graphs, photographs, drafts, data sheets, data compilations,
       computer data sheets, computer data compilations, work sheets, statistics, speeches or
       other writings, tape recordings, audiotapes, videotapes, phonograph records, data
       compilations from which information can be obtained or can be translated through
       detection devices into reasonably usable form, including, but not limited to, CD, DVD,
       external or internal hard drives, thumb drives, or any other tangible thing that records
       information in any way which constitute or contain discoverable matters including all
       programs necessary for accessing any electronically stored information. The term
       “document” shall include the original and any copies that differ in any manner

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       whatsoever from the original (whether different from the original because of notes
       made on such copy or otherwise) and any drafts thereof. For purposes of this definition,
       a document is within the possession or control of you if it is in the possession or control
       of any of your attorneys, investigators for your attorneys, independent accountants,
       directors, trustees, or any person acting on behalf of or in concert with you or with any
       of the above-referenced individuals, or otherwise in their possession or control. The
       term “document” shall also include all electronically stored information (“ESI”), which
       is information created, manipulated, stored, and best utilized in digital form, requiring
       the use of computer hardware and software. ESI includes, but is not limited to e-mails,
       text messages, instant messages, internet message boards, postings, social networking
       activity, posting and messages on social media such as Facebook, Twitter, Instagram,
       and LinkedIn.

    h. “Describe in detail” means: (1) state each fact supporting your position regarding the
       matter in question; (2) identify each person or entity with knowledge of such facts; (3)
       state the knowledge each person or entity has; and (4) identify each document upon
       which you rely regarding the matter in question.

    i. “Relating to,” “relate to,” “concerning,” and “evidencing” means relating to, referring
       to, alluding to, responding to, connected with, commenting on, in respect of, about,
       regarding, discussing, showing, describing, reflecting, analyzing, constituting,
       mentioning, supporting, or concerning, directly or indirectly, or in any way relevant to
       the specified subject.

    j. “Identify,” with respect to a natural person, means: (1) his or her name; (2) his or her
       last known home address and telephone number; (3) his or her job title; (4) his or her
       business address and telephone number; and (5) his or her relationship, if any, to you.

    k. “Identify,” with respect to a corporation, association, organization, or other entity,
       means: (1) the legal name under which such entity is incorporated or registered; (2) the
       State in which such entity is incorporated or registered; (3) the full business address
       and telephone number of such entity; and (4) the officers of such entity.

    l. “Identify,” with respect to documents, means: (1) the author thereof and the person or
       persons to whom the document originally was directed; (2) the source from whom you
       obtained such document or documents; (3) the date of each such document or
       documents; (4) the current custodian of each such document or documents; (5) the
       location at which each such document or documents is situated; and (6) the subject
       matter of each such document or documents.

    m. “Communication,” “communicate,” or “correspondence” means any transmission or
       exchange of information between two or more persons, orally or in writing, and
       includes, without limitation, any conversation or discussion, whether face-to-face or by
       means of any telephone, email, text, mail, letter, memoranda, telecopies, electronic or
       other online media, Slack messages, instant messages, text messages, SMS messages,
       direct messages, and postings and messages on Internet social media such as Facebook,
       Twitter, Instagram, and LinkedIn. To “identify” a communication means to state
       whether the communication was oral, written on paper or other material, communicated

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           electronically, or communicated in some other manner, specifying how. If the
           communication was oral, identify the participants, the date, the place, whether the
           communication was in person, provide a summary of the conversation, and identify
           any notes, memoranda, diaries or other documents relating thereto.

       n. Defendants also incorporate by reference the Definitions set forth in their First Request
          for Production of Documents to Plaintiff.

       o. “Health Care Provider” means doctor, physician, mental health care professional,
          psychiatrist, psychologist, therapist, counselor, social worker, or other health care
          professional.

       Whenever appropriate in these interrogatories, the singular form of a word shall be

interpreted as plural and vice versa, so as to provide the broadest possible meaning.

       Whenever appropriate in these interrogatories, the masculine form of a word shall be

interpreted as feminine and vice versa, so as to provide the broadest possible meaning.

       The words “and” and “or” are to be used conjunctively or disjunctively, whichever will

provide the broader interpretation of the interrogatory using these words.

       If you claim a privilege regarding a document, identify the document. In the event you

withhold any information requested herein on the basis of a claim of privilege, state the nature and

basis of the privilege asserted, and provide a privilege log.

       If you at any time had possession or control of a document called for under any document

request, and such document has been lost, misplaced, misfiled, obliterated, purged, mutilated,

erased, or is not presently in your possession or control, identify the document, state the date and

place where it was last known to be in the custody of such person, and the circumstances

surrounding its loss or disappearance.

       If any document called for under any request is subject to any written or oral addition,

alteration, cancellation, or modification, identify the document incorporating such change or, if

such change was oral, a statement of the oral terms incorporated.

                                     INTERROGATORIES


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INTERROGATORY NO. 1:

       Identify any person you or anyone acting on your behalf has interviewed, either formally

or informally, relating to the allegations in your Second Amended Complaint or Maximus’ Answer

to the Second Amended Complaint, including the date of the interview and the telephone number

of the person interviewed. If there were any notes or documents produced as a result of those

interviews, please identify those documents by author, date, general description, and location.

INTERROGATORY NO. 2:

       Identify each and every Health Care Provider with whom you visited, consulted, or

received treatment from January 1, 2008 through the present. For each Health Care Provider

identified, state: (a) his or her address; (b) any institutions with which he or she is presently

affiliated; (c) any institutions with which he or she was associated or affiliated while treating you;

(d) his or her occupation; (e) his or her area of specialization, if any; (f) the date and time of any

occasion in which you consulted him or her; (g) the condition for which treatment was sought; (h)

the nature of the treatment rendered; (i) the diagnosis that was rendered; (j) whether you are

presently receiving treatment or consultation from such person; (k) whether you have been

prescribed any medications, and if so, whether you are currently taking such medications; and (l)

the cost of treatment.

INTERROGATORY NO. 3:

       Identify all hospitals, health care facilities, or other medical institutions to which you have

were admitted from January 1, 2008 through the present, and state: (a) the reason for your stay in

such hospital, health care facility, or medical institution; (b) the condition or conditions for which

you were treated; (c) the diagnosis and prognosis of the physical or mental condition treated; (d)

the inclusive dates of confinement of each such hospital, healthcare, or other medical institution;

and (e) any and all documents relating to your response to this Interrogatory.


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INTERROGATORY NO. 4:

       For all medications prescribed to you by a Health Care Provider for any physical or mental

illness or impairment at any time during your Period of Employment through the present, state: (a)

the name of the medication; (b) the general purpose of the medication; (c) the name and address

of the medical provider who prescribed the medication; (d) the inclusive dates during which you

were prescribed the medication; and (e) the inclusive dates during which you took the medication.

INTERROGATORY NO. 5:

       State whether you have ever lodged an internal complaint of discrimination, harassment,

retaliation, or interference of your rights under the Family and Medical Leave Act (“FMLA”)

against any person or against any entity by which you were employed (other than Maximus). If

your answer to this Interrogatory is in the affirmative, identify any such entities and/or persons,

the nature of the complaint(s) lodged, and the resolution thereof.

INTERROGATORY NO. 6:

       Identify each and every complaint of discrimination, harassment, retaliation, or

interference of your rights under the FMLA that you made during your employment with

Maximus, when and to whom the complaint was made, the nature and details of the complaint, the

method by which you complained (including whether the complaint was made orally or in writing),

how the complaint was submitted (including whether via email, Ethics Point, or otherwise), the

response you received to the complaint, and any witnesses to each of the events and/or utterances

about which you complained or the complaints themselves.

INTERROGATORY NO. 7:

       Identify: (a) all actions taken by one or more of the Defendants which you contend

constitute discrimination, harassment, retaliation, or interference of your rights under the FMLA;

(b) the individual(s) who took each such action; (c) the date(s) on which such discrimination,


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harassment, retaliation, or FMLA interference took place; (d) any witnesses to each of these

alleged events; and (e) any facts and evidence that support your contention the action was taken

because of your race, gender, and/or participation in any protected activity.

INTERROGATORY NO. 8:

       Identify all current or former employees of Maximus whom you contend or may contend

were similarly situated to you but whom Maximus treated more favorably than you. For each such

employee, fully state and describe: (a) how each employee was treated more favorably than you;

(b) the managers or other agents of Maximus who made decisions with respect to any person

allegedly treated more favorably than you; (c) the date or time period of any alleged more favorable

treatment; (d) how you came to know the facts or allegations that allegedly support these claims;

and (e) any documents which support your answer to this Interrogatory.

INTERROGATORY NO. 9:

       With respect to the allegations raised in Paragraph 238 of the Second Amended Complaint

that “Defendants discriminated against the plaintiff based upon his race by paying him at lower

rate than individuals who were either subordinate to or a direct report of the Plaintiff,” identify:

(a) the name of each of the alleged subordinates or individuals who directly reported to you; and

(b) any documents which support your answer to this Interrogatory.

INTERROGATORY NO. 10:

       With respect to the allegations raised in Paragraph 301 of the Complaint that “Plaintiff

attempted to return to his employment with the Defendants but was denied,” identify: (a) when

you were allegedly denied; (b) who communicated this alleged denial to you; (c) the method by

which the alleged denial was communicated to you, including whether it was written or oral; (d)

the substance of the conversation, including who said what; (e) any witnesses and/or participants

to any conversation relating to these allegations; (f) any actions you took, including any complaints


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made, in response to this alleged denial; and (g) any documents which support your answer to this

Interrogatory.

INTERROGATORY NO. 11:

       With respect to each audio recording you produced in connection with this Litigation on

May 24, 2022, identify: (a) when this audio recording was made; (b) the individuals whose voices

are heard on the audio recording; (c) any individuals who witnessed and/or participated in the

conversation recorded whose voices cannot be heard; (d) how the audio recording was made,

including the device that captured the recording and any applications used to capture the recording;

(e) who made the recording; (f) Plaintiff’s physical location at the time of the recording; (g) the

physical location of any witnesses and/or participants to the conversation being recorded; and (h)

any documents which support your answer to this Interrogatory.

INTERROGATORY NO. 12:

       Identify every position at Maximus to which you applied during the Period of Employment,

including when you applied to the position, the manner in which you applied (including whether

you submitted an application and how you submitted any such application), any applications you

submitted, any responses you received to applying to the position, and any documents which

support your answer to this Interrogatory.

INTERROGATORY NO. 13:

       Identify each prospective employer whom you have contacted in any way during the Period

of Employment through the present and describe in detail every attempt you have made or are

making to secure employment during the Period of Employment through the present. For each

such prospective employer you have contacted, identify the following:

       (a)       The dates of each contact;
       (b)       Whether the contact was by email, other written correspondence, over the
                 telephone, or in person;
       (c)       The names of the individuals with whom you corresponded, spoke with, or had any
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              other contact with;
       (d)    The position or type of work you sought;
       (e)    The geographic location of the position or work you sought; and
       (f)    The results of your contact, for example, “received job offer,” “had telephone
              interview,” “no response,” “rejected job offer,” etc.
For all other attempts you have made or are making to secure employment, identify the following:

       (g)    Each and every job board or job search website you are (or were) registered on or
              a member of during your Period of Employment through the present, and each and
              every employment opportunity, advertisement, solicitation, bid, or proposal you
              have answered, responded to or pursued;
       (h)    All correspondence you have sent to or received from all employment agencies,
              government agencies, placement agencies, temporary placement firms, internet job
              application sites, or search firms you have contacted;
       (i)    All job offers you have received, including the job title and salary offered, or
              alternatively, whether you have rejected any offer of employment during your
              Period of Employment through the present, and if so, explain in detail the reasons
              for each rejection; and
       (j)    All persons, other than prospective employers, with whom you have discussed your
              job search or possible employment.
INTERROGATORY NO. 14:

       Identify and describe every position of employment you have held since the Period of

Employment through the present, including but not limited to self-employment (which includes

services provided by you as an independent contractor), and for each such employment, state the

following:

       (a)    the name, address, and telephone number of the employer;
       (b)    the position you held;
       (c)    the nature of that employment, i.e., your job duties;
       (d)    the rate of pay;
       (e)    the dates you began and ended employment with such employer; and
       (f)    the reason(s), if any, you left such employment, and whether you left voluntarily or
              involuntarily.

INTERROGATORY NO. 15:




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       Identify all income received from whatever source, by amount each week on and after

January 1, 2008. Sources of income may include, but are not limited to: income from employment

or self-employment; any benefits, including but not limited to monetary and/or health, pension,

disability, social security, financial aid, insurance proceeds, or profit-sharing benefits received

from a government, private, or employer-sponsored plan; and any unemployment benefits,

alimony, or other support.

INTERROGATORY NO. 16:

       Identify, by case name, court, and docket number, each and every criminal proceeding,

administrative proceeding (including but not limited to any application for Social Security

disability benefits and any charges of discrimination), bankruptcy proceeding, and civil suit in

which you have been involved, and state the current status or final disposition of the proceeding.

Also, with respect to each judicial or administrative complaint or charge that you have instituted

against any person, and each judicial or administrative complaint to which you have been a party,

state the index, docket, complaint, charge, or other identification number or designation, and state

the current status or final disposition of the proceeding.

INTERROGATORY NO. 17:

       State whether you have been charged with or convicted of any crimes during the last ten

(10) years, and with respect to each, state: (a) the date or approximate date of the charge and/or

conviction(s); (b) the crime(s) for which you were charged and/or convicted; and (c) the case

number(s), court name(s) and address of the court(s) in which you were charged or convicted.

INTERROGATORY NO. 18:

       Identify every person with personal knowledge of facts relating to the allegations in your

Second Amended Complaint and/or who may have discoverable knowledge, information, or data

relating to this matter, and state the subject(s) of that knowledge, information, or data.


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INTERROGATORY NO. 19:

       Identify by URL or web address every social media site (e.g., Facebook, Instagram,

Snapchat, Twitter, LinkedIn, a blog, etc.) and email account(s) to which you have subscribed, used,

or maintained during your Period of Employment, and state whether you have searched these social

media sites and email accounts for documents and information requested in Defendants’ First Set

of Interrogatories to Plaintiff and Defendants’ First Request for Production of Documents.

INTERROGATORY NO. 20:

       Identify all persons (other than your attorneys) with whom you have communicated

concerning facts, issues, or other matters involved in this Litigation and describe in detail the

substance and date of each communication or discussion.

INTERROGATORY NO. 21:

       Identify all persons who will or may testify as an expert witness in this case, and describe

in detail: (a) the general subject matter of the testimony of each such expert witness; (b) the

substance of the facts and opinions to which each expert witness is expected to testify; (c) a

summary of the grounds for each opinion; and (d) the area of each expert witness’ expertise and

his or her qualifications establishing him or her as an expert, including his or her knowledge, skill,

experience, training, or education relating to the subject of the testimony.

INTERROGATORY NO. 22:

       With regard to alleged damages, (a) identify the precise dollar amount of monetary

damages you claim for each element of damages with specificity, including but not limited to, any

claims for attorneys’ fees; (b) state the method or methods by which the amount of damages you

claim were calculated; (c) state the nature of any non-monetary damages and the reason(s) why

you are seeking such relief; and (d) identify every document upon which you relied in answering

this Interrogatory, which relates in any way to the information requested in this Interrogatory or


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which you claim supports your claim for damages as set forth in your answers.


Dated: July 13, 2022                         Respectfully Submitted,

                                             MAXIMUS, INC., MAXIMUS HUMAN
                                             SERVICES, INC., AND MAXIMUS
                                             SERVICES LLC

                                             /s/ Kathryn J. Barry________________
                                             One of Its Attorneys

                                             Kathryn Montgomery Moran
                                             Kathryn J. Barry
                                             Casey J. Leech
                                             JACKSON LEWIS P.C.
                                             150 N. Michigan Avenue, Suite 2500
                                             Chicago, Illinois 60601
                                             Telephone: (312) 787-4949
                                             Fax: (312) 787-4995
                                             kathryn.moran@jacksonlewis.com
                                             kathryn.barry@jacksonlewis.com
                                             casey.leech@jacksonlewis.com




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                                 CERTIFICATE OF SERVICE

         The undersigned, an attorney, hereby certifies that on July 13, 2022, she caused a true and

correct copy of the foregoing DEFENDANTS’ FIRST SET OF INTERROGATORIES TO

PLAINTIFF to be served via electronic mail upon the following counsel of record:

                                           F. Anthony Dawkins
                                          Morgan & Morgan, PA
                                         191 Peachtree Street, NE
                                                Suite 4200
                                            Atlanta, GA 30303
                                       adawkins@forthepeople.com

                                                                     /s/ Kathryn J. Barry
4890-8492-7527, v. 1




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   EXHIBIT B
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                      IN THE
                      IN THE UNITED
                             UNITED STATES
                                    STATES DISTRICT
                                            DISTRICT COURT
                                                      COURT
                     FOR  THE NORTHERN  DISTRICT  OF ILLINOIS
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN
                                EASTERN DIVISION
                                         DIVISION

 MAURICE
 MAURICE FRANKLIN,
         FRANKLIN,                              ))
                                                ))
                Plaintiff,
                Plaintiff,                      ))   Case No.
                                                     Case     21-cv-04367
                                                          No. 21-cv-04367
                                                ))
        v.
        v.                                      ))   Hon.
                                                     Hon. Steven
                                                          Steven C.
                                                                 C. Seeger
                                                                    Seeger
                                                ))
 MAXIMUS, INC.,
 MAXIMUS,  INC., MAXIMUS
                 MAXIMUS                        ))   Magistrate Judge
                                                     Magistrate Judge Jeffrey
                                                                      Jeffrey T.
                                                                              T. Gilbert
                                                                                 Gilbert
 HUMAN SERVICES,
 HUMAN  SERVICES, INC.,
                   INC., AND
                         AND                    ))
 MAXIMUS
 MAXIMUS SERVICES
          SERVICES LLC
                     LLC                        ))
                                                ))
                Defendants.
                Defendants.                     ))

          DEFENDANTS’
          DEFENDANTS’ FIRST
                      FIRST SET
                            SET OF
                                OF REQUESTS
                                   REQUESTS FOR
                                             FOR PRODUCTION
                                                 PRODUCTION OF
                                                            OF
                        DOCUMENTS TO
                        DOCUMENTS   TO PLAINTIFF
                                       PLAINTIFF

       Pursuant
       Pursuant to
                to Rule
                   Rule 34
                        34 of
                           of the
                              the Federal
                                  Federal Rules
                                          Rules of
                                                of Civil
                                                   Civil Procedure,
                                                         Procedure, Defendants
                                                                    Defendants direct
                                                                               direct Plaintiff
                                                                                      Plaintiff

Maurice Franklin
Maurice Franklin (“Plaintiff,”
                 (“Plaintiff,” “Franklin,”
                               “Franklin,” or
                                           or “you”)
                                              “you”) to
                                                     to produce for inspection
                                                        produce for inspection and
                                                                               and copying
                                                                                   copying the
                                                                                           the

following documents
following documents within
                    within thirty
                           thirty (30)
                                  (30) days
                                       days of
                                            of the
                                               the date
                                                   date of
                                                        of service
                                                           service hereof.
                                                                   hereof.

                             INSTRUCTIONS
                             INSTRUCTIONS AND
                                          AND DEFINITIONS
                                              DEFINITIONS

       In answering
       In answering these
                    these document
                          document requests,
                                   requests, provide all documents
                                             provide all documents available
                                                                   available to
                                                                             to you,
                                                                                you, including
                                                                                     including

documents in
documents in the
             the custody,
                 custody, possession, or control
                          possession, or control of
                                                 of you,
                                                    you, your
                                                         your attorneys,
                                                              attorneys, any
                                                                         any investigators,
                                                                             investigators, and
                                                                                            and all
                                                                                                all

persons acting
persons acting on your behalf.
               on your behalf.

       The document
       The document requests
                    requests that
                             that follow
                                  follow shall
                                         shall be
                                               be deemed
                                                  deemed continuing
                                                         continuing in
                                                                    in nature
                                                                       nature and
                                                                              and further
                                                                                  further

supplemental responses
supplemental responses shall
                       shall be served upon
                             be served upon counsel
                                            counsel for
                                                    for Defendants
                                                        Defendants if
                                                                   if and
                                                                      and when
                                                                          when you
                                                                               you obtain
                                                                                   obtain

additional
additional documents
           documents or
                     or information
                        information relevant
                                    relevant to
                                             to these
                                                these requests.
                                                      requests.

       Your responses
       Your responses should
                      should be organized for
                             be organized for production
                                              production in
                                                         in accordance
                                                            accordance with
                                                                       with Rule
                                                                            Rule 34(b)
                                                                                 34(b) of
                                                                                       of the
                                                                                          the

Federal
Federal Rules
        Rules of
              of Civil
                 Civil Procedure,
                       Procedure, and
                                  and identified
                                      identified with
                                                 with reasonable particularity by
                                                      reasonable particularity by Bates-labels.
                                                                                  Bates-labels.

       As used herein,
       As used herein, the
                       the following
                           following terms
                                     terms shall
                                           shall have
                                                 have the
                                                      the meanings
                                                          meanings indicated
                                                                   indicated below:
                                                                             below:

       a.
       a. “Plaintiff,”
          “Plaintiff,” “Franklin,”
                        “Franklin,” and
                                     and “you”
                                         “you” means
                                                 means Plaintiff
                                                        Plaintiff Maurice
                                                                  Maurice Franklin,
                                                                          Franklin, and
                                                                                    and includes
                                                                                        includes all
                                                                                                 all
          persons   acting or
          persons acting   or purporting  to act
                              purporting to  act on
                                                 on her
                                                    her behalf.
                                                        behalf.
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     b. “Maximus”
        “Maximus” and and “Defendants”
                            “Defendants” means,
                                          means, collectively,
                                                  collectively, Maximus,
                                                                   Maximus, Inc.,
                                                                               Inc., Maximus
                                                                                      Maximus Human
                                                                                                  Human
        Services,  Inc., Maximus    Services LLC,   and their  current  or former    officers,
        Services, Inc., Maximus Services LLC, and their current or former officers, directors, directors,
        managers,
        managers, supervisors,
                      supervisors, employees,
                                     employees, representatives,
                                                   representatives, assigns,
                                                                        assigns, agents,
                                                                                    agents, attorneys,
                                                                                               attorneys,
        consultants,
        consultants, divisions,
                       divisions, departments,
                                  departments, brands,
                                                brands, affiliates,
                                                          affiliates, predecessors,
                                                                      predecessors, successors,
                                                                                        successors, and
                                                                                                      and
        subsidiaries.
        subsidiaries.

        “Second Amended
     c. “Second     Amended Complaint”
                                   Complaint” means
                                                  means the
                                                         the Second
                                                               Second Amended        Complaint filed
                                                                         Amended Complaint       filed by
                                                                                                        by
        Franklin
        Franklin onon May
                        May 24,24, 2022
                                   2022 in
                                         in the
                                            the United
                                                 United States
                                                        States District
                                                                District Court
                                                                          Court for
                                                                                for the  Northern District
                                                                                    the Northern  District
        of Illinois
        of Illinois in
                     in the
                        the case
                             case captioned
                                   captioned as
                                              as Maurice
                                                 Maurice Franklin
                                                          Franklin v.v. Maximus,
                                                                        Maximus, Inc.,
                                                                                   Inc., Maximus
                                                                                         Maximus Human
                                                                                                  Human
        Services, Inc.,
        Services,   Inc., and    Maximus Services
                           and Maximus                LLC, and
                                           Services LLC,    and any
                                                                any amended
                                                                      amended complaints.
                                                                                complaints.

     d. “Litigation”
        “Litigation” means
                     means thethe case
                                   case captioned
                                        captioned as  Maurice Franklin
                                                   as Maurice   Franklin v.  Maximus, Inc.,
                                                                          v. Maximus,   Inc., Maximus
                                                                                              Maximus
        Human Services, Inc., and Maximus Services LLC, Case No. 1:21-cv-04367, pending
        Human    Services,  Inc., and   Maximus   Services LLC,   Case  No.   1:21-cv-04367,   pending
        in
        in the
           the United
               United States
                       States District
                               District Court
                                         Court for
                                               for the Northern District
                                                   the Northern  District of
                                                                           of Illinois.
                                                                              Illinois.

     e. “Period
        “Period of
                 of Employment”
                     Employment” means
                                    means the
                                            the period
                                                 period of
                                                        of time
                                                           time in  which you
                                                                in which       were an
                                                                          you were   an employee
                                                                                         employee of
                                                                                                   of
        Maximus, i.e.,
        Maximus,    i.e., from
                          from your rehire on
                               your rehire on or
                                               or about
                                                  about August
                                                        August 25,
                                                                 25, 2008
                                                                     2008 until
                                                                          until on
                                                                                on or
                                                                                   or about
                                                                                       about October
                                                                                             October
        9,2021.
        9, 2021.

     f. “Person”
        “Person” means     natural persons,
                   means natural   persons, corporations,
                                             corporations, partnerships,
                                                             partnerships, sole
                                                                            sole proprietorships,
                                                                                  proprietorships,
        unions, organizations,
        unions, organizations, associations,
                               associations, federations,
                                             federations, or
                                                          or any
                                                             any other
                                                                  other kind
                                                                        kind of
                                                                             of entity.
                                                                                entity.

     g. “Document”
         “Document” means  means any any written,       printed, typed,
                                            written, printed,        typed, recorded,
                                                                               recorded, transcribed,
                                                                                              transcribed, punched,
                                                                                                                  punched, taped,taped,
        or
         or graphic
             graphic matter
                       matter of of every
                                      every type
                                               type andand description,
                                                              description, however
                                                                                however and   and by by whomever
                                                                                                          whomever prepared,prepared,
        produced, reproduced,
        produced,     reproduced, disseminated,
                                          disseminated, or     or made,
                                                                   made, in  in the
                                                                                the actual
                                                                                      actual or or constructive
                                                                                                     constructive possession,
                                                                                                                         possession,
        custody,
         custody, or or control
                           control of  of Plaintiff,
                                            Plaintiff, or  or the
                                                                the existence
                                                                       existence of   of which
                                                                                           which you   you havehave knowledge,
                                                                                                                         knowledge,
        including
         including butbut notnot limited
                                   limited to   to all
                                                    all communications,
                                                          communications, correspondence,
                                                                                     correspondence, writings,   writings, letters,
                                                                                                                                letters,
        envelopes,
         envelopes, routing
                       routing slips,
                                   slips, statements,
                                             statements, computer             printouts, pleadings,
                                                               computer printouts,           pleadings, filings,
                                                                                                               filings, affidavits,
                                                                                                                           affidavits,
        memoranda,
         memoranda, opinions,
                           opinions, analyses,
                                          analyses, evaluations,           journals, statistical
                                                        evaluations, journals,           statistical records,
                                                                                                         records, worksheets,
                                                                                                                        worksheets,
        tabulations,
         tabulations, records
                           records and/or
                                        and/or minutes
                                                   minutes of    of meetings,
                                                                       meetings, handwritten
                                                                                       handwritten notes,   notes, instruments,
                                                                                                                        instruments,
        specifications,
         specifications, logs,       plans, drawings,
                             logs, plans,      drawings, sketches,
                                                               sketches, diagrams,          blueprints, Photostats,
                                                                             diagrams, blueprints,            Photostats, charts,
                                                                                                                                charts,
        motion      pictures, bulletins,
         motion pictures,          bulletins, telegrams,
                                                    telegrams, telexes,telexes, memoranda,
                                                                                    memoranda, notes,      notes, instructions,
                                                                                                                        instructions,
        literature,    work assignments,
         literature, work        assignments, notebooks,
                                                       notebooks, diaries,diaries, calendars,
                                                                                       calendars, records,
                                                                                                         records, agreements,
                                                                                                                        agreements,
        contracts,    notations of
         contracts, notations        of telephone
                                          telephone or       personal conversations
                                                         or personal       conversations or      or conferences,
                                                                                                      conferences, messages,
                                                                                                                           messages,
        inter-office
         inter-office or or intra-office
                              intra-office communications,
                                                communications, e-mail,    e-mail, microfilm,
                                                                                       microfilm, circulars,
                                                                                                          circulars, pamphlets,
                                                                                                                          pamphlets,
        studies,
         studies, notices,
                   notices, summaries,
                               summaries, reports,            books, checks,
                                                  reports, books,        checks, credit
                                                                                    credit card
                                                                                              card vouchers,
                                                                                                      vouchers, statements
                                                                                                                      statements of    of
        account,
         account, receipts,
                    receipts, invoices,
                                 invoices, graphs,          photographs, drafts,
                                                graphs, photographs,            drafts, data
                                                                                           data sheets,
                                                                                                  sheets, datadata compilations,
                                                                                                                      compilations,
        computer
         computer datadata sheets,
                             sheets, computer
                                         computer data data compilations,
                                                               compilations, work  work sheets,
                                                                                             sheets, statistics,
                                                                                                         statistics, speeches
                                                                                                                         speeches or   or
         other writings,
        other    writings, tapetape recordings,
                                        recordings, audiotapes,
                                                          audiotapes, videotapes,
                                                                              videotapes, phonograph
                                                                                                phonograph records,   records, data data
        compilations
         compilations from  from which
                                    which information
                                               information can    can be be obtained
                                                                              obtained or   or can
                                                                                                 can be be translated
                                                                                                             translated throughthrough
        detection
         detection devices
                     devices intointo reasonably
                                         reasonably usable
                                                         usable form,
                                                                    form, including,
                                                                             including, but  but not
                                                                                                   not limited
                                                                                                         limited to, to, CD,
                                                                                                                          CD, DVD,
                                                                                                                                 DVD,
        external    or  internal    hard    drives,    thumb      drives,    or  any    other
         external or internal hard drives, thumb drives, or any other tangible thing that recordstangible      thing    that   records
         information in
        information       in any
                             any way       which constitute
                                   way which         constitute or   or contain
                                                                         contain discoverable
                                                                                     discoverable matters matters including
                                                                                                                       including all  all
        programs necessary
        programs      necessary for    for accessing
                                             accessing any   any electronically
                                                                    electronically stored  stored information.
                                                                                                      information. The      The term
                                                                                                                                   term
         “document” shall
        “document”         shall include
                                   include the   the original
                                                       original and  and anyany copies
                                                                                   copies that that differ
                                                                                                       differ in  in any
                                                                                                                       any manner
                                                                                                                               manner
        whatsoever from
        whatsoever        from the
                                 the original
                                         original (whether
                                                     (whether different
                                                                    different fromfrom the the original
                                                                                                  original because
                                                                                                                because of    of notes
                                                                                                                                  notes
        made on
        made    on such
                    such copy
                            copy oror otherwise)
                                        otherwise) and  and anyany drafts
                                                                     drafts thereof.
                                                                              thereof. For For purposes
                                                                                                 purposes of    of this
                                                                                                                    this definition,
                                                                                                                           definition,
        aa document
           document is      within the
                         is within          possession or
                                      the possession         or control
                                                                 control of     you if
                                                                            of you    if it
                                                                                         it is
                                                                                            is in
                                                                                                in the
                                                                                                    the possession
                                                                                                          possession or     or control

                                                                2
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         of any
         of  any ofof your
                       your attorneys,
                              attorneys, investigators
                                            investigators for for your
                                                                  your attorneys,
                                                                        attorneys, independent
                                                                                      independent accountants,
                                                                                                        accountants,
         directors,
         directors, trustees, or any person acting on behalf of or in concert with you or
                      trustees,  or  any   person  acting    on  behalf of or in concert     with   you  or with
                                                                                                             with any
                                                                                                                   any
         of the
         of  the above-referenced
                  above-referenced individuals,
                                         individuals, or  or otherwise
                                                             otherwise inin their
                                                                            their possession
                                                                                   possession or   or control.
                                                                                                       control. TheThe
         term
         term “document”
                “document” shallshall also
                                       also include
                                             include all
                                                      all electronically
                                                           electronically stored
                                                                           stored information
                                                                                    information (“ESI”),
                                                                                                     (“ESI”), which
                                                                                                                which
         is information
         is information created,
                            created, manipulated,
                                       manipulated, stored,
                                                         stored, and
                                                                  and best  utilized in
                                                                       best utilized   in digital
                                                                                           digital form,
                                                                                                    form, requiring
                                                                                                            requiring
         the  use of
         the use   of computer
                       computer hardware
                                   hardware and and software.
                                                    software. ESI  ESI includes,  but is
                                                                       includes, but    is not
                                                                                           not limited
                                                                                                limited toto e-mails,
                                                                                                              e-mails,
         text messages,
         text  messages, instant
                            instant messages,
                                      messages, internet
                                                   internet message
                                                               message boards,
                                                                         boards, postings,
                                                                                   postings, social
                                                                                                 social networking
                                                                                                         networking
         activity,
         activity, posting
                     posting and
                               and messages
                                     messages on on social
                                                     social media
                                                              media such
                                                                      such as
                                                                            as Facebook,
                                                                               Facebook, Twitter,
                                                                                               Twitter, Instagram,
                                                                                                          Instagram,
         and LinkedIn.
         and   LinkedIn.

        “Describe in
     h. “Describe   in detail”
                        detail” means:
                                 means: (1)
                                          (1) state
                                              state each
                                                     each fact
                                                           fact supporting
                                                                 supporting your
                                                                              your position
                                                                                   position regarding
                                                                                             regarding the
                                                                                                         the
        matter
        matter in
                in question;
                   question; (2)
                               (2) identify
                                   identify each   person or
                                             each person    or entity
                                                               entity with
                                                                       with knowledge
                                                                             knowledge ofof such
                                                                                            such facts;
                                                                                                  facts; (3)
                                                                                                         (3)
        state the  knowledge     each  person   or  entity  has;  and  (4) identify each
        state the knowledge each person or entity has; and (4) identify each document upondocument     upon
        which you
        which        rely regarding
                you rely   regarding the
                                      the matter
                                           matter in
                                                   in question.
                                                       question.

     i. “Relating
        “Relating to,”
                   to,” “relate
                          29
                            “relate to,”
                               ¢¢
                                    to,” “concerning,”
                                           “concerning,” and
                                          29   ¢¢
                                                          and “evidencing”
                                                                “evidencing” means
                                                                                 means relating
                                                                                         relating to,
                                                                                                    to, referring
                                                                                                         referring
        to,
        to, alluding
            alluding to,
                       to, responding
                            responding to,  to, connected
                                                connected with,
                                                            with, commenting
                                                                    commenting on,  on, in
                                                                                         in respect
                                                                                             respect of,
                                                                                                       of, about,
                                                                                                            about,
        regarding, discussing,
        regarding,     discussing, showing,
                                         showing, describing,
                                                     describing, reflecting,
                                                                     reflecting, analyzing,
                                                                                    analyzing, constituting,
                                                                                                   constituting,
        mentioning, supporting,
        mentioning,     supporting, or  or concerning,
                                           concerning, directly
                                                         directly or
                                                                   or indirectly,
                                                                       indirectly, or
                                                                                   or in
                                                                                       in any
                                                                                           any way
                                                                                                way relevant
                                                                                                      relevant toto
        the
        the specified
            specified subject.
                         subject.

     j. “Identify,” with respect
        “Identify,” with  respect to
                                   to aa natural
                                         natural person,
                                                 person, means:
                                                          means: (1)(1) his
                                                                         his or
                                                                              or her
                                                                                  her name;
                                                                                       name; (2) (2) his
                                                                                                     his or
                                                                                                          or her
                                                                                                             her
        last known
        last known home
                     home address
                            address and
                                     and telephone
                                           telephone number;
                                                      number; (3)(3) his
                                                                      his or
                                                                           or her
                                                                               her job   title; (4)
                                                                                    job title;   (4) his
                                                                                                     his or
                                                                                                          or her
                                                                                                             her
        business address
        business  address and
                           and telephone
                                telephone number;
                                            number; and
                                                      and (5)
                                                           (5) his
                                                               his or
                                                                    or her
                                                                        her relationship,
                                                                             relationship, if  if any,  to you.
                                                                                                  any, to  you.

     k. “Identify,”
        “Identify,” with
                      with respect
                            respect toto aa corporation,
                                             corporation, association,
                                                             association, organization,
                                                                              organization, or or other
                                                                                                  other entity,
                                                                                                        entity,
        means: (1)
        means:   (1) the
                     the legal
                         legal name
                               name under      which such
                                       under which     such entity
                                                              entity isis incorporated
                                                                          incorporated oror registered;
                                                                                            registered; (2)
                                                                                                        (2) the
                                                                                                            the
        State
        State in  which such
               in which   such entity
                                entity is
                                        is incorporated
                                            incorporated or or registered;
                                                                 registered; (3)
                                                                               (3) the
                                                                                   the full
                                                                                       full business
                                                                                             business address
                                                                                                       address
        and
        and telephone
             telephone number
                         number ofof such
                                      such entity;
                                             entity; and
                                                     and (4)
                                                          (4) the
                                                                the officers
                                                                     officers of
                                                                               of such
                                                                                  such entity.
                                                                                        entity.

        “Identify,” with
     l. “Identify,”    with respect
                             respect to
                                      to documents,
                                         documents, means:
                                                       means: (1)(1) the
                                                                     the author
                                                                          author thereof
                                                                                     thereof and
                                                                                              and the
                                                                                                   the person   or
                                                                                                        person or
        persons to
        persons   to whom
                      whom the the document
                                   document originally
                                               originally was
                                                           was directed;
                                                                 directed; (2)(2) the
                                                                                   the source
                                                                                        source from
                                                                                                from whom
                                                                                                       whom you
                                                                                                              you
        obtained
        obtained suchsuch document
                            document or  or documents;
                                             documents; (3)  (3) the
                                                                  the date
                                                                        date of  of each
                                                                                     each such
                                                                                            such document
                                                                                                   document or  or
        documents;
        documents; (4)  (4) the
                             the current
                                  current custodian
                                           custodian ofof each
                                                           each such
                                                                  such document
                                                                         document or     or documents;
                                                                                            documents; (5)(5) the
                                                                                                               the
        location
        location atat which
                       which each
                                each such
                                      such document
                                            document or  or documents
                                                             documents is   is situated;
                                                                                 situated; and
                                                                                            and (6)
                                                                                                 (6) the
                                                                                                      the subject
                                                                                                          subject
        matter
        matter of
                of each
                    each such
                           such document
                                  document oror documents.
                                                 documents.

     m.. “Communication,”
         “Communication,” “communicate,”
                                  “communicate,” or      or “correspondence”
                                                             “correspondence” means   means any any transmission
                                                                                                     transmission or     or
         exchange of
         exchange     of information
                          information between
                                           between two  two oror more
                                                                   more persons,        orally or
                                                                           persons, orally       or in
                                                                                                     in writing,
                                                                                                         writing, and and
         includes,
         includes, without
                    without limitation,
                               limitation, any
                                             any conversation
                                                  conversation or    or discussion,
                                                                         discussion, whether
                                                                                        whether face-to-face
                                                                                                   face-to-face or  or by
                                                                                                                        by
         means
         means ofof any
                     any telephone,
                          telephone, email,
                                         email, text,
                                                 text, mail,
                                                         mail, letter,
                                                                letter, memoranda,
                                                                          memoranda, telecopies,
                                                                                           telecopies, electronic
                                                                                                          electronic or  or
         other  online   media,   Slack   messages,      instant   messages,     text  messages,
         other online media, Slack messages, instant messages, text messages, SMS messages,          SMS     messages,
         direct messages,
         direct messages, and and postings
                                   postings and
                                              and messages
                                                    messages on   on Internet
                                                                      Internet social
                                                                                 social media
                                                                                          media such
                                                                                                  such asas Facebook,
                                                                                                             Facebook,
         Twitter,
         Twitter, Instagram,
                    Instagram, and and LinkedIn.
                                         LinkedIn. To    To “identify”
                                                              “identify” aa communication
                                                                                communication means   means to  to state
                                                                                                                     state
         whether the
         whether   the communication
                        communication was   was oral,
                                                  oral, written
                                                          written onon paper   or other
                                                                        paper or   other material,
                                                                                           material, communicated
                                                                                                       communicated
         electronically,
         electronically, or or communicated
                                 communicated in      in some
                                                           some other
                                                                   other manner,
                                                                            manner, specifying
                                                                                         specifying how.how.      If
                                                                                                                  If the
                                                                                                                       the
         communication
         communication was   was oral,
                                    oral, identify
                                           identify the      participants, the
                                                       the participants,      the date,
                                                                                    date, the
                                                                                            the place,
                                                                                                 place, whether
                                                                                                          whether the  the



                                                          3
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           communication was
           communication   was in
                               in person,
                                  person, provide
                                           provide aa summary
                                                      summary of
                                                               of the
                                                                   the conversation,
                                                                        conversation, and
                                                                                      and identify
                                                                                          identify
           any notes, memoranda,  diaries or other documents relating  thereto.
           any notes, memoranda, diaries or other documents relating thereto.

       n. Defendants
       n. Defendants also
                      also incorporate
                            incorporate by
                                        by reference
                                            reference the
                                                        the Definitions
                                                            Definitions set
                                                                        set forth
                                                                            forth in
                                                                                  in their
                                                                                     their First
                                                                                           First Request
                                                                                                 Request
          for Production
          for Production of
                          of Documents
                             Documents to to Plaintiff.
                                             Plaintiff.

       0. “Health
       o. “Health Care
                    Care Provider”
                          Provider” means
                                     means doctor,
                                              doctor, physician,    mental health
                                                        physician, mental            care professional,
                                                                             health care   professional,
          psychiatrist, psychologist,
          psychiatrist, psychologist, therapist,
                                       therapist, counselor,
                                                    counselor, social
                                                                social worker,
                                                                        worker, oror other
                                                                                      other health
                                                                                            health care
                                                                                                    care
          professional.
          professional.

       Whenever appropriate
       Whenever appropriate in
                            in these
                               these document
                                     document requests,
                                              requests, the
                                                        the singular
                                                            singular form
                                                                     form of
                                                                          of aa word
                                                                                word shall
                                                                                     shall be
                                                                                           be

interpreted
interpreted as plural and
            as plural and vice
                          vice versa,
                               versa, so
                                      so as
                                         as to
                                            to provide
                                               provide the
                                                       the broadest
                                                           broadest possible
                                                                    possible meaning.
                                                                             meaning.

       Whenever appropriate
       Whenever appropriate in
                            in these
                               these document
                                     document requests,
                                              requests, the
                                                        the masculine
                                                            masculine form
                                                                      form of
                                                                           of aa word
                                                                                 word shall
                                                                                      shall be
                                                                                            be

interpreted
interpreted as
            as feminine
               feminine and
                        and vice
                            vice versa,
                                 versa, so
                                        so as
                                           as to
                                              to provide
                                                 provide the
                                                         the broadest possible meaning.
                                                             broadest possible meaning.

       The words
       The words “and”
                 “and” and
                       and “or”
                           “or” are
                                are to
                                    to be used conjunctively
                                       be used conjunctively or
                                                             or disjunctively,
                                                                disjunctively, whichever
                                                                               whichever will
                                                                                         will

provide the broader
provide the broader interpretation
                    interpretation of
                                   of the
                                      the request
                                          request using these words.
                                                  using these words.

       If you
       If you claim
              claim aa privilege regarding aa document,
                       privilege regarding    document, identify
                                                        identify the
                                                                 the document.
                                                                     document. In
                                                                               In the
                                                                                  the event
                                                                                      event you
                                                                                            you

withhold any
withhold any information
             information requested
                         requested herein
                                   herein on
                                          on the
                                             the basis of aa claim
                                                 basis of    claim of
                                                                   of privilege, state the
                                                                      privilege, state the nature
                                                                                           nature and
                                                                                                  and

basis
basis of
      of the privilege asserted,
         the privilege asserted, and
                                 and provide
                                     provide aa privilege
                                                privilege log.
                                                          log.

       If you
       If you at
              at any
                 any time
                     time had
                          had possession or control
                              possession or control of
                                                    of aa document
                                                          document called
                                                                   called for
                                                                          for under
                                                                              under any
                                                                                    any document
                                                                                        document

request,
request, and
         and such
             such document
                  document has
                           has been
                               been lost,
                                    lost, misplaced,
                                          misplaced, misfiled,
                                                     misfiled, obliterated, purged, mutilated,
                                                               obliterated, purged, mutilated,

erased,
erased, or
        or is
           is not presently in
              not presently in your
                               your possession
                                    possession or
                                               or control,
                                                  control, identify
                                                           identify the
                                                                    the document,
                                                                        document, state
                                                                                  state the
                                                                                        the date
                                                                                            date and
                                                                                                 and

place where it
place where it was
               was last
                   last known
                        known to
                              to be in the
                                 be in the custody
                                           custody of
                                                   of such
                                                      such person, and the
                                                           person, and the circumstances
                                                                           circumstances

surrounding
surrounding its
            its loss
                loss or
                     or disappearance.
                        disappearance.

       Each request
       Each request which
                    which seeks
                          seeks documents
                                documents relating
                                          relating in
                                                   in any
                                                      any way
                                                          way to
                                                              to communications
                                                                 communications to,
                                                                                to, from,
                                                                                    from, or
                                                                                          or

within
within aa business
          business and/or
                   and/or corporate
                          corporate entity,
                                    entity, is
                                            is hereby
                                               hereby designated
                                                      designated to
                                                                 to demand,
                                                                    demand, and
                                                                            and should
                                                                                should be construed
                                                                                       be construed

to
to include,
   include, all
            all communications by and
                communications by     between representatives,
                                  and between representatives, employees,
                                                               employees, agents,
                                                                          agents, brokers
                                                                                  brokers and/or
                                                                                          and/or

servants of
servants of the
            the business
                business and/or
                         and/or corporate
                                corporate entity.




                                                    4
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        If any
        If any document
               document called
                        called for
                               for under
                                   under any
                                         any request
                                             request is
                                                     is subject
                                                        subject to
                                                                to any
                                                                   any written
                                                                       written or
                                                                               or oral
                                                                                  oral addition,
                                                                                       addition,

alteration, cancellation,
alteration, cancellation, or
                          or modification,
                             modification, identify
                                           identify the
                                                    the document
                                                        document incorporating
                                                                 incorporating such
                                                                               such change
                                                                                    change or,
                                                                                           or, if
                                                                                               if

such change
such change was
            was oral,
                oral, aa statement
                         statement of
                                   of the
                                      the oral
                                          oral terms
                                               terms incorporated.
                                                     incorporated.

                                DOCUMENTS TO
                                DOCUMENTS TO BE
                                             BE PRODUCED
                                                PRODUCED

        1.
        1.      All documents referenced
                All documents referenced as
                                         as exhibits
                                            exhibits in
                                                     in the
                                                        the Second
                                                            Second Amended
                                                                   Amended Complaint,
                                                                           Complaint, including
                                                                                      including

any documents
any documents that
              that were referenced as
                   were referenced as exhibits
                                      exhibits but were not
                                               but were not filed
                                                            filed with
                                                                  with the
                                                                       the Second
                                                                           Second Amended
                                                                                  Amended

Complaint.
Complaint.

        2.
        2.      All documents
                All documents referenced
                              referenced in
                                         in your
                                            your Rule
                                                 Rule 26(a)
                                                      26(a) disclosures.
                                                            disclosures.

        3.
        3.      Any and
                Any and all
                        all audio
                            audio and/or
                                  and/or video
                                         video recordings
                                               recordings of
                                                          of conversations
                                                             conversations related
                                                                           related to
                                                                                   to your
                                                                                      your

employment with
employment with Maximus,
                Maximus, including
                         including any
                                   any audio
                                       audio and/or
                                             and/or video
                                                    video recordings
                                                          recordings of
                                                                     of conversations
                                                                        conversations with
                                                                                      with

agents
agents and/or
       and/or employees
              employees of
                        of Maximus
                           Maximus and
                                   and any
                                       any audio
                                           audio and/or
                                                 and/or video
                                                        video recordings
                                                              recordings referenced
                                                                         referenced in
                                                                                    in your
                                                                                       your

Rule 26(a)
Rule 26(a) initial
           initial disclosures.
                   disclosures.

        4.
        4.      All documents relating
                All documents relating to
                                       to each
                                          each and
                                               and every
                                                   every criminal
                                                         criminal proceeding, administrative
                                                                  proceeding, administrative

proceeding (including
proceeding (including but
                      but not
                          not limited
                              limited to
                                      to any
                                         any application
                                             application for
                                                         for Social
                                                             Social Security
                                                                    Security disability
                                                                             disability benefits),
                                                                                        benefits),

bankruptcy proceeding, and
bankruptcy proceeding, and civil
                           civil suit
                                 suit in
                                      in which
                                         which you
                                               you have
                                                   have been
                                                        been involved
                                                             involved in
                                                                      in the
                                                                         the past ten (10)
                                                                             past ten (10) years.
                                                                                           years.

        5.
        5.      All affidavits,
                All affidavits, declarations,
                                declarations, and
                                              and written
                                                  written or
                                                          or recorded
                                                             recorded statements
                                                                      statements of
                                                                                 of witnesses
                                                                                    witnesses or
                                                                                              or

potential witnesses for
potential witnesses for any
                        any party regarding any
                            party regarding any of
                                                of your
                                                   your claims
                                                        claims against
                                                               against Maximus.
                                                                       Maximus.

        6.
        6.      All documents that
                All documents that were
                                   were identified
                                        identified in
                                                   in or
                                                      or are
                                                         are responsive
                                                             responsive to
                                                                        to Defendants’
                                                                           Defendants’ First
                                                                                       First Set
                                                                                             Set of
                                                                                                 of

Interrogatories to
Interrogatories to Plaintiff.
                   Plaintiff.

        7.
        7.      All documents that
                All documents that were
                                   were reviewed
                                        reviewed in
                                                 in preparation of your
                                                    preparation of your responses
                                                                        responses to
                                                                                  to Defendants’
                                                                                     Defendants’

First Set
First Set of
          of Interrogatories
             Interrogatories to
                             to Plaintiff.
                                Plaintiff.

        8.
        8.      All documents that
                All documents that you
                                   you obtained
                                       obtained or
                                                or removed
                                                   removed from
                                                           from Maximus’
                                                                Maximus’ property,
                                                                         property, in
                                                                                   in any
                                                                                      any

manner, during
manner, during or
               or after
                  after your
                        your employment
                             employment with
                                        with any
                                             any of
                                                 of the
                                                    the Defendants.
                                                        Defendants.

        0.
        9.      All correspondence between
                All correspondence between you
                                           you and
                                               and any
                                                   any of
                                                       of the
                                                          the individuals
                                                              individuals identified
                                                                          identified in
                                                                                     in your
                                                                                        your Rule
                                                                                             Rule



                                                 5
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26(a) Disclosures.
26(a) Disclosures.

       10.
       10.     All correspondence sent
               All correspondence sent to
                                       to or
                                          or received
                                             received by you relating
                                                      by you relating to
                                                                      to your
                                                                         your employment
                                                                              employment with
                                                                                         with

any of
any of the
       the Defendants.
           Defendants.

       11.
       11.     All correspondence
               All correspondence with
                                  with any
                                       any current
                                           current or
                                                   or former
                                                      former employee
                                                             employee of
                                                                      of Defendants
                                                                         Defendants regarding
                                                                                    regarding

your allegations
your allegations in
                 in the
                    the Second
                        Second Amended Complaint.
                               Amended Complaint.

       12.
       12.     All documents
               All documents that
                             that reference,
                                  reference, evidence,
                                             evidence, relate
                                                       relate to,
                                                              to, discuss,
                                                                  discuss, support,
                                                                           support, or
                                                                                    or refute
                                                                                       refute your
                                                                                              your

allegations
allegations of
            of discrimination,
               discrimination, retaliation,
                               retaliation, harassment,
                                            harassment, intentional
                                                        intentional infliction
                                                                    infliction of
                                                                               of emotional
                                                                                  emotional distress,
                                                                                            distress,

and/or interference
and/or interference of
                    of your
                       your rights
                            rights under the Family
                                   under the Family and
                                                    and Medical
                                                        Medical Leave
                                                                Leave Act
                                                                      Act (“FMLA”),
                                                                          (“FMLA”), as
                                                                                    as alleged
                                                                                       alleged

in your
in your Second
        Second Amended Complaint.
               Amended Complaint.

       13.
       13.     All documents
               All documents that
                             that reference,
                                  reference, evidence,
                                             evidence, relate
                                                       relate to,
                                                              to, discuss,
                                                                  discuss, or
                                                                           or support
                                                                              support any
                                                                                      any formal
                                                                                          formal or
                                                                                                 or

informal complaints
informal complaints you
                    you made
                        made to
                             to any
                                any of
                                    of the
                                       the Defendants
                                           Defendants (and
                                                      (and any
                                                           any of
                                                               of the
                                                                  the Defendants’
                                                                      Defendants’ responses
                                                                                  responses

thereto) alleging
thereto) alleging discrimination,
                  discrimination, harassment,
                                  harassment, retaliation,
                                              retaliation, or
                                                           or interference
                                                              interference of
                                                                           of your rights under
                                                                              your rights under the
                                                                                                the

FMLA.
FMLA.

       14.
       14.     All documents referring
               All documents referring to,
                                       to, reflecting,
                                           reflecting, evidencing
                                                       evidencing or
                                                                  or commenting
                                                                     commenting upon
                                                                                upon Plaintiff’s
                                                                                     Plaintiff’s

physical or emotional
physical or emotional health
                      health from
                             from January
                                  January 1,
                                          1, 2008
                                             2008 through
                                                  through the
                                                          the present, including but
                                                              present, including but not
                                                                                     not limited
                                                                                         limited

to all
to all correspondence,
       correspondence, opinions,
                       opinions, reports
                                 reports and
                                         and files
                                             files from
                                                   from present or prior
                                                        present or       Health Care
                                                                   prior Health Care Providers,
                                                                                     Providers,

clergy, counselors,
clergy, counselors, or
                    or any
                       any other
                           other professional
                                 professional commenting
                                              commenting upon Plaintiff’s physical
                                                         upon Plaintiff’s physical or
                                                                                   or emotional
                                                                                      emotional

health,
health, including
        including tests,
                  tests, test
                         test results,
                              results, or
                                       or evaluation
                                          evaluation reports
                                                     reports for
                                                             for any
                                                                 any tests
                                                                     tests taken,
                                                                           taken, and
                                                                                  and statements
                                                                                      statements of
                                                                                                 of

charges for
charges for services
            services rendered.
                     rendered. An Authorization for
                               An Authorization for the
                                                    the Release
                                                        Release of
                                                                of Protected
                                                                   Protected Medical
                                                                             Medical Health
                                                                                     Health

Information is
Information is attached
               attached as
                        as Exhibit
                           Exhibit A.
                                   A. A
                                      A Psychotherapy
                                        Psychotherapy Notes and Records
                                                      Notes and Records Authorization is
                                                                        Authorization is

attached
attached as
         as Exhibit
            Exhibit B.
                    B. Please
                       Please execute both authorizations
                              execute both authorizations and provide them
                                                          and provide them to
                                                                           to counsel
                                                                              counsel for
                                                                                      for the
                                                                                          the

Defendants.
Defendants.

       15.
       15.     All documents provided
               All documents          to or
                             provided to or received
                                            received by
                                                     by any
                                                        any Health
                                                            Health Care
                                                                   Care Provider
                                                                        Provider in
                                                                                 in connection
                                                                                    connection

with this Litigation.
with this Litigation.



                                                 6
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       16.
       16.       All documents
                 All           provided to
                     documents provided to or
                                           or received
                                              received by
                                                       by anyone you or
                                                          anyone you    your agents
                                                                     or your agents have
                                                                                    have consulted
                                                                                         consulted

or retained
or retained in
            in connection
               connection with
                          with this
                               this Litigation.
                                    Litigation.

       17.
       17.       All documents and
                 All documents and communications,
                                   communications, including
                                                   including any
                                                             any and
                                                                 and all
                                                                     all text
                                                                         text messages,
                                                                              messages, voice
                                                                                        voice

messages, video
messages, video messages
                messages and/or
                         and/or picture messages, created,
                                picture messages, created, sent,
                                                           sent, or
                                                                 or received
                                                                    received during
                                                                             during the
                                                                                    the Period
                                                                                        Period of
                                                                                               of

Employment through
Employment through the
                   the present, that concern,
                       present, that concern, relate
                                              relate to,
                                                     to, or
                                                         or contain
                                                            contain any
                                                                    any information
                                                                        information regarding
                                                                                    regarding any
                                                                                              any

alleged physical
alleged          or mental
        physical or mental pain or suffering,
                           pain or suffering, physical
                                              physical or
                                                       or emotional
                                                          emotional state,
                                                                    state, and
                                                                           and any
                                                                               any stressors
                                                                                   stressors that
                                                                                             that

Plaintiff claims
Plaintiff claims caused
                 caused and/or
                        and/or exacerbated
                               exacerbated aa physical
                                              physical or
                                                       or emotional
                                                          emotional injury
                                                                    injury to
                                                                           to Plaintiff
                                                                              Plaintiff including,
                                                                                        including,

but not
but not limited
        limited to,
                to, family
                    family issues,
                           issues, financial
                                   financial issues,
                                             issues, health
                                                     health issues,
                                                            issues, and
                                                                    and others.
                                                                        others.

       18.
       18.       All non-privileged documents
                 All non-privileged documents describing
                                              describing and/or
                                                         and/or establishing
                                                                establishing all
                                                                             all damages
                                                                                 damages you
                                                                                         you claim
                                                                                             claim

to have
to have incurred
        incurred arising
                 arising out
                         out of
                             of your
                                your employment
                                     employment relationship
                                                relationship with
                                                             with any
                                                                  any of
                                                                      of the
                                                                         the Defendants,
                                                                             Defendants, or
                                                                                         or any
                                                                                            any

alleged adverse
alleged adverse employment
                employment action
                           action during
                                  during that
                                         that relationship,
                                              relationship, and/or
                                                            and/or any
                                                                   any events
                                                                       events alleged
                                                                              alleged in
                                                                                      in your
                                                                                         your

Second Amended Complaint,
Second Amended Complaint, including
                          including any
                                    any legal
                                        legal fees
                                              fees and
                                                   and costs
                                                       costs incurred
                                                             incurred during
                                                                      during the
                                                                             the course
                                                                                 course of
                                                                                        of this
                                                                                           this

Litigation.
Litigation.

       19.
       19.       All documents which
                 All documents which reflect
                                     reflect any
                                             any income,
                                                 income, compensation,
                                                         compensation, and/or
                                                                       and/or earnings
                                                                              earnings of
                                                                                       of any
                                                                                          any

kind, any insurance
kind, any insurance payments,
                    payments, unemployment
                              unemployment compensation,
                                           compensation, workers’
                                                         workers’ compensation,
                                                                  compensation, disability
                                                                                disability

benefits, annuity, pension
benefits, annuity, pension or
                           or any
                              any other
                                  other payments you received
                                        payments you received during
                                                              during your
                                                                     your Period
                                                                          Period of
                                                                                 of Employment
                                                                                    Employment

through the
through the present.
            present.

       20.
       20.       All documents that
                 All documents that evidence
                                    evidence or
                                             or refer
                                                refer to
                                                      to your
                                                         your pursuit of or
                                                              pursuit of or receipt
                                                                            receipt of
                                                                                    of unemployment
                                                                                       unemployment

compensation benefits
compensation          during your
             benefits during your Period
                                  Period of
                                         of Employment
                                            Employment through
                                                       through the
                                                               the present,
                                                                   present, including
                                                                            including any
                                                                                      any

documents provided
documents provided by you or
                   by you or on
                             on your
                                your behalf
                                     behalf or
                                            or received
                                               received by you or
                                                        by you or on
                                                                  on your
                                                                     your behalf
                                                                          behalf in
                                                                                 in pursuit of
                                                                                    pursuit of

such benefits.
such benefits.

       21.
       21.       All documents that
                 All documents that reflect
                                    reflect any
                                            any efforts
                                                efforts by
                                                        by you
                                                           you to
                                                               to mitigate
                                                                  mitigate any
                                                                           any of
                                                                               of the
                                                                                  the damages
                                                                                      damages alleged
                                                                                              alleged

in this
in this Litigation,
        Litigation, including
                    including but not limited
                              but not limited to
                                              to any
                                                 any efforts
                                                     efforts identified
                                                             identified in
                                                                        in your
                                                                           your answers
                                                                                answers to
                                                                                        to

interrogatories.
interrogatories.


                                                   7
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        22.
        22.     All versions of
                All versions of your resume or
                                your resume or curriculum
                                               curriculum vitae
                                                          vitae which
                                                                which you
                                                                      you have
                                                                          have prepared or used
                                                                               prepared or used

at any
at any time
       time during
            during or
                   or after
                      after your employment with
                            your employment with any
                                                 any of
                                                     of the
                                                        the Defendants.
                                                            Defendants.

        23.
        23.     All documents that
                All documents that reflect,
                                   reflect, refer,
                                            refer, or
                                                   or relate
                                                      relate to
                                                             to any
                                                                any search
                                                                    search for
                                                                           for employment
                                                                               employment during
                                                                                          during or
                                                                                                 or

after
after your
      your Period
           Period of
                  of Employment,
                     Employment, including but not
                                 including but not limited
                                                   limited to,
                                                           to, employment
                                                               employment inquiries,
                                                                          inquiries, applications,
                                                                                     applications,

cover letters,
cover letters, offers
               offers of
                      of employment,
                         employment, rejections,
                                     rejections, communications
                                                 communications with
                                                                with employment
                                                                     employment agencies,
                                                                                agencies,

recruiters, head-hunters,
recruiters, head-hunters, job-hunting websites (including
                          job-hunting websites (including but
                                                          but not
                                                              not limited
                                                                  limited to
                                                                          to www.monster.com,
                                                                             www.monster.com,

www.careerbuilders.com, and
www.careerbuilders.com, and indeed.com),
                            indeed.com), and
                                         and interviews.
                                             interviews. In
                                                         In response
                                                            response to
                                                                     to this
                                                                        this request, please
                                                                             request, please

include any
include any documents
            documents that
                      that reflect,
                           reflect, refer,
                                    refer, or
                                           or relate
                                              relate to
                                                     to any
                                                        any search
                                                            search for
                                                                   for employment
                                                                       employment at
                                                                                  at Maximus,
                                                                                     Maximus, and
                                                                                              and

any documents
any documents relating
              relating to
                       to your response to
                          your response to Interrogatory
                                           Interrogatory No. 12 of
                                                         No. 12 of Defendant
                                                                   Defendant Maximus,
                                                                             Maximus, Inc.’s
                                                                                      Inc.’s

First Set
First Set of
          of Interrogatories
             Interrogatories to
                             to Plaintiff.
                                Plaintiff.

        24.
        24.     All documents that
                All documents that refer
                                   refer to,
                                         to, reflect
                                             reflect or
                                                     or comment
                                                        comment on
                                                                on employment,
                                                                   employment, self-employment,
                                                                               self-employment,

or independent
or independent contract
               contract work that you
                        work that you have
                                      have had
                                           had during
                                               during your
                                                      your Period
                                                           Period of
                                                                  of Employment
                                                                     Employment through
                                                                                through the
                                                                                        the

present.
present.

        25.
        25.     All documents which
                All documents which relate
                                    relate or
                                           or refer
                                              refer to
                                                    to any
                                                       any outside
                                                           outside employment
                                                                   employment of
                                                                              of you
                                                                                 you during
                                                                                     during your
                                                                                            your

employment with
employment with any
                any of
                    of the
                       the Defendants
                           Defendants including,
                                      including, without
                                                 without limitation,
                                                         limitation, documents
                                                                     documents relative
                                                                               relative to
                                                                                        to

compensation
compensation and
             and benefits,
                 benefits, which
                           which were
                                 were not
                                      not already
                                          already produced
                                                  produced in
                                                           in response
                                                              response to
                                                                       to other
                                                                          other requests.
                                                                                requests.

        26.
        26.     All documents that
                All documents that relate
                                   relate to
                                          to your
                                             your income
                                                  income or
                                                         or your
                                                            your state,
                                                                 state, federal,
                                                                        federal, and
                                                                                 and local
                                                                                     local tax
                                                                                           tax returns
                                                                                               returns

from January
from January 1,
             1, 2008
                2008 through
                     through the
                             the present, including but
                                 present, including but not
                                                        not limited
                                                            limited to
                                                                    to payroll
                                                                       payroll records,
                                                                               records, paystubs,
                                                                                        paystubs,

W-2s,
W-2s, 1099s,
      1099s, or
             or other
                other similar
                      similar documents,
                              documents, copies
                                         copies of
                                                of your
                                                   your local,
                                                        local, state,
                                                               state, and
                                                                      and federal
                                                                          federal income
                                                                                  income tax
                                                                                         tax

returns, and
returns, and all
             all related
                 related schedules
                         schedules and
                                   and working
                                       working papers.
                                               papers. Please
                                                       Please return
                                                              return aa fully
                                                                        fully executed
                                                                              executed copy
                                                                                       copy of
                                                                                            of the
                                                                                               the

IRS Request
IRS Request for
            for Copy
                Copy of
                     of Tax
                        Tax Return
                            Return and
                                   and Tax
                                       Tax Records
                                           Records Authorization,
                                                   Authorization, attached
                                                                  attached as
                                                                           as Exhibit
                                                                              Exhibit C.
                                                                                      C.

        27.
        27.     All diaries,
                All          journals, logs,
                    diaries, journals, logs, calendars,
                                             calendars, blogs,
                                                        blogs, or
                                                               or other
                                                                  other recordings
                                                                        recordings of
                                                                                   of events
                                                                                      events in
                                                                                             in your
                                                                                                your

life during
life during your
            your Period
                 Period of
                        of Employment
                           Employment through
                                      through the
                                              the present, including but
                                                  present, including     not limited
                                                                     but not limited calendars
                                                                                     calendars

kept on your
kept on      computer or
        your computer or mobile
                         mobile telephone.
                                telephone.


                                                  8
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        28.
        28.     All documents you
                All documents you contend
                                  contend constitute
                                          constitute or
                                                     or contain
                                                        contain admissions
                                                                admissions by any of
                                                                           by any of the
                                                                                     the

Defendants, or
Defendants, or anyone
               anyone acting
                      acting on
                             on their
                                their behalf, relevant to
                                      behalf, relevant to the
                                                          the allegations
                                                              allegations in
                                                                          in the
                                                                             the Second
                                                                                 Second Amended
                                                                                        Amended

Complaint.
Complaint.

        29.
        29.     All pages of
                All pages of any
                             any social
                                 social media
                                        media site
                                              site (e.g.,
                                                   (e.g., Facebook,
                                                          Facebook, Instagram,
                                                                    Instagram, Twitter,
                                                                               Twitter, Snapchat,
                                                                                        Snapchat,

LinkedIn,
LinkedIn, aa blog,
             blog, etc.)
                   etc.) to
                         to which
                            which you
                                  you have
                                      have subscribed
                                           subscribed and/or
                                                      and/or maintained
                                                             maintained during
                                                                        during your
                                                                               your Period
                                                                                    Period of
                                                                                           of

Employment through
Employment through the
                   the present that: (a)
                       present that: (a) refers
                                         refers or
                                                or relates
                                                   relates to
                                                           to any
                                                              any of
                                                                  of the
                                                                     the allegations
                                                                         allegations in
                                                                                     in Plaintiff’s
                                                                                        Plaintiffs

Second Amended
Second Amended Complaint
               Complaint or
                         or Defendants’
                            Defendants’ Answer
                                        Answer to
                                               to the
                                                  the Second
                                                      Second Amended
                                                             Amended Complaint;
                                                                     Complaint; (b)
                                                                                (b) refers
                                                                                    refers

or otherwise
or otherwise relates
             relates to
                     to Defendants
                        Defendants and
                                   and Plaintiff’s
                                       Plaintiff’s employment
                                                   employment with
                                                              with any
                                                                   any of
                                                                       of the
                                                                          the Defendants;
                                                                              Defendants; (c)
                                                                                          (c)

refers or
refers or otherwise
          otherwise relates
                    relates to
                            to Plaintiff’s
                               Plaintiff’s specific
                                           specific job duties performed
                                                    job duties performed on
                                                                         on behalf
                                                                            behalf of
                                                                                   of any
                                                                                      any of
                                                                                          of the
                                                                                             the

Defendants as
Defendants as an
              an employee
                 employee of
                          of any
                             any of
                                 of the
                                    the Defendants;
                                        Defendants; (d)
                                                    (d) refers
                                                        refers to
                                                               to Plaintiff’s
                                                                  Plaintiff’s emotions,
                                                                              emotions, feelings
                                                                                        feelings or
                                                                                                 or

mental state,
mental state, including,
              including, but not limited
                         but not limited to
                                         to any
                                            any statements
                                                statements or
                                                           or communications
                                                              communications regarding
                                                                             regarding being
                                                                                       being

happy,
happy, sad,
       sad, excited,
            excited, down,
                     down, frustrated,
                           frustrated, disappointed,
                                       disappointed, hopeful,
                                                     hopeful, etc.,
                                                              etc., the
                                                                    the reason(s)
                                                                        reason(s) for
                                                                                  for such,
                                                                                      such, and
                                                                                            and any
                                                                                                any

actions
actions taken
        taken because
              because of
                      of such
                         such emotions,
                              emotions, feeling
                                        feeling or
                                                or mental
                                                   mental state
                                                          state (e.g.,
                                                                (e.g., speaking
                                                                       speaking with
                                                                                with aa counselor,
                                                                                        counselor,

physician, friends
physician, friends or
                   or clergy,
                      clergy, taking
                              taking medications,
                                     medications, throwing
                                                  throwing aa party, doing something
                                                              party, doing something Plaintiff
                                                                                     Plaintiff finds
                                                                                               finds

enjoyable,
enjoyable, etc.);
           etc.); (e)
                  (e) refers
                      refers or
                             or relates
                                relates to
                                        to events
                                           events in
                                                  in Plaintiff’s
                                                     Plaintiff’s life
                                                                 life that produced aa significant
                                                                      that produced    significant

emotional
emotional response
          response or
                   or could
                      could reasonably be expected
                            reasonably be expected to
                                                   to produce
                                                      produce aa significant
                                                                 significant emotional
                                                                             emotional response
                                                                                       response

in aa typical
in    typical person,
              person, including,
                      including, but not limited
                                 but not limited to,
                                                 to, illnesses
                                                     illnesses suffered
                                                               suffered by
                                                                        by Plaintiff
                                                                           Plaintiff or
                                                                                     or family
                                                                                        family members,
                                                                                               members,

financial
financial issues,
          issues, work
                  work problems,
                       problems, legal
                                 legal issues,
                                       issues, celebrations
                                               celebrations or
                                                            or other
                                                               other significant
                                                                     significant life
                                                                                 life events;
                                                                                      events; (f)
                                                                                              (f) refers
                                                                                                  refers

to Plaintiff’s
to Plaintiff’s thoughts
               thoughts or
                        or feelings
                           feelings about
                                    about Plaintiff’s
                                          Plaintiff’s life
                                                      life as
                                                           as aa whole,
                                                                 whole, including
                                                                        including by way of
                                                                                  by way of example
                                                                                            example

only, whether
only, whether Plaintiff
              Plaintiff is
                        is enjoying
                           enjoying or
                                    or not
                                       not enjoying
                                           enjoying life,
                                                    life, how
                                                          how Plaintiff
                                                              Plaintiff feels
                                                                        feels about
                                                                              about the
                                                                                    the future,
                                                                                        future, etc.;
                                                                                                etc.;

(g)
(g) refers
    refers to
           to Plaintiff’s
              Plaintiff’s ability
                          ability or
                                  or inability
                                     inability to perform any
                                               to perform any of
                                                              of Plaintiff’s job duties
                                                                 Plaintiff’s job duties for
                                                                                        for any
                                                                                            any reason,
                                                                                                reason,

including any
including any statements
              statements concerning
                         concerning Plaintiff’s
                                    Plaintiff’s ability
                                                ability or
                                                        or inability
                                                           inability to
                                                                     to work,
                                                                        work, Plaintiff’s
                                                                              Plaintiff’s successes
                                                                                          successes at
                                                                                                    at

work,
work, problems
      problems Plaintiff
               Plaintiff has
                         has at
                             at work,
                                work, conflicts
                                      conflicts with
                                                with other
                                                     other individuals
                                                           individuals at
                                                                       at work,
                                                                          work, and
                                                                                and assistance
                                                                                    assistance

Plaintiff has sought
Plaintiff has sought as
                     as aa result
                           result of
                                  of the
                                     the aforementioned;
                                         aforementioned; and
                                                         and (h)
                                                             (h) refers,
                                                                 refers, relates
                                                                         relates to
                                                                                 to or
                                                                                    or constitutes
                                                                                       constitutes



                                                   9
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communications with:
communications with: (i)
                     (i) any
                         any current
                             current or
                                     or former
                                        former employee
                                               employee of
                                                        of any
                                                           any of
                                                               of the
                                                                  the Defendants
                                                                      Defendants who
                                                                                 who has
                                                                                     has been
                                                                                         been

identified
identified by
           by the
              the parties
                  parties as
                          as aa potential
                                potential witness
                                          witness in
                                                  in disclosures,
                                                     disclosures, including
                                                                  including initial
                                                                            initial disclosures pursuant
                                                                                    disclosures pursuant

Rule 26(a)(1),
Rule 26(a)(1), and
               and (ii)
                   (ii) any
                        any current
                            current or
                                    or former
                                       former employee
                                              employee of
                                                       of any
                                                          any of
                                                              of the
                                                                 the Defendants
                                                                     Defendants regarding
                                                                                regarding any
                                                                                          any of
                                                                                              of

the foregoing
the foregoing topics
              topics or
                     or other
                        other topics,
                              topics, events
                                      events or
                                             or issues
                                                issues referenced
                                                       referenced in
                                                                  in Defendants’
                                                                     Defendants’ other
                                                                                 other document
                                                                                       document

requests and/or
requests and/or interrogatories.
                interrogatories.

       30.
       30.     Copies
               Copies of
                      of any
                         any comments,
                             comments, photographs, postings, direct
                                       photographs, postings, direct messages,
                                                                     messages, group
                                                                               group messages,
                                                                                     messages,

and
and other
    other activities
          activities on
                     on aa blog
                           blog or
                                or social
                                   social networking
                                          networking website
                                                     website (such
                                                             (such as
                                                                   as Facebook,
                                                                      Facebook, Twitter,
                                                                                Twitter, Instagram,
                                                                                         Instagram,

or LinkedIn)
or LinkedIn) beginning on August
             beginning on August 25,
                                 25, 2008.
                                     2008. A
                                           A copy
                                             copy of
                                                  of your
                                                     your Facebook
                                                          Facebook account
                                                                   account can
                                                                           can be obtained by
                                                                               be obtained by

clicking the
clicking the down
             down arrow
                  arrow at
                        at the
                           the top
                               top right
                                   right of
                                         of any
                                            any Facebook
                                                Facebook page
                                                         page and
                                                              and Selecting
                                                                  Selecting Settings.
                                                                            Settings. Next click
                                                                                      Next click

on
on “Download
   “Download aa copy
                copy of
                     of your
                        your Facebook
                             Facebook data,”
                                      data,” and
                                             and then
                                                 then “Start
                                                      “Start My
                                                             My Archive.”
                                                                Archive.” Facebook
                                                                          Facebook will
                                                                                   will ask
                                                                                        ask

you for
you for your password. Submitting
        your password.            your password
                       Submitting your password will
                                                will cause
                                                     cause Facebook
                                                           Facebook to
                                                                    to compile
                                                                       compile aa .zip
                                                                                  .zip file
                                                                                       file of
                                                                                            of

your account. Please
your account. Please send
                     send us
                          us aa copy
                                copy of
                                     of that
                                        that .zip
                                             .zip file.
                                                  file.

       31.
       31.     All documents relating
               All documents relating to
                                      to any
                                         any action
                                             action by any of
                                                    by any of the
                                                              the Defendants
                                                                  Defendants that
                                                                             that Plaintiff
                                                                                  Plaintiff

contends
contends constitutes
         constitutes discrimination,
                     discrimination, retaliation,
                                     retaliation, harassment,
                                                  harassment, FMLA
                                                              FMLA interference,
                                                                   interference, or
                                                                                 or intentional
                                                                                    intentional

infliction of
infliction of emotional
              emotional distress.
                        distress.

       32.
       32.     All documents relating
               All documents relating to
                                      to any
                                         any action
                                             action by any of
                                                    by any of the
                                                              the Defendants
                                                                  Defendants that
                                                                             that Plaintiff
                                                                                  Plaintiff

contends was
contends was an
             an adverse
                adverse employment
                        employment action.
                                   action.

       33.
       33.     All documents sent
               All documents sent to
                                  to or
                                     or received
                                        received from
                                                 from any
                                                      any agent
                                                          agent or
                                                                or employee
                                                                   employee of
                                                                            of any
                                                                               any of
                                                                                   of the
                                                                                      the

Defendants regarding
Defendants regarding the
                     the allegations
                         allegations alleged
                                     alleged in
                                             in the
                                                the Second
                                                    Second Amended
                                                           Amended Complaint.
                                                                   Complaint.

       34.
       34.     All documents you
               All documents you or
                                 or your
                                    your agents
                                         agents have
                                                have submitted
                                                     submitted to
                                                               to any
                                                                  any federal,
                                                                      federal, state,
                                                                               state, or
                                                                                      or local
                                                                                         local

government
government agency
           agency relating
                  relating to
                           to any
                              any of
                                  of the
                                     the allegations
                                         allegations in
                                                     in the
                                                        the Second
                                                            Second Amended
                                                                   Amended Complaint,
                                                                           Complaint, including
                                                                                      including

any documents
any documents or
              or communications
                 communications submitted
                                submitted in
                                          in connection
                                             connection with
                                                        with the
                                                             the charge
                                                                 charge of
                                                                        of discrimination
                                                                           discrimination filed
                                                                                          filed

with the
with the U.S. Equal Employment
         U.S. Equal Employment Opportunity
                               Opportunity Commission
                                           Commission (Charge
                                                      (Charge No. 440-2021-02671).
                                                              No. 440-2021-02671).

       35.
       35.     All documents regarding
               All documents regarding Plaintiff’s
                                       Plaintiff’s educational
                                                   educational background,
                                                               background, including
                                                                           including any
                                                                                     any


                                                  10
                                                  10
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diplomas or
diplomas or certifications
            certifications received.
                           received.

       36.
       36.     All documents
               All documents relating
                             relating or
                                      or regarding
                                         regarding any
                                                   any ethics
                                                       ethics complaint(s)
                                                              complaint(s) you
                                                                           you claim
                                                                               claim to
                                                                                     to have
                                                                                        have filed
                                                                                             filed

with Defendants,
with Defendants, as
                 as alleged
                    alleged in
                            in Paragraphs
                               Paragraphs 202
                                          202 and
                                              and 203
                                                  203 of
                                                      of the
                                                         the Second
                                                             Second Amended
                                                                    Amended Complaint.
                                                                            Complaint.

       37.
       37.     All documents reflecting
               All documents reflecting or
                                        or relating
                                           relating to
                                                    to your
                                                       your decision
                                                            decision to
                                                                     to revoke
                                                                        revoke your
                                                                               your acceptance
                                                                                    acceptance of
                                                                                               of

the Separation
the Separation Agreement
               Agreement and
                         and Release
                             Release you
                                     you entered
                                         entered into
                                                 into on
                                                      on or
                                                         or about
                                                            about October
                                                                  October 8,
                                                                          8, 2021.
                                                                             2021.

       38.
       38.     All documents
               All documents you
                             you may
                                 may offer
                                     offer into
                                           into evidence
                                                evidence or
                                                         or use
                                                            use at
                                                                at trial
                                                                   trial in
                                                                         in this
                                                                            this case.
                                                                                 case.

       39.
       39.     To the
               To the extent
                      extent not
                             not already
                                 already encompassed
                                         encompassed within
                                                     within any
                                                            any of
                                                                of the
                                                                   the foregoing
                                                                       foregoing document
                                                                                 document

requests, all
requests, all documents
              documents relating
                        relating to
                                 to your
                                    your allegations
                                         allegations against
                                                     against the
                                                             the Defendants.
                                                                 Defendants.

       40.
       40.     To the
               To the extent
                      extent not
                             not already
                                 already encompassed
                                         encompassed within
                                                     within any
                                                            any of
                                                                of the
                                                                   the foregoing
                                                                       foregoing document
                                                                                 document

requests, all
requests, all documents
              documents that
                        that you
                             you have
                                 have received
                                      received from
                                               from third
                                                    third parties relating to
                                                          parties relating to your
                                                                              your allegations
                                                                                   allegations

against the
against the Defendants.
            Defendants.

Dated: July
Dated: July 13,
            13, 2022
                2022                           Respectfully Submitted,
                                               Respectfully Submitted,

                                               MAXIMUS,
                                               MAXIMUS, INC.,
                                                         INC., MAXIMUS
                                                                MAXIMUS HUMAN
                                                                         HUMAN
                                               SERVICES,
                                               SERVICES, INC.,
                                                          INC., AND
                                                                AND MAXIMUS
                                                                    MAXIMUS
                                               SERVICES
                                               SERVICES LLC
                                                         LLC

                                               /s/ Kathryn
                                               /s/ Kathryn J.J. Barry
                                                                Barry
                                               One   of Its Attorneys
                                               One of Its Attorneys

                                               Kathryn
                                                Kathryn Montgomery
                                                          Montgomery Moran Moran
                                               Kathryn
                                                Kathryn J.J. Barry
                                                              Barry
                                               Casey
                                                Casey J.
                                                       J. Leech
                                                          Leech
                                               JJACKSON
                                                 ACKSON L     EWIS P.C.
                                                            LEWIS   P.C.
                                                150 N.
                                               150      Michigan Avenue,
                                                     N. Michigan     Avenue, Suite
                                                                               Suite 2500
                                                                                     2500
                                               Chicago,
                                                Chicago, Illinois
                                                            Illinois 60601
                                                                     60601
                                               Telephone:
                                                Telephone: (312)
                                                               (312) 787-4949
                                                                      787-4949
                                                Fax: (312)
                                               Fax:  (312) 787-4995
                                                              787-4995
                                               kathryn.moran@jacksonlewis.com
                                               kathryn.moran@jacksonlewis.com
                                               kathryn.barry@jacksonlewis.com
                                                kathryn.barry@jacksonlewis.com
                                               casey.leech@jacksonlewis.com
                                                casey.leech@jacksonlewis.com




                                                11
                                                11
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                               CERTIFICATE OF
                               CERTIFICATE OF SERVICE
                                              SERVICE

       The
       The undersigned,
           undersigned, an
                        an attorney,
                           attorney, hereby
                                     hereby certifies
                                            certifies that
                                                      that on
                                                           on July
                                                              July 13,
                                                                   13, 2022
                                                                       2022 she
                                                                            she caused
                                                                                caused aa true
                                                                                          true and
                                                                                               and

correct
correct copy
        copy of
             of the
                the foregoing
                    foregoing DEFENDANTS’
                              DEFENDANTS’ FIRST
                                          FIRST SET
                                                SET OF
                                                    OF REQUESTS
                                                       REQUESTS FOR
                                                                FOR

PRODUCTION
PRODUCTION OF
           OF DOCUMENTS
              DOCUMENTS TO
                        TO PLAINTIFF
                           PLAINTIFF to
                                     to be
                                        be served via electronic
                                           served via electronic mail upon the
                                                                 mail upon the

following
following counsel
          counsel of
                  of record:
                     record:

                                         F.
                                         F. Anthony
                                             Anthony Dawkins
                                                       Dawkins
                                        Morgan
                                        Morgan &   & Morgan,
                                                     Morgan, PA PA
                                       191
                                       191 Peachtree
                                             Peachtree Street,   NE
                                                        Street, NE
                                                Suite 4200
                                                Suite 4200
                                           Atlanta, GA
                                          Atlanta,   GA 30303
                                                         30303
                                     adawkins@forthepeople.com
                                     adawkins@forthepeople.com

                                                                      /s/ Kathryn
                                                                      /s/ Kathryn J.J. Barry
                                                                                       Barry
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      EXHIBIT C
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

MAURICE FRANKLIN                         )
                                         )
     Plaintiff,                          ) Civil Action No. 1:21-CV-04367
                                         )
                   v.                    ) Honorable Steven C. Seeger
                                         )
MAXIMUS, INC., et al.                    )
                                         )
     Defendants.                         )
                                         )
                                         )


                PLAINTIFF’S SECOND SUPPLEMENTAL
              RESPONSES TO DEFENDANTS’ FIRST SET OF
                           INTERROGATORIES
      COMES NOW Plaintiff Maurice Franklin (“Franklin” or “Plaintiff”), and

pursuant to Rule 33 of the Federal Rules of Civil Procedure, supplements his

responses to Defendants’ First set of Interrogatories. By supplementing his response

to Defendant’s First Set of Interrogatories, Plaintiff does not waive any objection

raised in his initial response to Defendant’s First Set of Interrogatories. Plaintiff

expressly reserves all rights and expressly reaffirms any objections raised in his

initial responses to Defendant’s Frist Set of Interrogatories.

     PLAINTIFF’S RESPONSES TO DEFENDANTS’INTERROGATORIES:

INTERROGATORY NO. 4:

      For all medications prescribed to you by a Health Care Provider for any


                                          1
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  physical or mental illness or impairment at any time during your Period of

  Employment through the present, state: (a) the name of the medication; (b) the

  general purpose of the medication; (c) the name and address of the medical provider

  who prescribed the medication; (d) the inclusive dates during which you were

  prescribed the medication; and (e) the inclusive dates during which you took the

  medication.

        RESPONSE: Plaintiff supplements his previous responses to Defendants’

  Interrogatory No. 4 with the information attached hereto labeled as “Attachment A.”



Dated: December 16, 2022                Respectfully Submitted,

                                     BARRETT & FARAHANY

                                     /s/ Anthony Dawkins
                                     Anthony Dawkins, J.D.
                                     Georgia Bar No. 157904
                                     Attorney for the Plaintiff
P.O. Box 530092
Atlanta, GA 30353
Direct: (470) 747-8329
Fax: (404) 214-0125
anthony@justiceatwork.com




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                           PLAINTIFF’S

     ATTACHMENT A
                             Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23
                                                                              DatesPage 32 General
                                                                                           of 100Purpose
                                                                                                   PageIDof the#:936
                                                                                                                Medication
Dates of       Name of                 Name of             Address of         Prescribed     Medication
Prescription   Medication        Qty   Prescriber          Prescriber         Frequency       Taken
                                                                                                           an inactivated influenza vaccine indicated for
               Afluria Qiv Pfs                                                               Medication
                                                        259 E Erie St Ste                                  active immunization against influenza disease
10/05/2022     2022-23 Inj       0.5   Alul,Rushdi                          one dosage       taken as
                                                        1600, Chicago, IL                                 caused by influenza A subtype viruses and type
               0.5ml                                                                         Prescribed
                                                        60611                                                    B viruses contained in the vaccine.
               Covid19
                                                                                             Medication        NIAID vaccine is a COVID-19 vaccine
               Moderna                                  260 E Erie St Ste
10/04/2022                       0.5   Bhatia,Kaushik                       one dosage       taken as      authorized by FDA and recommended by the
               Updated                                  1600, Chicago, IL
                                                                                             Prescribed    CDC for use in the US for a limited population.
               Booster 12+                              60611
                                                                                                            used to treat certain conditions where there is
                                                                            Take 1 capsule
                                                                                                           too much acid in the stomach. It is used to treat
                                                                            by mouth daily   Medication
               Omeprazole                                                                                 gastric and duodenal ulcers, erosive esophagitis,
10/02/2022                       30    Kahrilas,Peter                       30 to 60 mins    taken as
               40mg Capsules                            261 E Erie St Ste                                   and gastroesophageal reflux disease (GERD).
                                                                            before           Prescribed
                                                        1600, Chicago, IL                                     GERD is a condition where the acid in the
                                                                            breakfast
                                                        60611                                               stomach washes back up into the esophagus.
                                                                                                            used to treat certain conditions where there is
                                                                            Take 1 capsule
                                                                                                           too much acid in the stomach. It is used to treat
                                                                            by mouth daily   Medication
               Omeprazole                                                                                 gastric and duodenal ulcers, erosive esophagitis,
05/30/2022                       30    Chhiba,Krishan                       30 to 60 mins    taken as
               20mg Capsules                            262 E Erie St Ste                                   and gastroesophageal reflux disease (GERD).
                                                                            before           Prescribed
                                                        1600, Chicago, IL                                     GERD is a condition where the acid in the
                                                                            breakfast
                                                        60611                                               stomach washes back up into the esophagus.
                                                                                                            used to treat certain conditions where there is
                                                                            Take 1 capsule
                                                                                                           too much acid in the stomach. It is used to treat
                                                                            by mouth daily   Medication
               Omeprazole                                                                                 gastric and duodenal ulcers, erosive esophagitis,
05/28/2022                       30    Kahrilas,Peter                       30 to 60 mins    taken as
               40mg Capsules                            263 E Erie St Ste                                   and gastroesophageal reflux disease (GERD).
                                                                            before           Prescribed
                                                        1600, Chicago, IL                                     GERD is a condition where the acid in the
                                                                            breakfast
                                                        60611                                               stomach washes back up into the esophagus.
               Benzonatate                              264 E Erie St Ste                    Medication
                                                                                                          medication used to try to help with the symptoms
03/24/2022     200mg             30    Supan,Edward     1600, Chicago, IL   As needed        taken as
                                                                                                                       of cough and hiccups.
               Capsules                                 60611                                Prescribed
               Fluticasone                              265 E Erie St Ste                    Medication
                                                                                                           used to treat sneezing, itchy or runny nose, or
03/24/2022     50mcg Nasal Sp    16    Supan,Edward     1600, Chicago, IL   As needed        taken as
                                                                                                              other symptoms caused by hay fever.
               (120) Rx                                 60611                                Prescribed
               Albuterol HFA                            266 E Erie St Ste                    Medication       used to treat or prevent bronchospasm in
03/24/2022     Inh (200 Puffs)   6.7   Supan,Edward     1600, Chicago, IL   As needed        taken as       patients with asthma, bronchitis, emphysema,
               6.7gm                                    60611                                Prescribed                and other lung diseases.
                                                                                                            used to treat certain conditions where there is
                                                                            Take 1 capsule
                                                                                                           too much acid in the stomach. It is used to treat
                                                                            by mouth daily   Medication
               Omeprazole                                                                                 gastric and duodenal ulcers, erosive esophagitis,
01/24/2022                       30    Kahrilas,Peter                       30 to 60 mins    taken as
               40mg Capsules                            267 E Erie St Ste                                   and gastroesophageal reflux disease (GERD).
                                                                            before           Prescribed
                                                        1600, Chicago, IL                                     GERD is a condition where the acid in the
                                                                            breakfast
                                                        60611                                               stomach washes back up into the esophagus.
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                                                                                                             used to treat depression. Mirtazapine is in a
                                                                           Take 1/2 tablet   Medication
             Mirtazapine                                                                                   class of medications called antidepressants. It
01/24/2022                     15     Au,Denise        268 E Erie St Ste   by mouth every    taken as
             15mg Tablets                                                                                  works by increasing certain types of activity in
                                                                           night             Prescribed
                                                       1600, Chicago, IL                                        the brain to maintain mental balance.
                                                       60611
             Covid19 Vac                               269 E Erie St Ste                     Medication        NIAID vaccine is a COVID-19 vaccine
11/17/2021   (Moderna          0.25   Bhatia,Kaushik   1600, Chicago, IL   one dosage        taken as      authorized by FDA and recommended by the
             Booster) 5ml                              60611                                 Prescribed    CDC for use in the US for a limited population.
             Fluarix Quad Pf                           270 E Erie St Ste                     Medication
11/17/2021   Inj 2021-22       0.5    Bhatia,Kaushik   1600, Chicago, IL   one dosage        taken as      used as a vaccine as a prophylaxis to Influenza
             0.5ml                                     60611                                 Prescribed
                                                                                                            used to treat certain conditions where there is
                                                                           Take 1 capsule
                                                                                                           too much acid in the stomach. It is used to treat
                                                                           by mouth daily    Medication
             Omeprazole                                                                                   gastric and duodenal ulcers, erosive esophagitis,
10/21/2021                     30     Kahrilas,Peter                       30 to 60 mins     taken as
             40mg Capsules                             271 E Erie St Ste                                    and gastroesophageal reflux disease (GERD).
                                                                           before            Prescribed
                                                       1600, Chicago, IL                                      GERD is a condition where the acid in the
                                                                           breakfast
                                                       60611                                                stomach washes back up into the esophagus.
                                                                                                             used to treat depression. Mirtazapine is in a
                                                                           Take 1/2 tablet   Medication
             Mirtazapine                               272 E Erie St Ste                                   class of medications called antidepressants. It
10/13/2021                     15     Chhiba,Krishan                       by mouth every    taken as
             15mg Tablets                              1600, Chicago, IL                                   works by increasing certain types of activity in
                                                                           night             Prescribed
                                                       60611                                                    the brain to maintain mental balance.

                                                                                                             used to treat depression. Mirtazapine is in a
                                                                           Take 1/2 tablet   Medication
             Mirtazapine                               273 E Erie St Ste                                   class of medications called antidepressants. It
09/06/2021                     15     Chhiba,Krishan                       by mouth every    taken as
             15mg Tablets                              1600, Chicago, IL                                   works by increasing certain types of activity in
                                                                           night             Prescribed
                                                       60611                                                    the brain to maintain mental balance.
                                                                                                              used to treat depression. Mirtazapine is in a
                                                                           Take 1/2 tablet   Medication
             Mirtazapine                               274 E Erie St Ste                                    class of medications called antidepressants. It
08/10/2021                     15     Chhiba,Krishan                       by mouth every    taken as
             15mg Tablets                              1600, Chicago, IL                                    works by increasing certain types of activity in
                                                                           night             Prescribed
                                                       60611                                                     the brain to maintain mental balance.
                                                                                                            used to treat certain conditions where there is
                                                                           Take 1 capsule
                                                                                                           too much acid in the stomach. It is used to treat
                                                                           by mouth daily    Medication
             Omeprazole                                                                                   gastric and duodenal ulcers, erosive esophagitis,
07/16/2021                     30     Kahrilas,Peter                       30 to 60 mins     taken as
             40mg Capsules                             275 E Erie St Ste                                    and gastroesophageal reflux disease (GERD).
                                                                           before            Prescribed
                                                       1600, Chicago, IL                                      GERD is a condition where the acid in the
                                                                           breakfast
                                                       60611                                                stomach washes back up into the esophagus.
                                                                                                          used to treat depression and generalized anxiety
                                                                                                              disorder (GAD). It is an antidepressant that
                                                                                             Medication
             Escitalopram                                                  Take 1 capsule                     belongs to a group of medicines known as
07/16/2021                     30     Chhiba,Krishan                                         taken as
             10mg Tablets                              276 E Erie St Ste   by mouth daily                  selective serotonin reuptake inhibitors (SSRIs).
                                                                                             Prescribed
                                                       1600, Chicago, IL                                  These medicines work by increasing the activity
                                                       60611                                                     of the chemical serotonin in the brain

                                                                                             Medication     used for heartburn, acid reflux and gastro-
             Pantoprazole                              277 E Erie St Ste   Take 1 capsule
07/16/2021                     30     Chhiba,Krishan                                         taken as     oesophageal reflux disease (GORD) – GORD is
             40mg Tablets                              1600, Chicago, IL   by mouth daily
                                                                                             Prescribed         when you keep getting acid reflux
                                                       60611
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                                                                                            Medication     used for heartburn, acid reflux and gastro-
             Pantoprazole                            278 E Erie St Ste   Take 1 capsule
06/17/2021                     30   Fintel,Robin                                            taken as     oesophageal reflux disease (GORD) – GORD is
             40mg Tablets                            1600, Chicago, IL   by mouth daily
                                                                                            Prescribed         when you keep getting acid reflux
                                                     60611
                                                                                                           used to treat certain conditions where there is
                                                                         Take 1 capsule
                                                                                                          too much acid in the stomach. It is used to treat
                                                                         by mouth daily     Medication
             Omeprazole                                                                                  gastric and duodenal ulcers, erosive esophagitis,
05/28/2021                     30   Chhiba,Krishan                       30 to 60 mins      taken as
             20mg Capsules                           279 E Erie St Ste                                     and gastroesophageal reflux disease (GERD).
                                                                         before             Prescribed
                                                     1600, Chicago, IL                                       GERD is a condition where the acid in the
                                                                         breakfast
                                                     60611                                                 stomach washes back up into the esophagus.
                                                                                                           used to treat certain conditions where there is
                                                                         Dissolv 1 tablet                 too much acid in the stomach. It is used to treat
             Ondansetron                                                                    Medication
                                                                         on the tongue                   gastric and duodenal ulcers, erosive esophagitis,
05/27/2021   ODT 4mg           8    Fintel,Robin                                            taken as
                                                     280 E Erie St Ste   every 6 hours                     and gastroesophageal reflux disease (GERD).
             Tablets                                                                        Prescribed
                                                     1600, Chicago, IL   for 2 days                          GERD is a condition where the acid in the
                                                     60611                                                 stomach washes back up into the esophagus.
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      EXHIBIT D
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

MAURICE FRANKLIN                          )
                                          )
     Plaintiff,                           ) Civil Action No. 1:21-CV-04367
                                          )
                   v.                     ) Honorable Steven C. Seeger
                                          )
MAXIMUS, INC., et al.                     )
                                          )
     Defendants.                          )
                                          )
                                          )


              PLAINTIFF’S THIRD SUPPLEMENTAL RESPONSES TO
               DEFENDANTS’ FIRST SET OF INTERROGATORIES

      COMES NOW Plaintiff Maurice Franklin (“Franklin” or “Plaintiff”), and

pursuant to Rule 33 of the Federal Rules of Civil Procedure, supplements his

responses to Defendants’ First set of Interrogatories. Plaintiff expressly reserves all

rights under applicable laws. Further, Plaintiff incorporates by this reference all prior

objections raised in prior responses to or supplements to Defendants’ First Set of

Interrogatories.

                        SUPPLEMENTED INTERROGATORIES

INTERROGATORY NO. 2:

      Identify each and every Health Care Provider with whom you visited,

consulted, or received treatment from January 1, 2008 through the present. For each

Health Care Provider identified, state: (a) his or her address; (b) any institutions with
                                           1
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which he or she is presently affiliated; (c) any institutions with which he or she was

associated or affiliated while treating you; (d) his or her occupation; (e) his or her

area of specialization, if any; (f) the date and time of any occasion in which you

consulted him or her; (g) the condition for which treatment was sought; (h) the nature

of the treatment rendered; (i) the diagnosis that was rendered; (j) whether you are

presently receiving treatment or consultation from such person; (k) whether you have

been prescribed any medications, and if so, whether you are currently taking such

medications; and (l) the cost of treatment.

      RESPONSE: Plaintiff supplemental his prior responses to Defendants’

Interrogatory No. 2 with the following information:

      Plaintiff identifies the following Health Care Providers to which he visited,

consulted, or received treatment from January 1, 2008, through the present:

      1. Rushdi Alul, 259 E. Erie Street, Suite 1600, Chicago, IL 60611.

         Defendants’ failed to define what it constitutes an “institution” and what

         “affiliation” with said institution constitutes. Plaintiff is, therefore, unable

         to respond to the portion of Interrogatory No. 2 requesting institutional

         information without Defendants clarifying what it means by “institution.”

         According to Merriam-Webster.com, institution means, “an established

         organization or corporation (such as a bank or university) especially of a

         public character.” The dictionary definition fails to offer any clarification

         as to what Defendants’ intended meaning of “institution” might be. Dr.
                                          2
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        Alul’s occupation is medical doctor. His area of specialization is unknown

        to Plaintiff. Plaintiff did not consult with Dr. Alul. Dr. Alul did not render

        any diagnosis. Plaintiff is not currently receiving treatment from Dr. Alul.

        Dr. Alul prescribed Afluria Qiv Pfs to Plaintiff to treat acid reflux disease

        on October 05, 2022.

     2. Kaushik Bhatia. 260 E. Erie Street, Suite 1600, Chicago, IL 60611.

        Performed an escophy. His area of specialization is unknown to Plaintiff.

        Plaintiff did not consult with Dr. Bhatia. Dr, Bhatia did not render any

        diagnosis to Plaintiff. Plaintiff is not currently receiving treatment form

        Dr. Bhatia. Dr. Bhatia prescribed Plaintiff a COVID 19 Moderna booster

        on October 4, 2022. Dr. Bhatia performed an endoscopy procedure on

        Plaintiff in or around June 2022. Dr. Bhatia’s profession is medical doctor.

     3. Peter Kahrilas. 261 E. Erie Street, Suite 1600, Chicago, IL 60611. Dr.

        Kahrilas is a gastroenterologist. His profession is medical doctor. Plaintiff

        did not consult with Dr. Kahrilas. Dr. Kahrilas did not render any diagnosis

        to Plaintiff. Plaintiff is not currently receiving treatment from Dr. Kahrilas.

        Dr. Kahrilas prescribed Omeprazole on October 2, 2022, May 28, 2022,

        January 24, 2022, October 21, 2021, and July 16, 2021.

     4. Krishan Chhiba. 262 E. Erie Street, Suite 1600, Chicago IL 60611. Dr.

        Chhiba is Plaintiff’s primary care physician. He diagnosed Plaintiff with

        acid reflux disease on May 25, 2021. Plaintiff consulted with Dr. Chibba
                                         3
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          on July 9, 2021 and July 16, 2021,

      5. Edward Supan. 265 E. Erie Street, Suite 1600, Chicago, IL 60611. Dr.

          Supan was the treating physician for Plaintiff’s March 24, 2022 emergency

          room visit for a sinus infection. Dr. Supan prescribed Benzonatate,

          fluticasone, and Albuterol to Plaintiff on that date. Plaintiff did not consult

          with Dr. Supan.

      6. Denise Au. 268 E. Erie Street, Suite 1600, Chicago, IL 60611. Dr. Au is a

          medical doctor. She assists my primary care physician. She does not

          diagnos or treatment and of my impairments.

INTERROGATORY NO. 3:

      Identify all hospitals, health care facilities, or other medical institutions to

which you have were admitted from January 1, 2008 through the present, and state:

(a) the reason for your stay in such hospital, health care facility, or medical

institution; (b) the condition or conditions for which you were treated; (c) the

diagnosis and prognosis of the physical or mental condition treated; (d) the inclusive

dates of confinement of each such hospital, healthcare, or other medical institution;

and (e) any and all documents relating to your response to this Interrogatory.

      RESPONSE: Plaintiff supplements his prior responses to Interrogatory No.

3 by stating that he has not been admitted to any hospitals, health care facilities, or

other medical institutions since January 1, 2008.


                                           4
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INTERROGATORY NO. 15:
    Identify all income received from whatever source, by amount each week on

and after January 1, 2008. Sources of income may include, but are not limited to:

income from employment or self-employment; any benefits, including but not

limited to monetary and/or health, pension, disability, social security, financial aid,

insurance proceeds, or profit-sharing benefits received from a government, private,

or employer-sponsored plan; and any unemployment benefits, alimony, or other

support.

       RESPONSE:

       Subject to and without waiver of his objection, Plaintiff supplements his

response to Interrogatory No. 15 as follows:

      From January 1, 2008 until October 2021, Plaintiff's earned his income

exclusively from his employment with Defendants. All income received by Plaintiff

during that period was from Defendants or their subsidiary organizations, paid on a

schedule and frequency determined by Defendants, and paid in amounts determined

by Defendants. Plaintiff neither has knowledge of nor does Plaintiff maintain access

to sources that may contain compensation paid by Defendants to Plaintiff by week

during his employment. Defendants continuously maintain access to and possession

of the documents and information requested by Interrogatory No. 15.


                                          5
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        In addition, Plaintiff receives income from TheFranklinReeseGroup, LLC in

November 2021 in the amount of $3,400.00 each month beginning in November

2022 to present.

        In addition, effective October 13, 2021, Plaintiff received weekly payments of

$1,357.00 from the State of California Employment Development Department. He

received those payments each week until those payments ceased on October 05,

2022.

        On or about October 21, 2021, Plaintiff received income in the amount of

$15,858.35 from MetLife by and through his short term disability insurance policy.

That payment was compensation to Plaintiff for short term disability from July 8,

2021 - October 13, 2021.

        On or about March 4, 2022, Plaintiff received income in the amount of

$191.80 from MetLife for a claim he made through Defendants' long term disability

benefits. That payment was compensation to Plaintiff for long term disability

benefits from July 12, 2021 - March 3, 2022.

INTERROGATORY NO. 16:

        Identify, by case name, court, and docket number, each and every criminal

proceeding, administrative proceeding (including but not limited to any application

for Social Security disability benefits and any charges of discrimination), bankruptcy

proceeding, and civil suit in which you have been involved, and state the current

status or final disposition of the proceeding. Also, with respect to each judicial or
                                           6
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administrative complaint or charge that you have instituted against any person, and

each judicial or administrative complaint to which you have been a party, state the

index, docket, complaint, charge, or other identification number or designation, and

state the current status or final disposition of the proceeding.

       RESPONSE:

       Subject to and without waiver of Plaintiff’s objection to Interrogatory No. 16,

Plaintiff supplements his prior responses to Interrogatory No. 16 with the following

information:

      People of the State of Illinois v. Maurice Franklin, Case No. 08500049801 in

the Circuit Court of Cook County. Plaintiff was charged with battery on January 25,

2008, and was found NOT guilty on August 20, 2008.

      People of the State of Illinois v. Maurice Franklin, Case No. 04CR1070501 in

the Circuit Court of Cook County. Plaintiff was charged with two counts of

aggravated unlawful use of a weapon, and a single count of aggravated unlawful use

of a weapon on person. Plaintiff's charges were reduced to misdemeanors to which

he pled guilty. He was assessed fines in the amount of $619.00 on June 10, 2005.

Plaintiff satisfied his obligations to the court of July 11, 2005.

      People of the State of Illinois v. Maurice Franklin, Case No. 04112081801 in

the Circuit Court of Cook County. Plaintiff was charged with unlawful use of a

weapon - public street.


                                            7
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INTERROGATORY NO. 17:

      State whether you have been charged with or convicted of any crimes during
      the last ten (10) years, and with respect to each, state: (a) the date or
      approximate date of the charge and/or conviction(s); (b) the crime(s) for
      which you were charged and/or convicted; and (c) the case number(s),
      court name(s) and address of the court(s) in which you were charged or
      convicted.
      RESPONSE:

      Plaintiff supplements his prior responses to Interrogatory No. 17 by stating

that he was not charged with or convicted of any crimes during the last 10 years.

Dated: December 20, 2022                Respectfully Submitted,

                                     BARRETT & FARAHANY

                                     /s/ Anthony Dawkins
                                     Anthony Dawkins, J.D.
                                     Georgia Bar No. 157904
                                     Attorney for Plaintiff
P.O. Box 530092
Atlanta, GA 30353
Direct: (470) 747-8329
Fax: (404) 214-0125
anthony@justiceatwork.com




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 MAURICE FRANKLIN,                                                      Civil Action No.
                                                                        21-cv-04367
        Plaintiff,

 Vv.


 MAXIMUS, INC., MAXIMUS
 HUMAN SERVICES, INC., AND
 MAXIMUS SERVICES LLC,


        Defendants.



                                       VERIFICATION

           I, Maurice   Franklin,   hereby   declare,       under           penalty   of perjury,   that the

information contained in Plaintiff's Third Supplemental Responses to Defendants’

First Set of Interrogatories is true and correct to the best of my knowledge. I am over

the age of eighteen (18) years of age and competent to make this statement under

oath.

           Date: December 20, 2022


                                                 Prantin (Dec 20, 2022 15:57 CST)


                                             Maurice Franklin,
                                             Plaintiff
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       EXHIBIT E
     Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 46 of 100 PageID #:950

                                                                                    Jackson Lewis P.C.
                                                                                    58 South Service Road, Suite 250
                                                                                    Melville, NY 11747
                                                                                    (631) 247-0404 | Main
                                                                                    jacksonlewis.com



    MY DIRECT DIAL IS: (631) 247-4612
    MY EMAIL ADDRESS IS: KATHRYN.BARRY@JACKSONLEWIS.COM


    January 6, 2023

    VIA ELECTRONIC MAIL

    F. Anthony Dawkins
    Barrett & Farahany
    1175 Northmeadow Pkwy #140
    Roswell, GA 30076
    anthony@justiceatwork.com

                                        Re:     Maurice Franklin v. Maximus, Inc., et al.
                                                Defendants’ Rule 37 Correspondence

    Dear Mr. Dawkins:

            We write to address several deficiencies in Plaintiff Maurice Franklin’s Second
    Supplemental Responses to Defendants’ Request for Production (“Supplemental Document
    Responses”); Second Supplemental Responses to Defendants’ First Set of Interrogatories
    (“Second Supplemental Interrogatory Responses”) and Third Supplemental Responses to
    Defendants’ First Set of Interrogatories”) (“Third Supplemental Interrogatory Responses” and,
    together with the Second Supplemental Interrogatory Responses, the “Supplemental Interrogatory
    Responses”).1 Pursuant to Rule 37 of the Federal Rules of Civil Procedure, this letter summarizes
    our concerns with Plaintiff’s still-deficient discovery responses, with the hope that we may reach
    agreement on these issues and avoid further Court intervention. Defendants reserve the right to
    object to any additional deficiencies in Plaintiff’s discovery responses, document production, and
    Rule 26(a) disclosures that are not identified in this correspondence.

            Failure to Identify Responsive Documents

            The Court ordered that “producing documents without identifying the request for
    production or interrogatory to which those documents are intended to be responsive is improper
    int his case.” Despite this, you have not supplemented your prior document responses with this
    information, nor do your Supplemental Document Responses adequately identify which
    documents are responsive to which request. See, e.g., Supplemental Document Response No. 18
    “These documents shall be found in Plaintiff’s Second Supplemental Production, bates number
    [blank]”).




1
   The Supplemental Document Responses were served on December 12, 2022, the Second Supplemental Interrogatory
Responses were served on December 16, 2022, and the Third Supplemental Interrogatory Responses were served on
December 19, 2022.
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                                                                                 F. Anthony Dawkins
                                                              Maurice Franklin v. Maximus, Inc., et al.
                                                                                     January 6, 2023
                                                                                              Page 2



       Unanswered Document Requests and Interrogatories

       To date, you have not provided responses to Document Request Nos. 4, 15, 16, 17, 21, 22,
34 or 37. Nor have you provided a response to Interrogatory Nos. 11. Per the Court’s Order, you
were to do so by December 15, 2022.

       Incomplete Responses

       Document Request No. 19

        Document Request No. 19 sought “[a]ll documents which reflect any income,
compensation, and/or earnings of any kind, any insurance payments, unemployment
compensation, workers’ compensation, disability benefits, annuity, pension, or any other payments
you received during your Period of Employment through the present.” Judge Gilbert ordered you
produce documents responsive to this request, as modified to the time period of January 1, 2021
through the present, on or before December 15, 2022. In your Supplemental Document Responses,
Plaintiff stated that he “supplements his prior responses to [Document Request No. 19] by
producing the documents in Plaintiff’s Second Supplemental Production, bates numbers 001016-
001067; 001085-001091; 001095-001110.”

        The documents produced are incomplete. While Plaintiff states, in his Third Supplemental
Interrogatory Responses, that he “receives income from TheFranklinReeseGroup, LLC in
November 2021 in the amount of $3,400.00 each month beginning in November 2022 to present.”
There are no documents demonstrating these payments, nor can Defendants rely on the
Interrogatory response alone (which is itself inconsistent, both internally and with prior
interrogatory responses). If Plaintiff has been receiving regular payments from the Company he
founded and for which he is the registered owner, he presumably has documents regarding these
payments in his possession.

        Moreover, the documents Plaintiff did produce demonstrate both that his existing
production is deficient. The tax documents provided by Plaintiff establish that he received various
payment card and third-party network transactions, totaling $21,510.00 in 2021. No documents
regarding these payments have been provided. Moreover, and more concerning, Plaintiff’s 2021
Wage and Income Transcript indicates he was paid $28,833.00, for which he received a Form
1099-NEC (Non-Employee Compensation), from an entity identified as: “Federal ID
No.:XXXXX7679 GREE, 201 NE”. We believe these were payments from GreenCourt Legal
Technologies LLC (TIN: XX-XXXXXXX; 201 Newnan Street, Carrollton, GA 30117-3122). No
documents regarding these payments were produced, nor were they disclosed in Plaintiff’s
Interrogatory Responses. The only documents produced regarding Plaintiff’s apparent work for
GreenCourt Legal Technologies LLC is the email chain and PowerPoint slides (001068-001084).

        Likewise, while you state that Plaintiff received $15,858.35 from MetLife with regard to a
short-term disability claim he filed on July 2, 2021, you have not provided any documents
regarding that claim, including documents substantiating when such payments were made. The
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                                                                                  F. Anthony Dawkins
                                                               Maurice Franklin v. Maximus, Inc., et al.
                                                                                      January 6, 2023
                                                                                               Page 3



only information you provided was regarding Claim No. 742110201957—his long-term disability
claim. Please supplement accordingly.

         Document Request No. 24

       Document Request No. 24 sought “[a]ll documents that refer to, reflect or comment on
employment, self-employment, or independent contract work that you have had during your Period
of Employment through the present.” In response, you produced a single email thread and
PowerPoint presentation with GreenCourt Legal Technologies. We understand Plaintiff
incorporated his own entity, for which is listed as the sole owner. No documents regarding this
were produced. Please supplement accordingly.

         Interrogatory No. 4

        Interrogatory No. 4 sought information about prescription medication taken during
Plaintiff’s Period of Employment employment and thereafter. Your responses only include
medication taken after 2021. The request is for medication prescribed during your period of
employment through the present. We presume this may be incomplete.

         Interrogatory No. 15

       Interrogatory No. 15, as modified by the Court, required Plaintiff to identify all income
received from whatever source since January 1, 2021. While Plaintiff identified certain sources of
income, as noted above his 2021 Wage and Income Statement indicates this was incomplete.

                                     *      *       *      *

       We are available to meet and confer to discuss the deficiencies discussed above at your
convenience. Otherwise, we request that you address these deficiencies and supplement your
responses to Defendants’ interrogatories and document requests immediately so that we may
proceed with Plaintiff’s deposition. We are available on January 9 and 10 to discuss. We look
forward to hearing from you.

                                                    Very truly yours,

                                                    JACKSON LEWIS P.C.

                                                    /s/ Kathryn J. Barry ________
                                                    Kathryn J. Barry
cc:      J. Casey Leech


4875-7203-9239, v. 1
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       EXHIBIT F
                                    AT
                 Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 50 of 100 PageID #:954

BAR
                                  lavatian
                                                                 Thursday, January 12, 2023
               VIA EMAIL ONLY
               Kathryn Barry
               Jackson Lewis P.C.
               58 South Service Road, Suite 250
               Melville, NY 11'74'7
               kathryn.barry@jacksonlewis.com

                        Re:            Maurice Franklin v. Maximus, Inc. et al.
                                       Plaintiff's to Defendants’ Rule 37 Correspondence

                Dear Ms. Barry:

                        This letter is in response to your January 6, 2028                letter regarding Plaintiff Maurice Franklin's
                responses       Defendants’        interrogatories   and   request   for production   of documents.         Plaintiff's     Third
                Supplemental Responses to Defendants’ First Set of Request for Production of Documents have been served
                upon Defendants contemporaneously with this communication. Plaintiff's Third Supplemental corrects
                Plaintiff's prior omission of information identifying which documents we produced in response to which
                request for production. In addition, Plaintiff's Third Supplemental also responds Defendants’ Document
                Requests No. 4, 15, 16, 17, 21, 22, 34, and 37.

                         Concerning Document Request No. 19, Plaintiff supplemented his response in his Third Supplemental
                Responses to provide the documents in his possession that reflect the income he receives from
                TheFranklinReeseGroup, LLC. Your letter raised concern with sums identified in Plaintiff's tax records -
                $21,510.00 and $28,833.00. Neither sum was income to Plaintiff. His tax records do not represent those
                sums as income to him. Plaintiff is under no obligation to respond to Defendants’ unsupported claims about
                his income. Plaintiff has produced the documents in his possession requested by Document Request No. 19.
                Finally, with respect to MetLife, Plaintiff has provided all documents in his possession concerning that claim.

                        Document Request No. 24 is limited to “[alll documents that refer to, reflect or comment on
                employment, self-employment, or independent contract work.” Plaintiff has produced all documents that
                make such a reference, reflection, or comment. Should Plaintiff identify any additional documents, he will
                supplement his responses to Document Request No. 24.

                         Plaintiff's response to Interrogatory No. 4 was complete. Therefore, Plaintiff has no additional
                information to provide in response to Interrogatory No. 4.

                         Finally, concerning Interrogatory No. 15, Plaintiff contends that he has fully answered Interrogatory
                No. 15. Plaintiff disputes Defendants’ assessment of his tax records and their characterization of the sums
                you referenced in your letter. Those sums are not income, were not treated as income in his taxes, and were
                never considered income.


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        Finally, Defendants have yet to satisfy Plaintiff's outstanding Document Request. Please advise
when Plaintiff can anticipate Defendant’s full and complete responses.




                                                  Attorney for Maurice Franklin.
                                                  Direct: (470) 747-8329
                                                  anthony@justiceatwork.com


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      EXHIBIT G
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

MAURICE FRANKLIN                         )
                                         )
     Plaintiff,                          ) Civil Action No. 1:21-CV-04367
                                         )
                   v.                    ) Honorable Steven C. Seeger
                                         )
MAXIMUS, INC., et al.                    )
                                         )
     Defendants.                         )
                                         )
                                         )


                  PLAINTIFF’S FIFTH SUPPLEMENTAL RESPONSES TO
                   DEFENDANTS’ FIRST SET OF INTERROGATORIES

      COMES NOW Plaintiff Maurice Franklin (“Franklin” or “Plaintiff”), and

pursuant to Rule 33 of the Federal Rules of Civil Procedure, supplements his

responses to Defendants’ First set of Interrogatories. By supplementing his response

to Defendant’s First Set of Interrogatories, Plaintiff does not intend nor does he

represent to waive any objection raised in his initial responses to Defendant’s First

Set of Interrogatories. Plaintiff expressly reserves all rights afforded to him and

expressly reaffirms any objections raised in his initial responses to Defendant’s Frist

Set of Interrogatories.

                  PLAINTIFF’S SUPPLEMENTED RESPONSES TO
                      DEFENDANTS’INTERROGATORIES:


INTERROGATORY NO. 11:
                                          1
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       With respect to each audio recording you produced in connection with this

Litigation on May 24, 2022, identify: (a) when this audio recording was made; (b)

the individuals whose voices are heard on the audio recording; (c) any individuals

who witnessed and/or participated in the conversation recorded whose voices cannot

be heard; (d) how the audio recording was made, including the device the captured

the recording and any applications used to capture the recording; (e) who made the

recording; (f) Plaintiff’s physical location at the time of the recording; (g) the

physical location of any witnesses and/or participants to the conversation being

recorded; and (h) any documents which support your answer to this Interrogatory.

       SUPPLEMENTAL RESPONSE:

       Without waiver of Plaintiff’s prior objection to Interrogatory No. 11, Plaintiff

supplements with the statements in the document attached hereto and labeled at

Plaintiff’s Attachment B, Maurice Franklin Production numbers 002115 – 002126.




Dated: January 20, 2023                   Respectfully Submitted,

                                       BARRETT & FARAHANY

                                       /s/ Anthony Dawkins
                                       Anthony Dawkins, J.D.
                                       Georgia Bar No. 157904
                                       Attorney for Plaintiff
P.O. Box 530092
Atlanta, GA 30353
Direct: (470) 747-8329
Fax: (404) 214-0125
                                          2
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anthony@justiceatwork.com




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                              PLAINTIFF’S

                ATTACHMENT
                     B




                                       4
                                                                                       Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 57 of 100 PageID #:961

Plaintiff's Supplemental Response to Defendant's Interrogatory 11:
Name                                          Column1                                                                                        When Recording Made                          Voices Heard                                     Witnesses to Convo not Heard                    Device Capturing Records/Apps Used to Record Who Made Recording                             Plaintiffs Physical Location                     Physical Location of Participants                Documents to Support

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
                                                                                                                                             After reviewing all sources of information                                                                                                    this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                             available to him, Plaintiff is unable to                                                      Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                             determine the creation/recording date of                                                      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
00000000000017mp.M4A                          The statements made this row are related to and concerning 00000000000017mp.M4A                00000000000017mp.M4A                         Maurice Franklin, Laura Rosenak                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                           this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                           Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff believes that the participants in this After reviewing all sources of information
                                                                                                                                             To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      recording were physically present in the State available to him, Plaintiff is unable to identify
00000000015mp.m4a                             The statements made this row are related to and concerning 00000000015mp.m4a                   recording was made on 01/20/2022             Maurice Franklin, Jackie Lyndon                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              of Illinois at the time of the recording.        documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                           this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                           Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                             To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
00000000018mp.m4a                             The statements made this row are related to and concerning 00000000018mp.m4a                   recording was made on 03/19/2021             Maurice Franklin, Kathleen Kerr                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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                                                                                                                                             To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
0000000014mp.m4a                              The statements made this row are related to and concerning 0000000014mp.m4a                    recording was made on 05/01/2020             Maurice Franklin, Laura Rosenak                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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0000000016mp.mp3                              The statements made this row are related to and concerning 0000000016mp.mp3                    recording was made on 05/01/2022             Maurice Franklin, Jackie Lyndon                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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000000004mp.m4a                               The statements made this row are related to and concerning 000000004mp.m4a                     recording was made on 10/02/2020             Maurice Franklin, Laura Rosenak                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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                                                                                                                                             To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
000000010mp.m4a                               The statements made this row are related to and concerning 000000010mp.m4a                     recording was made on 11/01/2021             Maurice Franklin, Colleen Mathias                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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                                                                                                                                             To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
000000010mp.m4a                               The statements made this row are related to and concerning 000000010mp.m4a                     recording was made on 11/01/2022             Maurice Franklin, Colleen Mathias                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

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                                                                                                                                             To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
000000013mp.m4a                               The statements made this row are related to and concerning 000000013mp.m4a                     recording was made on 11/01/2020             Maurice Franklin, Colleen Mathias                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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000000019mp.m4a                               The statements made this row are related to and concerning 000000019mp.m4a                     recording was made on 01/05/2022             Maurice Franklin, Dennis Seeley                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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00000006mp.m4a                                The statements made this row are related to and concerning 00000006mp.m4a                      recording was made on 09/21/2018             Maurice Franklin, Alex Martin                    recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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                                                                                                                                             To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this        available to him, Plaintiff is unable to identify
00000007mp.m4a                                The statements made this row are related to and concerning 00000007mp.m4a                      recording was made on 07/25/2018             Maurice Franklin, Alex Martin                    recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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                                                                                                                                             To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this        available to him, Plaintiff is unable to identify
00000011mp.m4a                                The statements made this row are related to and concerning 00000011mp.m4a                      recording was made on 10/01/2020             Maurice Franklin, Colleen Mathias                recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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                                                                                                                                                                                          Laura Rosenak, Maurice Franklin, Isadora         Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                             To the best of Plaintiff's knowledge, the    Huntley, Colleen Duke, CPUC-LifeLine             this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
0000009mp.M4A                                 The statements made this row are related to and concerning 0000009mp.M4A                       recording was made on 06/25/2020             Leadership                                       recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

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                                                                                                                                             To the best of Plaintiff's knowledge, the    Maurice Franklin, Daniel Goodwin, Jonathan       this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20181024 122302.m4a                           The statements made this row are related to and concerning 20181024 122302.m4a                 recording was made on 10/24/2018             Ross, Solix IT Ledership staff,                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
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20181026 101713-1d531859 (6).m4a              The statements made this row are related to and concerning 20181026 101713-1d531859 (6).m4a    recording was made on 10/26/2018             Maurice Franklin, Solix IT Manager               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                           this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                           Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                             To the best of Plaintiff's knowledge, the    Maurice Franklin, Solix IT Staff, Gina Turner,   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20181026 130615-95a831a1 (7).m4a              The statements made this row are related to and concerning 20181026 130615-95a831a1 (7).m4a    recording was made on 10/31/2018             Maximus Staff                                    recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                           this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                           Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                             To the best of Plaintiff's knowledge, the    Maurice Franklin, Gina Turner, CPUC              this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20181031 120215-57df9b30 (8).m4a              The statements made this row are related to and concerning 20181031 120215-57df9b30 (8).m4a    recording was made on 10/31/2018             Leadership Staff,                                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                           this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                        Plaintiff lacks knowledge of any witnesses to      the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                             To the best of Plaintiff's knowledge, the    Maurice Franklin, Tara Colton, Jackie ?, Gina this recording who are not heard in the            which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20181031 123418-E9554bf8 (9).m4a              The statements made this row are related to and concerning 20181031 123418-E9554bf8 (9).m4a    recording was made on 10/31/2018             Turner, CPUC Leadership Team, Solix IT Team recording.                                           and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                           To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                           this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                       Plaintiff lacks knowledge of any witnesses to       the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff believes that the participants in this After reviewing all sources of information
                                                                                                                                             To the best of Plaintiff's knowledge, the    Colleen Duke, CPUC Leadership staff, Maurice this recording who are not heard in the             which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      recording were physically present in the State available to him, Plaintiff is unable to identify
20181109 113248-C3efc041 (10).m4a             The statements made this row are related to and concerning 20181109 113248-C3efc041 (10).m4a   recording was made on 11/09/2018             Franklin, Gina Turner, Dan Goodwin.          recording.                                          and returned to Defendants.                      this row.                                  the recording in this row was made.              of California at the time of the recording.      documents in support of this recording.




                                                                                                                                                                                                              Maurice Franklin Production 002115
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                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Gina Turner, Maurice Franklin, CPUC              this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20181114 113217-15603b23 (11).m4a   The statements made this row are related to and concerning 20181114 113217-15603b23 (11).m4a   recording was made on 11/14/2018            Leadership Staff, others                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                               Maurice Franklin, Gina Turner, Solix IT          Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Manager, Jonathan Ross, Dan Goodwin,             this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20181115 150301-C04d6ad8 (12).m4a   The statements made this row are related to and concerning 20181115 150301-C04d6ad8 (12).m4a   recording was made on 11/15/2018            others                                           recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Maurice Franklin, CPUC Leadership staff, Laura this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20181128 171643.m4a                 The statements made this row are related to and concerning 20181128 171643.m4a                 recording was made on 11/28/2018            Rosenak, Gina Turner,                          recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                               Maurice Franklin, Gina Turner, Robert Tuller,    Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Dan Goodwin, Jackie Gaede, Solix IT              this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20181130 140057-90cf59a7 (13).m4a   The statements made this row are related to and concerning 20181130 140057-90cf59a7 (13).m4a   recording was made on 11/30/2018            Leadership staff,                                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20181130 150527-8a36327b (14).m4a   The statements made this row are related to and concerning 20181130 150527-8a36327b (14).m4a   recording was made on 11/30/2018            Maurice Franklin, Solix IT Manager               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Maurice Franklin, Solix IT Staff, Chirs Debek,   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190111 100557-7efbcd56 (16).m4a   The statements made this row are related to and concerning 20190111 100557-7efbcd56 (16).m4a   recording was made on 01/11/2019            Dan Goodwin, Colleen Duke, others                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190227 080106-01fecd9f (17).m4a   The statements made this row are related to and concerning 20190227 080106-01fecd9f (17).m4a   recording was made on 02/27/2019            Maurice Franklin, Laura Rosenak                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Maurice Franklin, Jonathan Ross, Dan             this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190228 150126-Da89d37d (18).m4a   The statements made this row are related to and concerning 20190228 150126-Da89d37d (18).m4a   recording was made on 02/28/2019            Goodwin, LifeLine Interviewee                    recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                               Bruce Casewell, Laura Rosenak, Rick                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                               Neudeaue(?), Kathleen Kerr, Maurice Franklin, Plaintiff lacks knowledge of any witnesses to      the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Gina Turner, Colleen Duke, Jonathan Ross, P this recording who are not heard in the              which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190304 120220-850a3aa4 (19).m4a   The statements made this row are related to and concerning 20190304 120220-850a3aa4 (19).m4a   recording was made on 03/04/2019            Fish, Ilene Baylinson, others                 recording.                                         and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Jonathan Ross, Gina Turner, Dan Goodwin,         this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190306 171206-9da3a4b0 (20).m4a   The statements made this row are related to and concerning 20190306 171206-9da3a4b0 (20).m4a   recording was made on 03/06/2019            Maurice Frnaklin, Laura Rosenak                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Jonathan Ross, Gina Turner, Dan Goodwin,         this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190307 170349-6f8123ff (21).m4a   The statements made this row are related to and concerning 20190307 170349-6f8123ff (21).m4a   recording was made on 03/07/2019            Maurice Frnaklin, Laura Rosenak                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Jonathan Ross, Gina Turner, Dan Goodwin,         this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190314 093550.m4a                 The statements made this row are related to and concerning 20190314 093550.m4a                 recording was made on 03/14/2019            Maurice Frnaklin, Laura Rosenak                  recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   CPUC Leadership, Maurice Franklin, Gina          this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190319 150532-24204c66 (22).m4a   The statements made this row are related to and concerning 20190319 150532-24204c66 (22).m4a   recording was made on 03/19/2019            Turner, unknow attendees on phone                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190322 191241.m4a                 The statements made this row are related to and concerning 20190322 191241.m4a                 recording was made on 03/22/2019            unknown                                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190405 141435.m4a                 The statements made this row are related to and concerning 20190405 141435.m4a                 recording was made on 04/05/2019            unknown                                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190408 100144-50bc5fc1 (25).m4a   The statements made this row are related to and concerning 20190408 100144-50bc5fc1 (25).m4a   recording was made on 04/08/2019            Kim Colbeck, Maurice Franklin                    recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190415 112903.m4a                 The statements made this row are related to and concerning 20190415 112903.m4a                 recording was made on 04/15/2019            Maurice Franklin                                 recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190627 132648-730c94da (26).m4a   The statements made this row are related to and concerning 20190627 132648-730c94da (26).m4a   recording was made on 06/27/2019            Dana Alfred, Maurice Franklin                    recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190718 074744-B3c9e51d (27).m4a   The statements made this row are related to and concerning 20190718 074744-B3c9e51d (27).m4a   recording was made on 07/18/2019            Paticia ? - Voicemail                            recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20190911 081226-A97dcb9a (28).m4a   The statements made this row are related to and concerning 20190911 081226-A97dcb9a (28).m4a   recording was made on 09/11/2019            Maurice Franklin & unknow                        recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.




                                                                                                                                                                                                   Maurice Franklin Production 002116
                                                                             Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 59 of 100 PageID #:963


                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20190911 082815-A5b407ce (29).m4a   The statements made this row are related to and concerning 20190911 082815-A5b407ce (29).m4a   recording was made on 09/11/2019            Maurice Franklin & unknow                      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Genevieve Shiroma, Commissioner & others       this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20190913 103432.m4a                 The statements made this row are related to and concerning 20190913 103432.m4a                 recording was made on 09/13/2019            unknown, Colleen Duke                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
2019-09-25 2022+2022fri.mp3         The statements made this row are related to and concerning 2019-09-25 2022+2022fri.mp3         recording was made on 09/25/2019            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
2019-09-25 Rosenak+Franklin.mp3     The statements made this row are related to and concerning 2019-09-25 Rosenak+Franklin.mp3     recording was made on 09/25/2019            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20191004 153820-9869417b (30).m4a   The statements made this row are related to and concerning 20191004 153820-9869417b (30).m4a   recording was made on 10/04/2019            Maurice Franklin, Partin ? - Michigan client   recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                             Plaintiff lacks knowledge of any witnesses to    the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Maurice Franklin, Arkasas department of labor this recording who are not heard in the          which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20191014 135959-5854cc6c (31).m4a   The statements made this row are related to and concerning 20191014 135959-5854cc6c (31).m4a   recording was made on 10/14/2019            staff, Rita Holden                            recording.                                       and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff believes that the participants in this After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Georgia at the time the recording in this row recording were physically present in the State available to him, Plaintiff is unable to identify
20191016 105829.m4a                 The statements made this row are related to and concerning 20191016 105829.m4a                 recording was made on 10/16/2019            Maurice Franklin, conference participants      recording.                                      and returned to Defendants.                      this row.                                  was made.                                        of Georgia at the time of the recording.         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff believes that the participants in this After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Latonia Jennings, Andre Price, Maurice         this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   recording were physically present in the State available to him, Plaintiff is unable to identify
20191029 090711.m4a                 The statements made this row are related to and concerning 20191029 090711.m4a                 recording was made on 10/29/2019            Franklin                                       recording.                                      and returned to Defendants.                      this row.                                  was made.                                        of Illinois at the time of the recording.        documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20191105 113239.m4a                 The statements made this row are related to and concerning 20191105 113239.m4a                 recording was made on 11/05/2019            noone                                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Robin LaFrance, Ilene Baylinson, Maurice       this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20191105 113736-9d7a546a (33).m4a   The statements made this row are related to and concerning 20191105 113736-9d7a546a (33).m4a   recording was made on 11/05/2019            Franklin, Mike Casady                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20191203 095746.m4a                 The statements made this row are related to and concerning 20191203 095746.m4a                 recording was made on 12/03/2019            Maurice Franklin, others unknown               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20191211 101839.m4a                 The statements made this row are related to and concerning 20191211 101839.m4a                 recording was made on 12/11/2019            Maurice Franklin, Kelly Blashke                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20200103 092146-8298caa9 (36).m4a   The statements made this row are related to and concerning 20200103 092146-8298caa9 (36).m4a   recording was made on 01/03/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20200111 123950-E8b7b416 (38).m4a   The statements made this row are related to and concerning 20200111 123950-E8b7b416 (38).m4a   recording was made on 01/11/2020            none                                           recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20200121 110525-0c4af3d4 (40).m4a   The statements made this row are related to and concerning 20200121 110525-0c4af3d4 (40).m4a   recording was made on 01/21/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Maurice Franklin, Laura Rosenak, Peter         this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20200130 153156.m4a                 The statements made this row are related to and concerning 20200130 153156.m4a                 recording was made on 01/30/2020            Baylinson, Colleen Mathis, and Kelly Boerner   recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20200203 100105-437cfb3d (41).m4a   The statements made this row are related to and concerning 20200203 100105-437cfb3d (41).m4a   recording was made on 02/03/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,        To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in Washington, the other particiants heard in this recording    After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     D.C. at the time the recording in this row was were in Washington, DC at the time this           available to him, Plaintiff is unable to identify
20200206 085054-A251a6e8 (42).m4a   The statements made this row are related to and concerning 20200206 085054-A251a6e8 (42).m4a   recording was made on 02/06/2020            unknown-speaker                                recording.                                      and returned to Defendants.                      this row.                                  made.                                           recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20200219 071248.m4a                 The statements made this row are related to and concerning 20200219 071248.m4a                 recording was made on 02/19/2020            Maurice Franklin                               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical        After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this        available to him, Plaintiff is unable to identify
20200219 071334.m4a                 The statements made this row are related to and concerning 20200219 071334.m4a                 recording was made on 02/19/2020            Maurice Franklin                               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                              documents in support of this recording.




                                                                                                                                                                                                   Maurice Franklin Production 002117
                                                                             Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 60 of 100 PageID #:964


                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  To the best of his knowledge and belief,         To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of the other particiants heard in this recording    After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Maurice Franklin, Laura Rosenak, Peter           this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Louisiana at the time the recording in this row were in the State of Louisiana at the time this available to him, Plaintiff is unable to identify
20200219 075110-A78064ab (43).m4a   The statements made this row are related to and concerning 20200219 075110-A78064ab (43).m4a   recording was made on 02/19/2020            Baylinson, Colleen Mathis, and Kelly Boerner     recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  To the best of his knowledge and belief,         To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of the other particiants heard in this recording    After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     California at the time the recording in this row were in the State of California at the time this available to him, Plaintiff is unable to identify
20200227 080006.m4a                 The statements made this row are related to and concerning 20200227 080006.m4a                 recording was made on 02/27/2020            Laura Rosenak & Maurice Franklin                 recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200305 144230-3fc59845 (44).m4a   The statements made this row are related to and concerning 20200305 144230-3fc59845 (44).m4a   recording was made on 03/05/2020            Laura Rosenak & Maurice Franklin                 recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200330 100034-3752cc99 (45).m4a   The statements made this row are related to and concerning 20200330 100034-3752cc99 (45).m4a   recording was made on 03/30/2020            Laura Rosenak & Maurice Franklin                 recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this         available to him, Plaintiff is unable to identify
20200330 110151.m4a                 The statements made this row are related to and concerning 20200330 110151.m4a                 recording was made on 03/30/2020            Maurice Franklin, Dawn Perino, Andre Price,      recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200413 162744-C24ec39a (46).m4a   The statements made this row are related to and concerning 20200413 162744-C24ec39a (46).m4a   recording was made on 04/13/2020            Bruce Perkins, Ilene Baylinson, others           recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200417 132144-Fd1b3ab8 (47).m4a   The statements made this row are related to and concerning 20200417 132144-Fd1b3ab8 (47).m4a   recording was made on 04/17/2020            noone                                            recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200417 135012-971db108 (48).m4a   The statements made this row are related to and concerning 20200417 135012-971db108 (48).m4a   recording was made on 04/17/2020            Laura Rosenak & Maurice Franklin                 recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200417 141620-83b923c4 (49).m4a   The statements made this row are related to and concerning 20200417 141620-83b923c4 (49).m4a   recording was made on 04/17/2020            Laura Rosenak & Maurice Franklin                 recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200421 133148-Ecf74082 (50).m4a   The statements made this row are related to and concerning 20200421 133148-Ecf74082 (50).m4a   recording was made on 04/21/2020            Daniel Blitz and others                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                           Plaintiff lacks knowledge of any witnesses to        the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Department of Labor, Laura Rosenak, Maurice this recording who are not heard in the              which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200422 080326-E5c721da (51).m4a   The statements made this row are related to and concerning 20200422 080326-E5c721da (51).m4a   recording was made on 04/22/2020            Franklin                                    recording.                                           and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Kip, Peter Baylinson, Maurice Franklin, Curtis   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200423 115323-B8cca875 (52).m4a   The statements made this row are related to and concerning 20200423 115323-B8cca875 (52).m4a   recording was made on 04/23/2020            Briggs                                           recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Kathleen Kerr, Laura Rosenak, Colleen Duke,      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200423 173624-C5f7a78e (53).m4a   The statements made this row are related to and concerning 20200423 173624-C5f7a78e (53).m4a   recording was made on 04/23/2020            Colleen Mathis, Maurice Franklin                 recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this         available to him, Plaintiff is unable to identify
20200427 100052-Ce3e64f8 (54).m4a   The statements made this row are related to and concerning 20200427 100052-Ce3e64f8 (54).m4a   recording was made on 04/27/2020            Laura Rosenak & Maurice Franklin                 recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this         available to him, Plaintiff is unable to identify
20200428 090801-Cd373882 (55).m4a   The statements made this row are related to and concerning 20200428 090801-Cd373882 (55).m4a   recording was made on 04/28/2020            Mary Kenderson, Maurice Franklin, others         recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Ernie Dehoya, Maurice Franklin, Laura            this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this         available to him, Plaintiff is unable to identify
20200428 134830-7921e813 (56).m4a   The statements made this row are related to and concerning 20200428 134830-7921e813 (56).m4a   recording was made on 04/28/2020            Rosenak                                          recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200429 160812-B55f23fa (57).m4a   The statements made this row are related to and concerning 20200429 160812-B55f23fa (57).m4a   recording was made on 05/04/2020            Dough Howard, Ilene Baylinson and others         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Maurice Franklin, Peter Baylinson & Laura        this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200504 121539-424c55fb (58).m4a   The statements made this row are related to and concerning 20200504 121539-424c55fb (58).m4a   recording was made on 05/04/2020            Rosenak                                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200505 103429-2a790b5a (59).m4a   The statements made this row are related to and concerning 20200505 103429-2a790b5a (59).m4a   recording was made on 05/05/2020            Laura Rosenak & Maurice Franklin                 recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this         available to him, Plaintiff is unable to identify
20200507 154411-9025be69 (60).m4a   The statements made this row are related to and concerning 20200507 154411-9025be69 (60).m4a   recording was made on 05/07/2020            Colleen Duke, Maurice Franklin, James G          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                               documents in support of this recording.




                                                                                                                                                                                                  Maurice Franklin Production 002118
                                                                             Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 61 of 100 PageID #:965


                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of                                             After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row                                               available to him, Plaintiff is unable to identify
20200511 125231-99a68bb7 (61).m4a   The statements made this row are related to and concerning 20200511 125231-99a68bb7 (61).m4a   recording was made on 05/11/2020            Maurice Franklin & Tamara Thomas               recording.                                      and returned to Defendants.                      this row.                                  was made.                                        California                                  documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200515 153402-A6832c8a (62).m4a   The statements made this row are related to and concerning 20200515 153402-A6832c8a (62).m4a   recording was made on 05/15/2020            Chris Debek, others unknown                    recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200515 224457-Deaaacde (63).m4a   The statements made this row are related to and concerning 20200515 224457-Deaaacde (63).m4a   recording was made on 05/15/2020            noone                                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200518 171827-2d5b95e7 (64).m4a   The statements made this row are related to and concerning 20200518 171827-2d5b95e7 (64).m4a   recording was made on 05/18/2020            Laura Rosenak, others unknown                  recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Gary Johnson, Dan Blitz, Kathleen Kerr, others this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200520 153332-116b15d9 (65).m4a   The statements made this row are related to and concerning 20200520 153332-116b15d9 (65).m4a   recording was made on 05/20/2020            unknown                                        recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200529 083048-54b6b9aa (66).m4a   The statements made this row are related to and concerning 20200529 083048-54b6b9aa (66).m4a   recording was made on 05/29/2020            Carrie Archer, Laura Rosenak, others           recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200602 100229-29b08eaa (67).m4a   The statements made this row are related to and concerning 20200602 100229-29b08eaa (67).m4a   recording was made on 06/02/2020            Laura Rosenak & Maurice Franklin               recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200604 154103-F1b68394 (68).m4a   The statements made this row are related to and concerning 20200604 154103-F1b68394 (68).m4a   recording was made on 06/04/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200608 100016.m4a                 The statements made this row are related to and concerning 20200608 100016.m4a                 recording was made on 06/08/2020            none                                           recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200608 100043-D3558d4c (69).m4a   The statements made this row are related to and concerning 20200608 100043-D3558d4c (69).m4a   recording was made on 06/08/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200612 102138-3d0f34a8 (70).m4a   The statements made this row are related to and concerning 20200612 102138-3d0f34a8 (70).m4a   recording was made on 06/12/2020            none                                           recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200617 194642-Bc2493ec (71).m4a   The statements made this row are related to and concerning 20200617 194642-Bc2493ec (71).m4a   recording was made on 06/17/2020            noone                                          recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200618 074848.m4a                 The statements made this row are related to and concerning 20200618 074848.m4a                 recording was made on 06/18/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200622 100215.m4a                 The statements made this row are related to and concerning 20200622 100215.m4a                 recording was made on 06/22/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
2020-06-22 2022+2022fri.m4a         The statements made this row are related to and concerning 2020-06-22 2022+2022fri.m4a         recording was made on 06/22/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
2020-06-22 Rosenak+Franklin.m4a     The statements made this row are related to and concerning 2020-06-22 Rosenak+Franklin.m4a     recording was made on 06/22/2020            Maurice Franklin & Laura Rosenak               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200625 130334-D060ce21 (72).m4a   The statements made this row are related to and concerning 20200625 130334-D060ce21 (72).m4a   recording was made on 06/25/2020            unsure                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200625 170036.m4a                 The statements made this row are related to and concerning 20200625 170036.m4a                 recording was made on 06/25/2020                                                           recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Laura Rosenak, CPUC Executive Leadership,      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200625 173147.m4a                 The statements made this row are related to and concerning 20200625 173147.m4a                 recording was made on 06/25/2020            Maximus Consultant, Isadora Huntly             recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                              To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                              this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                              Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200630 145352-C34a5ef2 (73).m4a   The statements made this row are related to and concerning 20200630 145352-C34a5ef2 (73).m4a   recording was made on 06/30/2020            Illinois client & Maurice Franklin             recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.




                                                                                                                                                                                                   Maurice Franklin Production 002119
                                                                             Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 62 of 100 PageID #:966


                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200701 113046.m4a                 The statements made this row are related to and concerning 20200701 113046.m4a                 recording was made on 07/01/2020            not sure                                         recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200701 144438-B9e82448 (74).m4a   The statements made this row are related to and concerning 20200701 144438-B9e82448 (74).m4a   recording was made on 07/02/2020            not sure                                         recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Jay Otto, Kentucky Child Support Executive       this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200702 133144-1b82623d (75).m4a   The statements made this row are related to and concerning 20200702 133144-1b82623d (75).m4a   recording was made on 07/02/2020            staff                                            recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200706 100023.m4a                 The statements made this row are related to and concerning 20200706 100023.m4a                 recording was made on 07/06/2020            Maurice Franklin & Laura Rosenak                 recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200706 100645-93ddcff9 (76).m4a   The statements made this row are related to and concerning 20200706 100645-93ddcff9 (76).m4a   recording was made on 01/00/1900                                                             recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200707 093024.m4a                 The statements made this row are related to and concerning 20200707 093024.m4a                 recording was made on 07/07/2020            noone                                            recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200707 093150-D0be7dca (77).m4a   The statements made this row are related to and concerning 20200707 093150-D0be7dca (77).m4a   recording was made on 07/07/2020            Gary Johnson, others are unknown                 recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Maurice Franklin, Gary Johnson, Laura            this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200707 100140-59499c8b (78).m4a   The statements made this row are related to and concerning 20200707 100140-59499c8b (78).m4a   recording was made on 07/07/2020            Rosenak, Kelly Boerner                           recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Laura Rosenak, Peter Baylinson, Colleen          this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200708 114153-97b5aaf9 (79).m4a   The statements made this row are related to and concerning 20200708 114153-97b5aaf9 (79).m4a   recording was made on 07/08/2020            Mathis,                                          recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200715 160429.m4a                 The statements made this row are related to and concerning 20200715 160429.m4a                 recording was made on 07/15/2020                                                             recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200716 131016-7592c372 (80).m4a   The statements made this row are related to and concerning 20200716 131016-7592c372 (80).m4a   recording was made on 07/16/2020            Maurice Franklin, Scott Glover                   recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200716 132620-C4c34dba (81).m4a   The statements made this row are related to and concerning 20200716 132620-C4c34dba (81).m4a   recording was made on 07/17/2020            Maurice Franklin, Scott Glover                   recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200720 095930-7d4f1860 (82).m4a   The statements made this row are related to and concerning 20200720 095930-7d4f1860 (82).m4a   recording was made on 07/20/2020            Maurice Franklin & Laura Rosenak                 recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                           Plaintiff lacks knowledge of any witnesses to          the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                               this recording who are not heard in the                which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200724 150247-8da0e8dd (83).m4a   The statements made this row are related to and concerning 20200724 150247-8da0e8dd (83).m4a   recording was made on 07/24/2020            Tamara Thomas, Joe Depell, Maurice Franklin recording.                                             and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200729 143151-Bf1981d0 (84).m4a   The statements made this row are related to and concerning 20200729 143151-Bf1981d0 (84).m4a   recording was made on 07/29/2020            Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200730 091756-10d32364 (85).m4a   The statements made this row are related to and concerning 20200730 091756-10d32364 (85).m4a   recording was made on 07/30/2020            Maurice Franklin & Phyllis Fish                  recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200803 100044-569c4440 (86).m4a   The statements made this row are related to and concerning 20200803 100044-569c4440 (86).m4a   recording was made on 08/03/2020            Maurice Franklin & Laura Rosenak                 recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                  Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200803 152604.m4a                 The statements made this row are related to and concerning 20200803 152604.m4a                 recording was made on 08/03/2020            recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200817 100145-A073d83c (87).m4a   The statements made this row are related to and concerning 20200817 100145-A073d83c (87).m4a   recording was made on 08/17/2020            Maurice Franklin & Laura Rosenak                 recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                               Collen Duke, Bruce Casewell, Rick Neadeau,                                                         To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                               Kathleen Kerr, Laura Rosenak, Rick Dollio, Ilne                                                    this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                               Baylinson, Jason Brunell, David Dilvebus,       Plaintiff lacks knowledge of any witnesses to      the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                   To the best of Plaintiff's knowledge, the   Kevan Raily, Chris Debaek, Michael Limberg, this recording who are not heard in the                which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200819 150609-7dd183d2 (88).m4a   The statements made this row are related to and concerning 20200819 150609-7dd183d2 (88).m4a   recording was made on 08/19/2020            and others                                      recording.                                         and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.




                                                                                                                                                                                                   Maurice Franklin Production 002120
                                                                              Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 63 of 100 PageID #:967


                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Laura Rosenak, Peter Baylinson, Colleen      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200902 113407-5d41ddd5 (89).m4a    The statements made this row are related to and concerning 20200902 113407-5d41ddd5 (89).m4a    recording was made on 09/02/2020             Mathis                                       recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Laura Rosenak, Peter Baylinson, Colleen      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200902 113738-0c135f18 (90).m4a    The statements made this row are related to and concerning 20200902 113738-0c135f18 (90).m4a    recording was made on 09/02/2020             Mathis                                       recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Laura Rosenak, Peter Baylinson, Colleen      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200902 115018-Ddbf2abd (91).m4a    The statements made this row are related to and concerning 20200902 115018-Ddbf2abd (91).m4a    recording was made on 09/02/2020             Mathis                                       recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Laura Rosenak, Peter Baylinson, Colleen      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200902 122305.m4a                  The statements made this row are related to and concerning 20200902 122305.m4a                  recording was made on 09/02/2020             Mathis                                       recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Stanislause county staff   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200903 160205-8b36ae7b (92).m4a    The statements made this row are related to and concerning 20200903 160205-8b36ae7b (92).m4a    recording was made on 09/03/2020             unknown                                      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200903 165033.m4a                  The statements made this row are related to and concerning 20200903 165033.m4a                  recording was made on 09/03/2020             Maurice Franklin, Tamara Thomas              recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200908 092928-9b377514 (93).m4a    The statements made this row are related to and concerning 20200908 092928-9b377514 (93).m4a    recording was made on 09/08/2020             Maurice Franklin & Joseph Dupell             recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Kathleen Kerr, Laura       this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200908 120138-C2940cfb (94).m4a    The statements made this row are related to and concerning 20200908 120138-C2940cfb (94).m4a    recording was made on 09/08/2020             Rosenak, others                              recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200909 103411-07f752d4 (95).m4a    The statements made this row are related to and concerning 20200909 103411-07f752d4 (95).m4a    recording was made on 09/09/2020             Maurice Franklin, Colleen Duke               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                  Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200909 113042.m4a                  The statements made this row are related to and concerning 20200909 113042.m4a                  20200909 113042.m4a                                                                       recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200909 113101-A9d91363 (96).m4a    The statements made this row are related to and concerning 20200909 113101-A9d91363 (96).m4a    recording was made on 09/09/2020             Baylinson, Kelly Boerner, Laura Rosenak      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200909 114316-91f474ed (97).m4a    The statements made this row are related to and concerning 20200909 114316-91f474ed (97).m4a    recording was made on 09/09/2020             Baylinson, Kelly Boerner, Laura Rosenak      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20200911 102143-4bb235a4 (98).m4a    The statements made this row are related to and concerning 20200911 102143-4bb235a4 (98).m4a    recording was made on 09/14/2020             Maurice Franklin & Christine Hawkins         recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200914 100012-Ae52e8cb (99).m4a    The statements made this row are related to and concerning 20200914 100012-Ae52e8cb (99).m4a    recording was made on 09/14/2020             Maurice Franklin, Laura Rosenak              recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200914 100110-0fcef569 (100).m4a   The statements made this row are related to and concerning 20200914 100110-0fcef569 (100).m4a   recording was made on 09/16/2020             Maurice Franklin, Laura Rosenak              recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200916 113120-0316620a (101).m4a   The statements made this row are related to and concerning 20200916 113120-0316620a (101).m4a   recording was made on 09/16/2020             Baylinson, Kelly Boerner, Laura Rosenak      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200916 113534-F43fcd48 (102).m4a   The statements made this row are related to and concerning 20200916 113534-F43fcd48 (102).m4a   recording was made on 09/16/2020             Baylinson, Kelly Boerner, Laura Rosenak      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200916 114231-6ecf496b (103).m4a   The statements made this row are related to and concerning 20200916 114231-6ecf496b (103).m4a   recording was made on 09/16/2020             Baylinson, Kelly Boerner, Laura Rosenak      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200923 100057-249bd037 (104).m4a   The statements made this row are related to and concerning 20200923 100057-249bd037 (104).m4a   recording was made on 09/23/2020             Maurice Franklin, Laura Rosenak              recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                               To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                               this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20200923 121219-3b893238 (105).m4a   The statements made this row are related to and concerning 20200923 121219-3b893238 (105).m4a   recording was made on 09/23/2020             Baylinson, Kelly Boerner, Laura Rosenak      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.




                                                                                                                                                                                                     Maurice Franklin Production 002121
                                                                              Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 64 of 100 PageID #:968


                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20200925 110854-Bfb272b3 (106).m4a   The statements made this row are related to and concerning 20200925 110854-Bfb272b3 (106).m4a   recording was made on 09/25/2020             recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20200926 174523.m4a                  The statements made this row are related to and concerning 20200926 174523.m4a                  recording was made on 09/26/2020             recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20200926 174533.m4a                  The statements made this row are related to and concerning 20200926 174533.m4a                  recording was made on 09/26/2020             recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20200928 100028.m4a                  The statements made this row are related to and concerning 20200928 100028.m4a                  recording was made on 09/28/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20200928 100804.m4a                  The statements made this row are related to and concerning 20200928 100804.m4a                  recording was made on 09/28/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter          this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20200930 120059-20319d39 (107).m4a   The statements made this row are related to and concerning 20200930 120059-20319d39 (107).m4a   recording was made on 09/30/2020             Baylinson, Kelly Boerner, Laura Rosenak          recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to         the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the               which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201002 133210-4058e37a (108).m4a   The statements made this row are related to and concerning 20201002 133210-4058e37a (108).m4a   recording was made on 10/02/2020             Maurice Franklin, Laura Rosenak, Kim Colbeck recording.                                            and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201007 113241.m4a                  The statements made this row are related to and concerning 20201007 113241.m4a                  recording was made on 10/07/2020             recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter          this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201007 113249-Eb10f16d (109).m4a   The statements made this row are related to and concerning 20201007 113249-Eb10f16d (109).m4a   recording was made on 10/07/2020             Baylinson, Kelly Boerner, Laura Rosenak          recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201012 100009.m4a                  The statements made this row are related to and concerning 20201012 100009.m4a                  recording was made on 10/12/2020             recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201012 100015.m4a                  The statements made this row are related to and concerning 20201012 100015.m4a                  recording was made on 10/12/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201012 110934.m4a                  The statements made this row are related to and concerning 20201012 110934.m4a                  20201012 110934.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201012 110939-8a514e44 (110).m4a   The statements made this row are related to and concerning 20201012 110939-8a514e44 (110).m4a   recording was made on 10/12/2020             Maurice Franklin, Eddie Mizra                    recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Kathleen Kerr, Laura           this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201012 150829-3e538605 (111).m4a   The statements made this row are related to and concerning 20201012 150829-3e538605 (111).m4a   recording was made on 10/12/2020             Rosenak, others                                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Laura Rosenak, Kathleen        this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201012 151805-9b4d11da (112).m4a   The statements made this row are related to and concerning 20201012 151805-9b4d11da (112).m4a   recording was made on 10/12/2020             Kerr and others                                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
2020-10-12 2022+2022fri.m4a          The statements made this row are related to and concerning 2020-10-12 2022+2022fri.m4a          recording was made on 10/12/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
2020-10-12 Rosenak+Franklin.m4a      The statements made this row are related to and concerning 2020-10-12 Rosenak+Franklin.m4a      recording was made on 10/12/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201014 110320.m4a                  The statements made this row are related to and concerning 20201014 110320.m4a                  20201014 110320.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Mathis, Peter          this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201014 113210-Daec5ab3 (113).m4a   The statements made this row are related to and concerning 20201014 113210-Daec5ab3 (113).m4a   recording was made on 10/14/2020             Baylinson, Kelly Boerner, Laura Rosenak          recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                  Maurice Franklin, Colleen Mathis, Peter          Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to      Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Baylinson, Kelly Boerner, Laura Rosenak, Kim     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time   location of participants at the time this   available to him, Plaintiff is unable to identify
20201014 115639-1104a6dc (114).m4a   The statements made this row are related to and concerning 20201014 115639-1104a6dc (114).m4a   recording was made on 10/14/2020             Colbeck                                          recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.           recording was made.                         documents in support of this recording.




                                                                                                                                                                                                      Maurice Franklin Production 002122
                                                                                          Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 65 of 100 PageID #:969


                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201015 120213.m4a                           The statements made this row are related to and concerning 20201015 120213.m4a                         20201015 120213.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20201015 120223-2c670678 (115).m4a            The statements made this row are related to and concerning 20201015 120223-2c670678 (115).m4a          recording was made on 10/15/2020             Maurice Franklin & Peter Baylinson               recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20201019 143015.m4a                           The statements made this row are related to and concerning 20201019 143015.m4a                         recording was made on 10/19/2020             Maurice Franklin & Kim Colbeck                   recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20201019 143629.m4a                           The statements made this row are related to and concerning 20201019 143629.m4a                         recording was made on 10/19/2020             Maurice Franklin & Kim Colbeck                   recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to         the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                 To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the               which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
2020-10-19 2022+2022fri0+2022fri - .mp3       The statements made this row are related to and concerning 2020-10-19 2022+2022fri0+2022fri - .mp3 recording was made on 10/19/2020                 Maurice Franklin, Kim Colbeck, Laura Rosenak recording.                                            and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to         the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                 To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the               which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
                                                                                                                                                 recording was made on 10/19/2020
2020-10-19 Rosenak+Colbeck+Franklin - Lie.mp3The statements made this row are related to and concerning 2020-10-19 Rosenak+Colbeck+Franklin - Lie.mp3                                             Maurice Franklin, Kim Colbeck, Laura Rosenak recording.                                            and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the    Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201021 084213.m4a                           The statements made this row are related to and concerning 20201021 084213.m4a                         recording was made on 10/21/2020             recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20201021 084217-2eb60f60 (116).m4a            The statements made this row are related to and concerning 20201021 084217-2eb60f60 (116).m4a          recording was made on 10/21/2020             Maurice Franklin & Eddie Merza                   recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201022 060230.m4a                           The statements made this row are related to and concerning 20201022 060230.m4a                         20201022 060230.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20201022 060236.m4a                           The statements made this row are related to and concerning 20201022 060236.m4a                         recording was made on 10/22/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201026 100029.m4a                           The statements made this row are related to and concerning 20201026 100029.m4a                         20201026 100029.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201026 101932.m4a                           The statements made this row are related to and concerning 20201026 101932.m4a                         recording was made on 10/26/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
2020-10-26 2022fri0+2022fri.m4a               The statements made this row are related to and concerning 2020-10-26 2022fri0+2022fri.m4a             recording was made on 10/26/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
2020-10-26 Colbeck+Franklin.m4a               The statements made this row are related to and concerning 2020-10-26 Colbeck+Franklin.m4a             recording was made on 10/26/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the    Maruice Franklin, Laura Rosenak, Christine       this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201027 140054-08a32ff7 (117).m4a            The statements made this row are related to and concerning 20201027 140054-08a32ff7 (117).m4a          recording was made on 10/27/2020             Hawkins                                          recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
2020-10-27 2022fri+2022fri0 -.m4a             The statements made this row are related to and concerning 2020-10-27 2022fri+2022fri0 -.m4a           recording was made on 10/27/2020             Maurice Franklin, Kim Colbeck                    recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                    To the best of Plaintiff's knowledge, the                                                      this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
                                                                                                                                                    recording was made on 10/27/2020
2020-10-27 Franklin+Colbeck - she's lying.m4a The statements made this row are related to and concerning 2020-10-27 Franklin+Colbeck - she's lying.m4a                                            Maurice Franklin, Kim Colbeck                    recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201102 112631-E752eae7 (118).m4a            The statements made this row are related to and concerning 20201102 112631-E752eae7 (118).m4a          recording was made on 11/02/2020             Maurice Franklin , Colleen Mathis                recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to       the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Laura Rosenak, Kim Colbeck, this recording who are not heard in the              which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201102 140123-804aab81 (119).m4a            The statements made this row are related to and concerning 20201102 140123-804aab81 (119).m4a          recording was made on 11/02/2020             Colleen Mathis, Kelly Boerner, Peter Baylinson recording.                                          and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201103 084145.m4a                           The statements made this row are related to and concerning 20201103 084145.m4a                         recording was made on 11/03/2020             Maurice Franklin, Kim Colbeck                    recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.




                                                                                                                                                                                                                      Maurice Franklin Production 002123
                                                                              Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 66 of 100 PageID #:970


                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Duke, CPUC staff       this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201103 111322-F0200f24 (120).m4a   The statements made this row are related to and concerning 20201103 111322-F0200f24 (120).m4a   recording was made on 11/03/2020             (Robert)                                         recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201104 072605-79a6c00e (121).m4a   The statements made this row are related to and concerning 20201104 072605-79a6c00e (121).m4a   recording was made on 11/04/2020             Maurice Franklin, Kim Colbeck                    recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201104 073749-6ef4a8d0 (122).m4a   The statements made this row are related to and concerning 20201104 073749-6ef4a8d0 (122).m4a   recording was made on 11/04/2020             Maurice Franklin, Kim Colbeck                    recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201104 101114-933337c0 (123).m4a   The statements made this row are related to and concerning 20201104 101114-933337c0 (123).m4a   recording was made on 11/04/2020             Maurice Franklin, Kim Colbeck                    recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201106 164224.m4a                  The statements made this row are related to and concerning 20201106 164224.m4a                  recording was made on 11/06/2020             Maurice Franklin, Kathleen Kerr                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201109 100015.m4a                  The statements made this row are related to and concerning 20201109 100015.m4a                  20201109 100015.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201109 100018-2dcf43ee (124).m4a   The statements made this row are related to and concerning 20201109 100018-2dcf43ee (124).m4a   recording was made on 11/09/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201109 100857.m4a                  The statements made this row are related to and concerning 20201109 100857.m4a                  20201109 100857.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201109 100900-B9196e29 (125).m4a   The statements made this row are related to and concerning 20201109 100900-B9196e29 (125).m4a   recording was made on 11/09/2020             Maurice Frankin, Laura Rosenak                   recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201109 153956.m4a                  The statements made this row are related to and concerning 20201109 153956.m4a                  recording was made on 11/09/2020             recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201109 154131.m4a                  The statements made this row are related to and concerning 20201109 154131.m4a                  recording was made on 11/09/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201111 110112-24401fa0 (126).m4a   The statements made this row are related to and concerning 20201111 110112-24401fa0 (126).m4a   recording was made on 11/11/2020             Maurice Franklin, Jay Otto, Laura Rosenak        recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to       the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Colleen Duke, Jason Barnell, this recording who are not heard in the             which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201112 140709-D0964420.m4a         The statements made this row are related to and concerning 20201112 140709-D0964420.m4a         recording was made on 11/12/2020             Laura Rosenak                                  recording.                                          and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201130 135940.m4a                  The statements made this row are related to and concerning 20201130 135940.m4a                  20201130 135940.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201130 135950-E91fdcbe (127).m4a   The statements made this row are related to and concerning 20201130 135950-E91fdcbe (127).m4a   recording was made on 11/30/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                      this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                        Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of     Plaintiff is unable to identify any voices in this this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201130 140936.m4a                  The statements made this row are related to and concerning 20201130 140936.m4a                  20201130 140936.m4a                          recording.                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201130 140940-E6fd1f01 (128).m4a   The statements made this row are related to and concerning 20201130 140940-E6fd1f01 (128).m4a   recording was made on 11/30/2020             Maurice Franklin, Laura Rosenak                  recording.                                        and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                               Plaintiff lacks knowledge of any witnesses to         the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                 this recording who are not heard in the               which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20201207 103148.m4a                  The statements made this row are related to and concerning 20201207 103148.m4a                  recording was made on 12/07/2020             Maurice Franklin, Kim Colbeck, Laura Rosenak recording.                                            and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
2020-12-17 05+2022f.m4a              The statements made this row are related to and concerning 2020-12-17 05+2022f.m4a              recording was made on 12/17/2020             Maurice Franklin, Kathleen Kerr                  recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                     To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                     this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                   Plaintiff lacks knowledge of any witnesses to     the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                     this recording who are not heard in the           which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20201217 082108.m4a                  The statements made this row are related to and concerning 20201217 082108.m4a                  recording was made on 12/17/2020             Maurice Franklin, Kathleen Kerr                  recording.                                        and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.




                                                                                                                                                                                                      Maurice Franklin Production 002124
                                                                                          Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 67 of 100 PageID #:971


                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical           After reviewing all sources of information
                                                                                                                                               To the best of Plaintiff's knowledge, the                                                         this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this           available to him, Plaintiff is unable to identify
2020-12-17 Kerr+Franklin Announcing Reorg.m4a                                                                                                  recording was made on 12/17/2020
                                            The statements made this row are related to and concerning 2020-12-17 Kerr+Franklin Announcing Reorg.m4a                                              Maurice Franklin, Kathleen Kerr                recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                                 documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                  To the best of Plaintiff's knowledge, the                                                      this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
                                                                                                                                                  recording was made on 12/17/2020
2020-12-17 Kerr+Franklin Re Rosenak-Stith.m4aThe statements made this row are related to and concerning 2020-12-17 Kerr+Franklin Re Rosenak-Stith.m4a                                             Maurice Franklin, Kathleen Kerr                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
20210117 170614.m4a                           The statements made this row are related to and concerning 20210117 170614.m4a                         recording was made on 01/17/2021                                                            recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
20210119 115703.m4a                           The statements made this row are related to and concerning 20210119 115703.m4a                         recording was made on 01/19/2019             Maurice Franklin, unknown                      recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical           After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this           available to him, Plaintiff is unable to identify
20210129 105259-604c7eac (129).m4a            The statements made this row are related to and concerning 20210129 105259-604c7eac (129).m4a          recording was made on 01/29/2021             not sure                                       recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                                 documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                     After reviewing all sources of information                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                     available to him, Plaintiff is unable to                                                    Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     determine the creation/recording date of                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
20210131 202655.m4a                           The statements made this row are related to and concerning 20210131 202655.m4a                         20210131 202655.m4a                                                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical           After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this           available to him, Plaintiff is unable to identify
20210315 134750-3ed400a4 (130).m4a            The statements made this row are related to and concerning 20210315 134750-3ed400a4 (130).m4a          recording was made on 03/15/2021             Kitty Legerie, Maurice Franklin                recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                                 documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical           After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this           available to him, Plaintiff is unable to identify
20210315 134750-3ed400a4 (130).m4a            The statements made this row are related to and concerning 20210315 134750-3ed400a4 (130).m4a          recording was made on 03/15/2021             Kitty Legerie, Maurice Franklin                recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                                 documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                Plaintiff lacks knowledge of any witnesses to    the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical           After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Frnaklin, Kevin Black, Harold Horton, this recording who are not heard in the          which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this           available to him, Plaintiff is unable to identify
20210315 142821.m4a                           The statements made this row are related to and concerning 20210315 142821.m4a                         recording was made on 03/15/2021             Kelly Balshke                                 recording.                                       and returned to Defendants.                      this row.                                  was made.                                        recording was made.                                 documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
2021-03-15 Kerr-US Services Call.pdf          The statements made this row are related to and concerning 2021-03-15 Kerr-US Services Call.pdf        recording was made on 03/15/2021                                                            recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                 To the best of Plaintiff's knowledge, the        Kathleen Kerr and workforce services           this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
                                                                                                                                                 recording was made on 03/15/2021
2021-03-15 Kerr-US Services Re KBT Reorg.m4a The statements made this row are related to and concerning 2021-03-15 Kerr-US Services Re KBT Reorg.m4a                                              leadership team and others                     recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                     After reviewing all sources of information                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                     available to him, Plaintiff is unable to                                                    Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     determine the creation/recording date of                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
20210319 133753.m4a                           The statements made this row are related to and concerning 20210319 133753.m4a                         20210319 133753.m4a                                                                         recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

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                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the    Kathleen Kerr and workforce services           this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
20210319 133821.m4a                           The statements made this row are related to and concerning 20210319 133821.m4a                         recording was made on 03/15/2021             leadership team and others                     recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical           After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this           available to him, Plaintiff is unable to identify
20210406 113212.m4a                           The statements made this row are related to and concerning 20210406 113212.m4a                         recording was made on 04/06/2021             Maurice Franklin, Kelly Blashke                recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                                 documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical           After reviewing all sources of information
                                                                                                                                                    To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this           available to him, Plaintiff is unable to identify
2021-04-06 Blashcke+Franklin - not selected.m4a                                                                                                     recording was made on 04/06/2021
                                              The statements made this row are related to and concerning 2021-04-06 Blashcke+Franklin - not selected.m4a                                          Maurice Franklin, Kelly Blashke                recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                                 documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,           To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of   the other particiants heard in this recording    After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row     were in the State of Illinois at the time this   available to him, Plaintiff is unable to identify
20210511 170250.m4a                           The statements made this row are related to and concerning 20210511 170250.m4a                         recording was made on 05/11/2021             Maurice Franklin, Dr. Zagar                    recording.                                      and returned to Defendants.                      this row.                                  was made.                                          recording was made.                              documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical           After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this           available to him, Plaintiff is unable to identify
20210616 160309.m4a                           The statements made this row are related to and concerning 20210616 160309.m4a                         recording was made on 06/16/2021             Maurice Franklin, Scott Lekan, Charles Smith   recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                                 documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
20210619 124249.m4a                           The statements made this row are related to and concerning 20210619 124249.m4a                         recording was made on 06/19/2021             Derek Tripplett                                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
20210915 115447.m4a                           The statements made this row are related to and concerning 20210915 115447.m4a                         recording was made on 06/19/2021             Maurice Franklin, Kelly Blashke                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.

                                                                                                                                                                                                                                                                                                 To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                                 this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                                 Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to           Plaintiff lacks knowledge of the physical         After reviewing all sources of information
                                                                                                                                                     To the best of Plaintiff's knowledge, the                                                   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time        location of participants at the time this         available to him, Plaintiff is unable to identify
20210915 120728.m4a                           The statements made this row are related to and concerning 20210915 120728.m4a                         recording was made on 09/15/2021             Maurice Franklin                               recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.                recording was made.                               documents in support of this recording.




                                                                                                                                                                                                                     Maurice Franklin Production 002125
                                                                              Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 68 of 100 PageID #:972


                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  To the best of his knowledge and belief,
                                                                                                                                                                                                                                  Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   Plaintiff was physically located in the State of Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the                                                    this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     Illinois at the time the recording in this row   location of participants at the time this   available to him, Plaintiff is unable to identify
20211022 113249.m4a                  The statements made this row are related to and concerning 20211022 113249.m4a                  recording was made on 10/22/2021             Maurice Franklin, Jeremy T                      recording.                                      and returned to Defendants.                      this row.                                  was made.                                        recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                  Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     To the best of Plaintiff's knowledge, the    Maurice Franklin, Charles Smith, Scott Lekan,   this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20211103 163730.m4a                  The statements made this row are related to and concerning 20211103 163730.m4a                  recording was made on 11/03/2021             Terrie Hardy                                    recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                   this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20211115 063400-82df0d39 (131).m4a   The statements made this row are related to and concerning 20211115 063400-82df0d39 (131).m4a   20211115 063400-82df0d39 (131).m4a                                                           recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                   this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20211115 064100-16041ee0 (132).m4a   The statements made this row are related to and concerning 20211115 064100-16041ee0 (132).m4a   20211115 064100-16041ee0 (132).m4a           Kathleen Kerr, Colleen Mathis                   recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                     After reviewing all sources of information                                                                                                   this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                     available to him, Plaintiff is unable to                                                     Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                     determine the creation/recording date of                                                     this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20211115 064119-3f59dbbf (133).m4a   The statements made this row are related to and concerning 20211115 064119-3f59dbbf (133).m4a   20211115 064119-3f59dbbf (133).m4a           David Devilbliss and others                     recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.

                                                                                                                                                                                                                                                                                  To the best of Plaintiff's knowledge and belief,
                                                                                                                                                                                                                                                                                  this recording was made on an iPhone using                                                  After reviewing all sources of information
                                                                                                                                                                                                                                  Plaintiff lacks knowledge of any witnesses to   the voice memo application. The device on        To the best of Plaintiff's knowledge and   available to him, Plaintiff is unable to         Plaintiff lacks knowledge of the physical   After reviewing all sources of information
                                                                                                                                                                                                                                  this recording who are not heard in the         which the recording was made was owned by recollection, Plaintiff made the recording in     determine his physical location at the time      location of participants at the time this   available to him, Plaintiff is unable to identify
20211115 064210-F415bdb9 (134).m4a   The statements made this row are related to and concerning 20211115 064210-F415bdb9 (134).m4a                                                                                                recording.                                      and returned to Defendants.                      this row.                                  the recording in this row was made.              recording was made.                         documents in support of this recording.




                                                                                                                                                                                                     Maurice Franklin Production 002126
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 MAURICE FRANKLIN,                                 Civil Action No.
                                                   21-cv-04367
      Plaintiff,

 v.

 MAXIMUS, INC., MAXIMUS
 HUMAN SERVICES, INC., AND
 MAXIMUS SERVICES LLC,

      Defendants.


                                  VERIFICATION
        I, Maurice Franklin, hereby declare, under penalty of perjury, that the

information contained in Plaintiff’s Fourth Supplemental Responses to Defendants’

Interrogatories are true and correct to the best of my knowledge. I am over the age

of eighteen (18) years of age and competent to make this statement under oath.

        Date: February 19, 2023



                                     Maurice Franklin,
                                     Plaintiff
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                                         CERTIFICATE OF SERVICE

       This is to certify that on February 20, 2023, I served Plaintiff’s Fifth Supplemental Responses to
Defendant’s Interrogatories upon the following individuals, via the following method:

        Kathryn Barry – Kathryn.barry@jacksonlewis.com
        Casey Leech – casey.leech@jacksonlew.com

                                                                                  /s/ Anthony Dawkins
                                                                                  Anthony Dawkins
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      EXHIBIT H
      EXHIBIT A
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               IN
               IN THE
                  THE UNITED
                       UNITED STATES
                               STATES DISTRICT
                                       DISTRICT COURT
                                                 COURT
              FOR
              FOR THE
                   THE NORTHERN
                        NORTHERN DISTRICT
                                   DISTRICT OF
                                             OF ILLINOIS
                                                ILLINOIS
                          EASTERN
                           EASTERN DIVISION
                                    DIVISION

MAURICE
MAURICE FRANKLIN
        FRANKLIN                        ))
                                        ))
     Plaintiff,
     Plaintiff,                         )) Civil
                                           Civil Action  No. 1:21-CV-04367
                                                 Action No.  1:21-CV-04367
                                        ))
                   v.
                   V.                   )) Honorable
                                           Honorable Steven
                                                       Steven C.
                                                              C. Seeger
                                                                 Seeger
                                        ))
MAXIMUS,
MAXIMUS, INC.,
         INC., et
               et al.
                  al.                   ))
                                        ))
     Defendants.
     Defendants.                        ))
                                        ))
                                        ))


                   PLAINTIFF’S
                   PLAINTIFEF’S SUPPLEMENTAL
                                SUPPLEMENTAL RESPONSES
                                                RESPONSES TO
                                                          TO
                  DEFENDANTS’   FIRST SET OF INTERROGATORIES
                  DEFENDANTS’ FIRST SET OF INTERROGATORIES


      COMES NOW Plaintiff
      COMES NOW Plaintiff Maurice
                          Maurice Franklin
                                  Franklin (“Franklin”
                                           (“Franklin” or
                                                       or “Plaintiff”),
                                                          “Plaintiff’), and
                                                                        and

pursuant
pursuant to
         to Rule
            Rule 33
                 33 of
                    of the
                       the Federal
                           Federal Rules
                                   Rules of
                                         of Civil
                                            Civil Procedure,
                                                  Procedure, supplements
                                                             supplements his
                                                                         his

responses
responses to
          to Defendants’
             Defendants’ First
                         First set
                               set of
                                   of Interrogatories.
                                      Interrogatories. By
                                                       By supplementing
                                                          supplementing his
                                                                        his

response
response to
         to Defendant’s
            Defendant’s First
                        First Set
                              Set of
                                  of Interrogatories,
                                     Interrogatories, Plaintiff
                                                      Plaintiff does
                                                                does not
                                                                     not intend
                                                                         intend nor
                                                                                nor

does
does he
     he represent
        represent to
                  to waive
                     waive any
                           any objection
                               objection raised
                                         raised in
                                                in his
                                                   his initial
                                                       initial response
                                                               response to
                                                                        to

Defendant’s
Defendant’s First
            First Set
                  Set of
                      of Interrogatories.
                         Interrogatories. Plaintiff
                                          Plaintiff expressly
                                                    expressly reserves
                                                              reserves all
                                                                       all rights
                                                                           rights

afforded
afforded to
         to him
            him and
                and expressly
                    expressly reaffirms
                              reaffirms any
                                        any objections
                                            objections raised
                                                       raised in
                                                              in his
                                                                 his initial
                                                                     initial

responses
responses to
          to Defendant’s
             Defendant’s Frist
                         Frist Set
                               Set of
                                   of Interrogatories.
                                      Interrogatories.

    PLAINTIFF’S
    PLAINTIFF’S RESPONSES
                RESPONSES TO
                          TO DEFENDANTS’INTERROGATORIES:
                              DEFENDANTS’ INTERROGATORIES:

INTERROGATORY
INTERROGATORY NO.
              NO. 1:
                  1:

      Identify
      Identify any
               any person
                   person you
                          you or
                              or anyone
                                 anyone acting
                                         acting on
                                                on your
                                                   your behalf
                                                        behalf has
                                                               has interviewed,
                                                                   interviewed,
                                      11
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either
either formally
       formally or
                or informally,
                   informally, relating
                               relating to
                                        to the
                                           the allegations
                                               allegations in your Second
                                                           in your Second Amended
                                                                          Amended

Complaint
Complaint or
          or Maximus’
             Maximus’ Answer
                      Answer to
                             to the
                                the Second
                                    Second Amended
                                           Amended Complaint,
                                                   Complaint, including
                                                              including the
                                                                        the

date
date of
     of the
        the interview
            interview and
                      and the
                          the telephone
                              telephone number
                                        number of
                                               of the
                                                  the person
                                                      person interviewed.
                                                             interviewed. If
                                                                          If there
                                                                             there

were
were any
     any notes
         notes or
               or documents produced as
                  documents produced as aa result
                                           result of
                                                  of those
                                                     those interviews, please
                                                           interviews, please

identify
identify those
         those documents
               documents by
                         by author,
                            author, date,
                                    date, general
                                          general description,
                                                  description, and
                                                               and location.
                                                                   location.

      RESPONSE:
      RESPONSE: Plaintiff
                Plaintiff objects
                          objects to
                                  to Interrogatory No. 1| to
                                     Interrogatory No.    to the
                                                             the extent
                                                                 extent that
                                                                        that it
                                                                             it

seeks
seeks to
      to discover
         discover information
                  information protected
                              protected by
                                        by attorney
                                           attorney client privilege or
                                                    client privilege or work
                                                                        work

product
product privilege.
        privilege. Subject
                   Subject to
                           to and without waiver
                              and without waiver of
                                                 of Plaintiff’s
                                                    Plaintiff's objections,
                                                                objections,

      1.
      1. On
         On or
            or about
               about July
                     July 28,
                          28, 2022,
                              2022, counsel
                                    counsel for
                                            for the
                                                the Plaintiff
                                                    Plaintiff interviewed
                                                              interviewed Tracey
                                                                          Tracey

Thomas
Thomas via
       via telephone. Notes produced
           telephone. Notes produced as
                                     as aa result
                                           result of
                                                  of the
                                                     the interview
                                                         interview are
                                                                   are being
                                                                       being

withheld pursuant to
withheld pursuant to the
                     the work product privilege.
                         work product privilege.

      2.
      2. On
         On or
            or about
               about January
                     January 10,
                             10, 2022,
                                 2022, counsel
                                       counsel for
                                               for the
                                                   the Plaintiff
                                                       Plaintiff interviewed
                                                                 interviewed

Colleen
Colleen Duke
        Duke via
             via 916-582-2732. Notes produced
                 916-582-2732. Notes produced as
                                              as aa result
                                                    result of
                                                           of the
                                                              the interview
                                                                  interview have
                                                                            have

been
been withheld pursuant to
     withheld pursuant to the
                          the work product privilege.
                              work product privilege.

      3.
      3. On
         On or
            or about
               about July
                     July 7,
                          7, 2022,
                             2022, counsel
                                   counsel for
                                           for the
                                               the Plaintiff
                                                   Plaintiff interviewed
                                                             interviewed Francine
                                                                         Francine

Rodgers
Rodgers via
        via telephone
            telephone at
                      at 201-657-6509. Notes produced
                         201-657-6509. Notes produced as
                                                      as aa result
                                                            result of
                                                                   of the
                                                                      the

interview
interview have
          have been
               been withheld pursuant to
                    withheld pursuant to the
                                         the work product privilege.
                                             work product privilege.

      4.
      4. In
         In or
            or around
               around the
                      the close
                          close of
                                of 2021,
                                   2021, counsel
                                         counsel for
                                                 for the
                                                     the Plaintiff
                                                         Plaintiff interviewed
                                                                   interviewed

Colleen
Colleen Mathias
        Mathias via
                via telephone
                    telephone at
                              at 240-876-8343. Notes produced
                                 240-876-8343. Notes produced as
                                                              as aa result
                                                                    result of
                                                                           of the
                                                                              the

interview
interview have
          have been
               been withheld
                    withheld pursuant
                             pursuant to
                                      to the
                                         the work product privilege.
                                             work product privilege.

                                         2
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INTERROGATORY
INTERROGATORY NO.
              NO. 2:
                  2:

      Identify
      Identify each
               each and
                    and every
                        every Health
                              Health Care
                                     Care Provider
                                          Provider with
                                                   with whom
                                                        whom you
                                                             you visited,
                                                                 visited,

consulted,
consulted, or
           or received
              received treatment
                       treatment from
                                 from January
                                      January 1,
                                              1, 2008
                                                 2008 through
                                                      through the present. For
                                                              the present. For

each
each Health
     Health Care
            Care Provider
                 Provider identified,
                          identified, state:
                                      state: (a)
                                             (a) his
                                                 his or
                                                     or her
                                                        her address;
                                                            address; (b)
                                                                     (b) any
                                                                         any

institutions
institutions with which he
             with which he or
                           or she
                              she is presently affiliated;
                                  is presently affiliated; (c)
                                                           (c) any
                                                               any institutions
                                                                   institutions with
                                                                                with

which
which he
      he or
         or she
            she was
                was associated
                    associated or
                               or affiliated
                                  affiliated while
                                             while treating
                                                   treating you;
                                                            you;

(d)
(d) his
    his or
        or her
           her occupation;
               occupation; (e)
                           (e) his
                               his or
                                   or her
                                      her area
                                          area of
                                               of specialization,
                                                  specialization, if
                                                                  if any;
                                                                     any; (f)
                                                                          (f) the
                                                                              the date
                                                                                  date

and
and time
    time of
         of any
            any occasion
                occasion in
                         in which
                            which you
                                  you consulted
                                      consulted him
                                                him or
                                                    or her;
                                                       her; (g)
                                                            (g) the
                                                                the condition
                                                                    condition for
                                                                              for

which
which treatment
      treatment was
                was sought;
                    sought; (h)
                            (h) the
                                the nature
                                    nature of
                                           of the
                                              the treatment
                                                  treatment rendered;
                                                            rendered; (i)
                                                                      (1) the
                                                                          the

diagnosis
diagnosis that
          that was
               was rendered;
                   rendered; (j)
                             (j) whether
                                 whether you
                                         you are
                                             are presently
                                                 presently receiving
                                                           receiving treatment
                                                                     treatment or
                                                                               or

consultation
consultation from
             from such
                  such person;
                       person; (k) whether you
                               (k) whether you have
                                               have been prescribed any
                                                    been prescribed any

medications,
medications, and
             and if
                 if so,
                    so, whether
                        whether you
                                you are
                                    are currently
                                        currently taking
                                                  taking such
                                                         such medications;
                                                              medications; and
                                                                           and (l)
                                                                               (1)

the
the cost
    cost of
         of treatment.
            treatment.


      RESPONSE:
      RESPONSE: Plaintiff
                Plaintiff directs
                          directs Defendants
                                  Defendants to
                                             to the
                                                the medical
                                                    medical records
                                                            records attached
                                                                    attached to
                                                                             to

his
his responses
    responses to
              to Defendants’
                 Defendants’ interrogatories.
                             interrogatories.

INTERROGATORY
INTERROGATORY NO.
              NO. 3:
                  3:

      Identify
      Identify all
               all hospitals,
                   hospitals, health
                              health care
                                     care facilities,
                                          facilities, or
                                                      or other
                                                         other medical
                                                               medical institutions
                                                                       institutions to
                                                                                    to

which
which you
      you have were admitted
          have were admitted from
                             from January
                                  January 1,
                                          1, 2008
                                             2008 through
                                                  through the present, and
                                                          the present, and state:
                                                                           state:

(a)
(a) the
    the reason
        reason for
               for your
                   your stay
                        stay in
                             in such
                                such hospital,
                                     hospital, health
                                               health care
                                                      care facility,
                                                           facility, or
                                                                     or medical
                                                                        medical

institution;
institution; (b)
             (b) the
                 the condition
                     condition or
                               or conditions
                                  conditions for
                                             for which
                                                 which you
                                                       you were
                                                           were treated;
                                                                treated; (c)
                                                                         (c) the
                                                                             the

diagnosis
diagnosis and prognosis of
          and prognosis of the physical or
                           the physical or mental
                                           mental condition
                                                  condition treated;
                                                            treated; (d)
                                                                     (d) the
                                                                         the
                                         33
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inclusive
inclusive dates
          dates of
                of confinement
                   confinement of
                               of each
                                  each such
                                       such hospital,
                                            hospital, healthcare,
                                                      healthcare, or
                                                                  or other
                                                                     other medical
                                                                           medical

institution;
institution; and
             and (e)
                 (e) any
                     any and
                         and all
                             all documents
                                 documents relating
                                           relating to
                                                    to your
                                                       your response
                                                            response to
                                                                     to this
                                                                        this

Interrogatory.
Interrogatory.

      RESPONSE:
      RESPONSE: Plaintiff
                Plaintiff directs
                          directs Defendants
                                  Defendants to
                                             to the
                                                the medical
                                                    medical records
                                                            records attached
                                                                    attached to
                                                                             to

his
his responses
    responses to
              to Defendants’
                 Defendants’ interrogatories.
                             interrogatories.

INTERROGATORY
INTERROGATORY NO.
              NO. 4:
                  4:

      For
      For all
          all medications prescribed to
              medications prescribed to you
                                        you by
                                            by aa Health
                                                  Health Care
                                                         Care Provider
                                                              Provider for
                                                                       for any
                                                                           any

physical
physical or
         or mental
            mental illness
                   illness or
                           or impairment
                              impairment at
                                         at any
                                            any time
                                                time during
                                                     during your
                                                            your Period
                                                                 Period of
                                                                        of

Employment
Employment through
           through the
                   the present,
                       present, state:
                                state: (a)
                                       (a) the
                                           the name
                                               name of
                                                    of the
                                                       the medication;
                                                           medication; (b)
                                                                       (b) the
                                                                           the

general purpose of
general purpose of the
                   the medication;
                       medication; (c)
                                   (c) the
                                       the name
                                           name and
                                                and address
                                                    address of
                                                            of the
                                                               the medical
                                                                   medical

provider
provider who
         who prescribed
             prescribed the
                        the medication;
                            medication; (d)
                                        (d) the
                                            the inclusive
                                                inclusive dates
                                                          dates during
                                                                during which you
                                                                       which you

were
were prescribed
     prescribed the
                the medication;
                    medication; and
                                and (e)
                                    (e) the
                                        the inclusive
                                            inclusive dates
                                                      dates during
                                                            during which you took
                                                                   which you took

the
the medication.
    medication.


      RESPONSE:
      RESPONSE: Plaintiff
                Plaintiff directs
                          directs Defendants
                                  Defendants to
                                             to the
                                                the medical
                                                    medical records
                                                            records attached
                                                                    attached to
                                                                             to

his
his responses
    responses to
              to Defendants’
                 Defendants’ interrogatories.
                             interrogatories.

      INTERROGATORY
      INTERROGATORY NO.
                    NO. 5:
                        5:

      State
      State whether
            whether you
                    you have
                        have ever
                             ever lodged
                                  lodged an
                                         an internal
                                            internal complaint
                                                     complaint of
                                                               of discrimination,
                                                                  discrimination,

harassment,
harassment, retaliation,
            retaliation, or
                         or interference
                            interference of
                                         of your
                                            your rights
                                                 rights under
                                                        under the
                                                              the Family
                                                                  Family and
                                                                         and Medical
                                                                             Medical

Leave
Leave Act
      Act (“FMLA”)
          (“FMLA”) against
                   against any
                           any person
                               person or
                                      or against
                                         against any
                                                 any entity
                                                     entity by
                                                            by which
                                                               which you
                                                                     you were
                                                                         were

employed
employed (other
         (other than
                than Maximus).
                     Maximus). If
                               If your
                                  your answer
                                       answer to
                                              to this
                                                 this Interrogatory
                                                      Interrogatory is
                                                                    is in
                                                                       in the
                                                                          the

                                         4
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affirmative,
affirmative, identify
             identify any
                      any such
                          such entities
                               entities and/or persons, the
                                        and/or persons, the nature
                                                            nature of
                                                                   of the
                                                                      the complaint(s)
                                                                          complaint(s)

lodged,
lodged, and
        and the
            the resolution
                resolution thereof.
                           thereof.

      RESPONSE:
      RESPONSE: Plaintiff
                Plaintiff does
                          does not
                               not recall
                                   recall ever
                                          ever having
                                               having lodged
                                                      lodged an
                                                             an internal
                                                                internal

complaint
complaint of
          of discrimination,
             discrimination, harassment,
                             harassment, retaliation,
                                         retaliation, or
                                                      or interference
                                                         interference of
                                                                      of his
                                                                         his rights
                                                                             rights

under
under the
      the Family
          Family and
                 and Medical
                     Medical Leave
                             Leave Act
                                   Act against
                                       against any person or
                                               any person or against
                                                             against any
                                                                     any entity
                                                                         entity

by
by which
   which he
         he was
            was employed
                employed (other
                         (other than
                                than Maximus).
                                     Maximus).

INTERROGATORY
INTERROGATORY NO.
              NO. 6:
                  6:

      Identify
      Identify each
               each and
                    and every
                        every complaint
                              complaint of
                                        of discrimination,
                                           discrimination, harassment,
                                                           harassment, retaliation,
                                                                       retaliation,

or
or interference
   interference of
                of your
                   your rights
                        rights under
                               under the
                                     the FMLA
                                         FMLA that
                                              that you
                                                   you made
                                                       made during
                                                            during your
                                                                   your

employment
employment with
           with Maximus,
                Maximus, when
                         when and
                              and to
                                  to whom
                                     whom the
                                          the complaint
                                              complaint was
                                                        was made,
                                                            made, the
                                                                  the nature
                                                                      nature

and
and details
    details of
            of the
               the complaint,
                   complaint, the
                              the method
                                  method by
                                         by which
                                            which you
                                                  you complained
                                                      complained (including
                                                                 (including

whether
whether the
        the complaint
            complaint was
                      was made
                          made orally
                               orally or
                                      or in
                                         in writing),
                                            writing), how
                                                      how the
                                                          the complaint was
                                                              complaint was

submitted
submitted (including
          (including whether
                     whether via
                             via email,
                                 email, Ethics
                                        Ethics Point,
                                               Point, or
                                                      or otherwise),
                                                         otherwise), the
                                                                     the response
                                                                         response

you
you received
    received to
             to the
                the complaint,
                    complaint, and
                               and any
                                   any witnesses
                                       witnesses to
                                                 to each
                                                    each of
                                                         of the
                                                            the events
                                                                events and/or
                                                                       and/or

utterances
utterances about
           about which
                 which you
                       you complained
                           complained or
                                      or the
                                         the complaints
                                             complaints themselves.
                                                        themselves.

      RESPONSE:
      RESPONSE: Plaintiff
                Plaintiff does
                          does not
                               not recall
                                   recall ever
                                          ever having
                                               having lodged
                                                      lodged an
                                                             an internal
                                                                internal

complaint
complaint of
          of discrimination,
             discrimination, harassment,
                             harassment, retaliation,
                                         retaliation, or
                                                      or interference
                                                         interference of
                                                                      of his
                                                                         his rights
                                                                             rights

under
under the
      the Family
          Family and
                 and Medical
                     Medical Leave
                             Leave Act
                                   Act against
                                       against any
                                               any person
                                                   person or
                                                          or against
                                                             against any
                                                                     any entity
                                                                         entity

during
during his
       his employment
           employment with
                      with Maximus.
                           Maximus.




                                          5
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INTERROGATORY
INTERROGATORY NO.
              NO. 7:
                  7:

      Identify:
      Identify: (a)
                (a) all
                    all actions
                        actions taken by one
                                taken by one or
                                             or more
                                                more of
                                                     of the
                                                        the Defendants
                                                            Defendants which
                                                                       which

you
you contend
    contend constitute
            constitute discrimination,
                       discrimination, harassment,
                                       harassment, retaliation,
                                                   retaliation, or
                                                                or interference
                                                                   interference of
                                                                                of

your rights
your rights under
            under the
                  the FMLA;
                      FMLA; (b)
                            (b) the
                                the individual(s)
                                    individual(s) who
                                                  who took
                                                      took each
                                                           each such
                                                                such action;
                                                                     action; (c)
                                                                             (c)

the
the date(s)
    date(s) on which such
            on which such discrimination,
                          discrimination, harassment,
                                          harassment, retaliation,
                                                      retaliation, or
                                                                   or FMLA
                                                                      FMLA

interference
interference took place; (d)
             took place; (d) any
                             any witnesses
                                 witnesses to
                                           to each
                                              each of
                                                   of these
                                                      these alleged
                                                            alleged events;
                                                                    events; and
                                                                            and (e)
                                                                                (e)

any
any facts
    facts and
          and evidence
              evidence that
                       that support
                            support your
                                    your contention
                                         contention the
                                                    the action
                                                        action was
                                                               was taken
                                                                   taken because
                                                                         because

of
of your
   your race,
        race, gender,
              gender, and/or participation in
                      and/or participation in any protected activity.
                                              any protected activity.

      RESPONSE:
      RESPONSE: Plaintiff
                Plaintiff contends
                          contends that
                                   that Defendants
                                        Defendants interfered
                                                   interfered with
                                                              with his
                                                                   his right
                                                                       right to
                                                                             to

be restored
be restored to
            to his
               his employment
                   employment and position after
                              and position after taking
                                                 taking leave
                                                        leave under
                                                              under the
                                                                    the Family
                                                                        Family and
                                                                               and

Medical
Medical Leave
        Leave Act
              Act when
                  when Defendants
                       Defendants (1)
                                  (1) involuntarily
                                      involuntarily laid
                                                    laid Plaintiff
                                                         Plaintiff off
                                                                   off from
                                                                       from his
                                                                            his

employment
employment pursuant
           pursuant to
                    to the
                       the severance
                           severance agreement
                                     agreement between
                                               between the
                                                       the parties
                                                           parties on
                                                                   on October
                                                                      October

9,
9, 2022;
   2022; (2)
         (2) denied
             denied Plaintiff
                    Plaintiff restoration
                              restoration to
                                          to his
                                             his employment
                                                 employment and
                                                            and prior
                                                                prior position
                                                                      position after
                                                                               after

Plaintiff
Plaintiff revoked
          revoked his
                  his agreement
                      agreement to
                                to the
                                   the severance
                                       severance agreement;
                                                 agreement; (3)
                                                            (3) through
                                                                through its
                                                                        its

employee
employee Melissa
         Melissa Jankowski
                 Jankowski on
                           on October
                              October 12,
                                      12, 2021,
                                          2021, advised
                                                advised Plaintiff
                                                        Plaintiff that
                                                                  that his
                                                                       his

employment
employment with
           with Defendants
                Defendants ended by mutual
                           ended by mutual agreement
                                           agreement on
                                                     on October
                                                        October 9,
                                                                9, 2021
                                                                   2021

despite
despite notice
        notice from
               from Plaintiff
                    Plaintiff that
                              that Plaintiff
                                   Plaintiff worked
                                             worked for
                                                    for Defendants
                                                        Defendants on
                                                                   on October
                                                                      October 11,
                                                                              11,

2021;
2021; (4)
      (4) through
          through its
                  its counsel
                      counsel on
                              on October
                                 October 13,
                                         13, 2021,
                                             2021, instructed
                                                   instructed Plaintiff
                                                              Plaintiff to
                                                                        to refrain
                                                                           refrain

from
from accessing
     accessing Defendants’
               Defendants’ systems
                           systems or
                                   or returning
                                      returning to
                                                to Defendants’ workplace; (5)
                                                   Defendants’ workplace; (5)

through
through its
        its counsel, Nathalie Ohanian,
            counsel, Nathalie Ohanian, stated,
                                       stated, “…it
                                               “...it is
                                                      is clear
                                                         clear that
                                                               that Mr.
                                                                    Mr. Franklin
                                                                        Franklin does
                                                                                 does

not
not see
    see his
        his current
            current work
                    work environment
                         environment as positive or
                                     as positive or productive.
                                                    productive. To
                                                                To that
                                                                   that end,
                                                                        end, we
                                                                             we
                                          66
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agree
agree it
      it is
         is best
            best for
                 for both
                     both parties
                          parties to
                                  to part ways amicably…”
                                     part ways amicably...”



INTERROGATORY
INTERROGATORY NO.
              NO. 8:
                  8:

      Identify
      Identify all
               all current
                   current or
                           or former
                              former employees
                                     employees of
                                               of Maximus
                                                  Maximus whom
                                                          whom you
                                                               you contend
                                                                   contend or
                                                                           or

may
may contend
    contend were
            were similarly
                 similarly situated
                           situated to
                                    to you
                                       you but
                                           but whom
                                               whom Maximus
                                                    Maximus treated
                                                            treated more
                                                                    more

favorably
favorably than you. For
          than you. For each
                        each such
                             such employee,
                                  employee, fully
                                            fully state
                                                  state and
                                                        and describe:
                                                            describe: (a)
                                                                      (a) how
                                                                          how each
                                                                              each

employee
employee was
         was treated
             treated more
                     more favorably
                          favorably than
                                    than you;
                                         you;

(b)
(b) the
    the managers
        managers or
                 or other
                    other agents
                          agents of
                                 of Maximus
                                    Maximus who
                                            who made
                                                made decisions with respect
                                                     decisions with respect to
                                                                            to

any person allegedly
any person allegedly treated
                     treated more
                             more favorably
                                  favorably than
                                            than you;
                                                 you; (c)
                                                      (c) the
                                                          the date
                                                              date or
                                                                   or time
                                                                      time period
                                                                           period of
                                                                                  of

any
any alleged
    alleged more
            more favorable
                 favorable treatment;
                           treatment; (d)
                                      (d) how
                                          how you
                                              you came
                                                  came to
                                                       to know
                                                          know the
                                                               the facts
                                                                   facts or
                                                                         or

allegations
allegations that
            that allegedly
                 allegedly support
                           support these
                                   these claims;
                                         claims; and
                                                 and (e)
                                                     (e) any
                                                         any documents
                                                             documents which
                                                                       which

support
support your
        your answer
             answer to
                    to this
                       this Interrogatory.
                            Interrogatory.

      RESPONSE:
      RESPONSE:

      Plaintiff
      Plaintiff contends
                contends that
                         that Kelly
                              Kelly Boerner,
                                    Boerner, aa current
                                                current Maximus
                                                        Maximus employee,
                                                                employee, was
                                                                          was

similarly
similarly situated
          situated with
                   with Plaintiff
                        Plaintiff and
                                  and was
                                      was treated
                                          treated more
                                                  more favorably
                                                       favorably than
                                                                 than Plaintiff.
                                                                      Plaintiff.

Plaintiff
Plaintiff contends
          contends that
                   that Ms.
                        Ms. Boerner
                            Boerner was
                                    was similarly
                                        similarly situated
                                                  situated and
                                                           and treated
                                                               treated more
                                                                       more

favorably
favorably when
          when she
               she was
                   was unilaterally
                       unilaterally selected
                                    selected as
                                             as Child
                                                Child Support
                                                      Support Deputy
                                                              Deputy Practice
                                                                     Practice

Lead
Lead without
     without aa competitive
                competitive application
                            application process
                                        process in
                                                in or
                                                   or around
                                                      around January
                                                             January 2020.
                                                                     2020. The
                                                                           The

Maximus
Maximus manager
        manager who
                who made
                    made the
                         the decision
                             decision resulting
                                      resulting in
                                                in Ms.
                                                   Ms. Boerner being selected
                                                       Boerner being selected

as
as Child
   Child Support
         Support Deputy
                 Deputy Practice
                        Practice Lead
                                 Lead was
                                      was Kathleen
                                          Kathleen Kerr.
                                                   Kerr. Plaintiff
                                                         Plaintiff came
                                                                   came upon
                                                                        upon

the
the knowledge
    knowledge of
              of Ms.
                 Ms. Boerner’s
                     Boerner’s selection
                               selection for
                                         for the
                                             the Child
                                                 Child Support
                                                       Support Deputy
                                                               Deputy Practice
                                                                      Practice
                                          77
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Lead
Lead position by and
     position by and through
                     through an
                             an emailed
                                emailed announcement
                                        announcement from
                                                     from Laura
                                                          Laura Rosenak
                                                                Rosenak on
                                                                        on

November 9,
November 9, 2019
            2019 at
                 at 9:07
                    9:07 a.m.
                         a.m. Plaintiff
                              Plaintiff came upon the
                                        came upon the knowledge
                                                      knowledge that
                                                                that Defendants
                                                                     Defendants

failed
failed to post the
       to post     position of
               the position of Deputy
                               Deputy Practice
                                      Practice Lead
                                               Lead from
                                                    from an
                                                         an email
                                                            email from
                                                                  from Kim
                                                                       Kim

Colbeck
Colbeck on
        on December
           December 9,
                    9, 2019
                       2019 at
                            at 5:37 p.m. in
                               5:37 p.m. in which
                                            which Ms.
                                                  Ms. Colbeck
                                                      Colbeck acknowledge
                                                              acknowledge

that
that the
     the position
         position of
                  of Deputy
                     Deputy Practice
                            Practice Lead
                                     Lead was
                                          was not
                                              not aa posted
                                                     posted position.
                                                            position.

      Plaintiff
      Plaintiff contends
                contends that
                         that Kelly
                              Kelly Boerner
                                    Boerner was
                                            was also
                                                also similarly
                                                     similarly situated
                                                               situated with
                                                                        with

Plaintiff
Plaintiff and
          and treated
              treated more
                      more favorably
                           favorably than
                                     than him
                                          him when
                                              when Defendants
                                                   Defendants selected
                                                              selected Ms.
                                                                       Ms.

Boerner
Boerner as
        as integration
           integration manager
                       manager and
                               and vice
                                   vice president
                                        president of
                                                  of child
                                                     child support
                                                           support enforcement
                                                                   enforcement in
                                                                               in

or
or around
   around January
          January 2021.
                  2021. Kathleen
                        Kathleen Kerr
                                 Kerr is
                                      is the
                                         the manager
                                             manager who
                                                     who made
                                                         made the
                                                              the decisions
                                                                  decisions

resulting
resulting in
          in Ms.
             Ms. Boerner being treated
                 Boerner being treated more
                                       more favorably
                                            favorably than
                                                      than Plaintiff.
                                                           Plaintiff. During
                                                                      During the
                                                                             the

period
period in
       in question,
          question, Mrs.
                    Mrs. Kerr
                         Kerr was
                              was Ms.
                                  Ms. Boerner’s
                                      Boerner’s manager
                                                manager and
                                                        and Mrs.
                                                            Mrs. Kerr
                                                                 Kerr made
                                                                      made the
                                                                           the

decisions
decisions resulting
          resulting in
                    in Ms.
                       Ms. Boerner being selected
                           Boerner being selected for
                                                  for the
                                                      the integration
                                                          integration manager
                                                                      manager and
                                                                              and

vice
vice president
     president of
               of child
                  child support
                        support positions.
                                positions. Plaintiff
                                           Plaintiff became
                                                     became aware
                                                            aware of
                                                                  of Ms.
                                                                     Ms. Boerner’s
                                                                         Boerner’s

selection
selection for
          for these positions from
              these positions from the
                                   the announcement
                                       announcement document
                                                    document created
                                                             created and
                                                                     and

circulated
circulated by
           by Mrs.
              Mrs. Kerr. See Maximus
                   Kerr. See Maximus Production
                                     Production 000353-000358.
                                                000353-000358.

      Plaintiff
      Plaintiff contends
                contends that
                         that Kelly
                              Kelly Boerner
                                    Boerner was
                                            was similarly
                                                similarly situated
                                                          situated and
                                                                   and treated
                                                                       treated more
                                                                               more

favorably
favorably than
          than Plaintiff
               Plaintiff when
                         when Ms.
                              Ms. Boerner
                                  Boerner was
                                          was selected
                                              selected for
                                                       for the
                                                           the Lead
                                                               Lead Vice
                                                                    Vice

President
President Operations
          Operations position.
                     position. Ms.
                               Ms. Boerner
                                   Boerner was
                                           was selected
                                               selected for
                                                        for the position in
                                                            the position in or
                                                                            or

around
around April
       April 2021.
             2021. Kelly
                   Kelly Blaschke
                         Blaschke Treharne
                                  Treharne is
                                           is the
                                              the manager
                                                  manager who
                                                          who made
                                                              made the
                                                                   the decision
                                                                       decision

to
to select
   select Ms.
          Ms. Boerner
              Boerner for
                      for the position. Plaintiff
                          the position. Plaintiff learned
                                                  learned of
                                                          of Ms.
                                                             Ms. Boerner’s
                                                                 Boerner’s selection
                                                                           selection

for
for the position during
    the position during aa meeting
                           meeting with
                                   with Mrs.
                                        Mrs. Blaschke
                                             Blaschke Treharne
                                                      Treharne on
                                                               on April
                                                                  April 6,
                                                                        6, 2021.
                                                                           2021.
                                         88
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      Plaintiff
      Plaintiff contends
                contends that
                         that Kelly
                              Kelly Boerner
                                    Boerner was
                                            was similarly
                                                similarly situated
                                                          situated and
                                                                   and treated
                                                                       treated more
                                                                               more

favor
favor that
      that him
           him when,
               when, in
                     in January
                        January 2020,
                                2020, it
                                      it compensated
                                         compensated Ms.
                                                     Ms. Boerner
                                                         Boerner at
                                                                 at aa rate
                                                                       rate of
                                                                            of

$204,088.00
$204,088.00 annually
            annually in
                     in year
                        year 2020
                             2020 (salary
                                  (salary +
                                          + management
                                            management bonus plan). Kathleen
                                                       bonus plan). Kathleen

Kerr
Kerr made
     made decisions
          decisions resulting
                    resulting in
                              in Ms.
                                 Ms. Boerner
                                     Boerner being
                                             being compensated
                                                   compensated at
                                                               at aa substantially
                                                                     substantially

higher
higher rate
       rate than
            than Plaintiff
                 Plaintiff despite
                           despite Ms.
                                   Ms. Boerner
                                       Boerner lacking
                                               lacking any prior operational
                                                       any prior operational

experience,
experience, lacking
            lacking any
                    any prior
                        prior experience with the
                              experience with the child
                                                  child support
                                                        support subject
                                                                subject matter,
                                                                        matter,

lacking
lacking any prior management
        any prior management experience,
                             experience, and
                                         and having
                                             having questionable business
                                                    questionable business

development
development experience
            experience in
                       in the practice area.
                          the practice area. Plaintiff
                                             Plaintiff learned
                                                       learned of
                                                               of the
                                                                  the disparity
                                                                      disparity

between his
between his compensation
            compensation and
                         and Ms.
                             Ms. Boerner’s
                                 Boerner’s compensation
                                           compensation through
                                                        through Maximus
                                                                Maximus

Production
Production 000835.
           000835.


      Plaintiff
      Plaintiff contends
                contends that Nancy Kim
                         that Nancy Kim was
                                        was similarly
                                            similarly situated
                                                      situated with
                                                               with Plaintiff
                                                                    Plaintiff and
                                                                              and

treated
treated more
        more favorably
             favorably than
                       than him
                            him when
                                when they
                                     they both
                                          both applied
                                               applied for
                                                       for and
                                                           and Ms.
                                                               Ms. Kim
                                                                   Kim was
                                                                       was

selected
selected for
         for the
             the Lead
                 Lead Vice
                      Vice President
                           President Employer
                                     Employer Services position despite
                                              Services position despite having
                                                                        having

little
little or
       or no
          no prior
             prior experience
                   experience with
                              with employer
                                   employer services,
                                            services, aa track
                                                         track record
                                                               record of
                                                                      of managing
                                                                         managing aa

business unit dismal
business unit dismal financial performance year
                     financial performance year over
                                                over year,
                                                     year, no
                                                           no substantive
                                                              substantive

management
management experience,
           experience, and
                       and no
                           no understanding
                              understanding of
                                            of the business unit’s
                                               the business unit’s service
                                                                   service

offerings beyond those
offerings beyond those that
                       that she
                            she already
                                already managed.
                                        managed. The
                                                 The relevant
                                                     relevant period
                                                              period was
                                                                     was January
                                                                         January

2021
2021 —– April
        April 2021.
              2021. Kelly
                    Kelly Blaschke
                          Blaschke Treharne
                                   Treharne was
                                            was the
                                                the management
                                                    management official
                                                               official who
                                                                        who

selected
selected Ms.
         Ms. Kim
             Kim for
                 for the
                     the Lead
                         Lead Vice
                              Vice President
                                   President Employer
                                             Employer Services position.
                                                      Services position.

      Plaintiff
      Plaintiff contends
                contends that,
                         that, for
                               for the purposes of
                                   the purposes of determining
                                                   determining whether
                                                               whether Defendants
                                                                       Defendants

subjected
subjected Plaintiff
          Plaintiff to
                    to disparate
                       disparate treatment
                                 treatment on
                                           on the
                                              the basis
                                                  basis of
                                                        of his
                                                           his race
                                                               race by paying him
                                                                    by paying him less
                                                                                  less
                                         99
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than
than individuals who were
     individuals who were similarly
                          similarly situated,
                                    situated, Peter
                                              Peter Baylinson,
                                                    Baylinson, Rick
                                                               Rick DiLillo,
                                                                    DiLillo,

Colleen
Colleen Martin,
        Martin, and,
                and, Daryl
                     Daryl Riber,
                           Riber, James
                                  James Graettinger,
                                        Graettinger, and
                                                     and Kelly
                                                         Kelly Boerner
                                                               Boerner were
                                                                       were

similarly
similarly situated
          situated with
                   with Plaintiff.
                        Plaintiff. Laura
                                   Laura Rosenak
                                         Rosenak and
                                                 and Kathleen
                                                     Kathleen Kerr
                                                              Kerr are
                                                                   are the
                                                                       the

managers
managers that
         that determined
              determined the
                         the compensation
                             compensation of
                                          of the
                                             the Plaintiff
                                                 Plaintiff and
                                                           and those
                                                               those individuals
                                                                     individuals

similarly
similarly situated
          situated with
                   with the
                        the Plaintiff.
                            Plaintiff. Plaintiff
                                       Plaintiff contends
                                                 contends Defendants
                                                          Defendants compensated
                                                                     compensated

him
him at
    at aa rate
          rate lower
               lower that
                     that those
                          those similarly
                                similarly situated
                                          situated with
                                                   with him
                                                        him and,
                                                            and, in
                                                                 in some
                                                                    some instances
                                                                         instances

less
less than
     than individuals
          individuals who
                      who he
                          he managed
                             managed aa project
                                        project that
                                                that Plaintiff
                                                     Plaintiff managed
                                                               managed or
                                                                       or aa project
                                                                             project

for
for which
    which Plaintiff
          Plaintiff maintained profit and
                    maintained profit and loss
                                          loss responsibility.
                                               responsibility. Colleen
                                                               Colleen Duke
                                                                       Duke and
                                                                            and

Daryl
Daryl Riber
      Riber disclosed
            disclosed their
                      their salaries
                            salaries to
                                     to Plaintiff
                                        Plaintiff during
                                                  during their
                                                         their employment
                                                               employment with
                                                                          with

Defendants.
Defendants.   Plaintiff
              Plaintiff learned
                        learned of
                                of James
                                   James Graettinger,
                                         Graettinger, Rick
                                                      Rick Dillio,
                                                           Dillio, and
                                                                   and Colleen
                                                                       Colleen

Martin
Martin the project financial
       the project financial files
                             files Plaintiff
                                   Plaintiff reviewed
                                             reviewed incident
                                                      incident to
                                                               to this
                                                                  this role
                                                                       role as
                                                                            as vice
                                                                               vice

president.
president. Plaintiff
           Plaintiff learned
                     learned of
                             of Kelly
                                Kelly Boerner’s
                                      Boerner’s compensation
                                                compensation from
                                                             from Maximus
                                                                  Maximus

Production.
Production.


      Plaintiff’s
      Plaintiff's identification
                  identification of
                                 of documents
                                    documents is
                                              is limited
                                                 limited by
                                                         by the
                                                            the lack
                                                                lack of
                                                                     of means by
                                                                        means by

which
which to
      to describe
         describe documents
                  documents not
                            not in
                                in the
                                   the record. As Defendants’
                                       record. As Defendants’ document
                                                              document request
                                                                       request

was
was within
    within this
           this Interrogatory
                Interrogatory and
                              and not
                                  not aa request
                                         request for production, Plaintiff
                                                 for production, Plaintiff assumes
                                                                           assumes

Defendants
Defendants see
           see for
               for Plaintiff
                   Plaintiff to
                             to describe
                                describe the
                                         the document but did
                                             document but did not
                                                              not instruct
                                                                  instruct Plaintiff
                                                                           Plaintiff

on
on the
   the method
       method to
              to describe
                 describe each
                          each document
                               document not
                                        not already
                                            already in
                                                    in the
                                                       the record.
                                                           record.



INTERROGATORY
INTERROGATORY NO.
              NO. 9:
                  9:

      With
      With respect
           respect to
                   to the
                      the allegations
                          allegations raised
                                      raised in
                                             in Paragraph
                                                Paragraph 238
                                                          238 of
                                                              of the
                                                                 the Second
                                                                     Second
                                        10
                                        10
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Amended
Amended Complaint
        Complaint that
                  that “Defendants
                       “Defendants discriminated
                                   discriminated against
                                                 against the
                                                         the plaintiff
                                                             plaintiff based
                                                                       based

upon
upon his
     his race by paying
         race by paying him
                        him at
                            at lower
                               lower rate
                                     rate than
                                          than individuals
                                               individuals who
                                                           who were
                                                               were either
                                                                    either

subordinate
subordinate to
            to or
               or aa direct
                     direct report
                            report of
                                   of the
                                      the Plaintiff,”
                                          Plaintiff,” identify:
                                                      identify:

(a) the
(a) the name
        name of
             of each
                each of
                     of the
                        the alleged
                            alleged subordinates
                                    subordinates or
                                                 or individuals
                                                    individuals who
                                                                who directly
                                                                    directly reported
                                                                             reported
   to
   to you;
      you; and
           and

(b) any
(b) any documents
        documents which
                  which support your answer
                        support your answer to
                                            to this
                                               this Interrogatory.
                                                    Interrogatory.

   RESPONSE:
   RESPONSE:

   Plaintiff
   Plaintiff identifies
             identifies the
                        the following
                            following individuals
                                      individuals who
                                                  who were
                                                      were compensated
                                                           compensated with
                                                                       with an
                                                                            an

   annual
   annual salary
          salary that
                 that exceeded
                      exceeded Plaintiff’s
                               Plaintiff's annual
                                           annual salary
                                                  salary and
                                                         and reported
                                                             reported to
                                                                      to Plaintiff:
                                                                         Plaintiff:

   1.
   1. Colleen
      Colleen Duke
              Duke

   2.
   2. Kelly
      Kelly Boerner
            Boerner

   3.
   3. Daryl
      Daryl Riber
            Riber

   4.
   4. James
      James Graettinger
            Graettinger

   5.
   5. Rick
      Rick Dillio
           Dillio

   6.

   7.
   7. In
      In support
         support of
                 of Plaintiff’s
                    Plaintiffs contention,
                                contention, Plaintiff
                                            Plaintiff identifies
                                                      identifies the
                                                                 the following
                                                                     following

        documents:
        documents: 1.
                   1. Statements
                      Statements made
                                 made about
                                      about Plaintiff
                                            Plaintiff on
                                                      on www.maximus.com.
                                                         www.maximus.com. 2.
                                                                          2.

        Screenshot
        Screenshot of
                   of statement by James
                      statement by James Graettinger
                                         Graettinger stating
                                                     stating that
                                                             that he
                                                                  he is
                                                                     is on
                                                                        on Franklin’s
                                                                           Franklin’s

        team
        team 3.
             3. Screenshot
                Screenshot of
                           of statement by James
                              statement by  James Graettinger
                                                  Graettinger thanking
                                                              thanking Plaintiff
                                                                       Plaintiff for
                                                                                 for

        being
        being on
              on Plaintiff’s
                 Plaintiff's team
                             team 4.
                                  4. 2020
                                     2020 Financial
                                          Financial Package
                                                    Package with
                                                            with profit
                                                                 profit and
                                                                        and loss
                                                                            loss

        responsibility
        responsibility for
                       for CA
                           CA Lifeline
                              Lifeline Project
                                       Project assigned
                                               assigned to
                                                        to Plaintiff
                                                           Plaintiff 5.
                                                                     5. CA
                                                                        CA Lifeline
                                                                           Lifeline


                                           11
                                           11
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      Project
      Project rebid
              rebid proposal
                    proposal listing
                             listing Plaintiff
                                     Plaintiff as
                                               as the
                                                  the VP
                                                      VP and
                                                         and contract
                                                             contract manager
                                                                      manager 6.
                                                                              6.

      FY21
      FY21 Strategic
           Strategic Plan
                     Plan 7.
                          7. September
                             September 18,
                                       18, 2019
                                           2019 email
                                                email from
                                                      from Laura
                                                           Laura Rosenak
                                                                 Rosenak

      concerning
      concerning Lifeline
                 Lifeline Role
                          Role and
                               and Responsibilities
                                   Responsibilities stating
                                                    stating that
                                                            that Plaintiff
                                                                 Plaintiff had
                                                                           had

      operational
      operational responsibility
                  responsibility over
                                 over CA
                                      CA Lifeline
                                         Lifeline Project
                                                  Project 8.
                                                          8. Plaintiff’s
                                                             Plaintiff's employee
                                                                         employee file
                                                                                  file

      9.
      9. Colleen
         Colleen Duke’s
                 Duke’s employee
                        employee file
                                 file (production)
                                      (production) 10.Richard
                                                   10.Richard DiLilio’s
                                                              DiLilio’s employee
                                                                        employee

      file
      file (production)
           (production) 11.James
                        11.James Graetinger’s
                                 Graetinger’s employee
                                              employee file
                                                       file (production)
                                                            (production) 12.Daryl
                                                                         12.Daryl

      Reiber’s
      Reiber’s employee
               employee file
                        file (production)
                             (production)


INTERROGATORY
INTERROGATORY NO.
              NO. 10:
                  10:

      With
      With respect
           respect to
                   to the
                      the allegations
                          allegations raised
                                      raised in
                                             in Paragraph
                                                Paragraph 301
                                                          301 of
                                                              of the
                                                                 the Complaint
                                                                     Complaint that
                                                                               that

“Plaintiff
“Plaintiff attempted
           attempted to
                     to return
                        return to
                               to his
                                  his employment with the
                                      employment with the Defendants
                                                          Defendants but
                                                                     but was
                                                                         was

denied,”
denied,” identify:
         identify: (a)
                   (a) when
                       when you
                            you were
                                were allegedly
                                     allegedly denied;
                                               denied; (b)
                                                       (b) who
                                                           who communicated
                                                               communicated this
                                                                            this

alleged
alleged denial
        denial to
               to you;
                  you; (c)
                       (c) the
                           the method by which
                               method by which the
                                               the alleged
                                                   alleged denial was
                                                           denial was

communicated
communicated to
             to you,
                you, including
                     including whether
                               whether it
                                       it was
                                          was written
                                              written or
                                                      or oral;
                                                         oral; (d)
                                                               (d) the
                                                                   the substance
                                                                       substance of
                                                                                 of

the
the conversation,
    conversation, including
                  including who
                            who said
                                said what;
                                     what; (e)
                                           (e) any witnesses and/or
                                               any witnesses        participants to
                                                             and/or participants to

any
any conversation
    conversation relating
                 relating to
                          to these
                             these allegations;
                                   allegations; (f)
                                                (f) any
                                                    any actions
                                                        actions you
                                                                you took,
                                                                    took, including
                                                                          including

any
any complaints
    complaints

made,
made, in
      in response
         response to
                  to this
                     this alleged
                          alleged denial;
                                  denial; and
                                          and (g)
                                              (g) any
                                                  any documents
                                                      documents which
                                                                which support
                                                                      support your
                                                                              your

answer
answer to
       to this
          this Interrogatory.
               Interrogatory.

      RESPONSE:
      RESPONSE:

     On
     On October
        October 13,
                13, 2021,
                    2021, Kathryn
                          Kathryn Barry,
                                  Barry, one
                                         one of
                                             of Defendants’
                                                Defendants’ attorneys,
                                                            attorneys, call
                                                                       call

                                         12
                                         12
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Anthony
Anthony Dawkins,
        Dawkins, Plaintiff’s
                 Plaintiffs attorney.
                             attorney. During
                                       During that
                                              that call,
                                                   call, Mr.
                                                         Mr. Dawkins
                                                             Dawkins

communicated
communicated to
             to Ms.
                Ms. Barry
                    Barry that
                          that Plaintiff’s
                               Plaintiff's position
                                           position regarding
                                                    regarding his
                                                              his employment
                                                                  employment with
                                                                             with

Maximus
Maximus was
        was that,
            that, in
                  in revoking
                     revoking his
                              his agreement
                                  agreement to
                                            to Defendants’
                                               Defendants’ severance
                                                           severance agreement,
                                                                     agreement,

Plaintiff
Plaintiff revoked
          revoked his
                  his agreement
                      agreement to
                                to the
                                   the entire
                                       entire agreement
                                              agreement and
                                                        and not
                                                            not merely
                                                                merely the
                                                                       the waiver
                                                                           waiver of
                                                                                  of

claims.
claims. Ms.
        Ms. Barry
            Barry responded
                  responded by
                            by advising
                               advising Mr.
                                        Mr. Dawkins
                                            Dawkins that
                                                    that it
                                                         it was
                                                            was her
                                                                her client’s
                                                                    client’s

position that
position that his
              his revocation was only
                  revocation was only to
                                      to the
                                         the waiver
                                             waiver of
                                                    of claims
                                                       claims and
                                                              and did
                                                                  did not
                                                                      not serve
                                                                          serve to
                                                                                to

rescind
rescind the
        the termination
            termination of
                        of Plaintiff’s
                           Plaintiff's employment.
                                       employment. Mr.
                                                   Mr. Barry
                                                       Barry insisted
                                                             insisted that
                                                                      that Maximus
                                                                           Maximus

did
did not
    not have
        have to
             to “rehire”
                “rehire” Plaintiff
                         Plaintiff and
                                   and that
                                       that his
                                            his employment
                                                employment remained
                                                           remained terminated.
                                                                    terminated. Mr.
                                                                                Mr.

Dawkins
Dawkins advised
        advised Ms.
                Ms. Barry
                    Barry that
                          that Plaintiff
                               Plaintiff worked
                                         worked for
                                                for Defendants
                                                    Defendants the
                                                               the day before to
                                                                   day before to

wit
wit Ms.
    Ms. Barry
        Barry stated
              stated that
                     that it
                          it was
                             was inappropriate
                                 inappropriate for
                                               for Plaintiff
                                                   Plaintiff to
                                                             to have
                                                                have accesses
                                                                     accesses

Maximus
Maximus systems.
        systems. Additionally,
                 Additionally, Plaintiff
                               Plaintiff contacted
                                         contacted Melissa
                                                   Melissa Janowski
                                                            Janowski on
                                                                     on October
                                                                        October

13,
13, 2022
    2022 with
         with Maximus
              Maximus Human
                      Human Capital
                            Capital to
                                    to advise
                                       advise that
                                              that he
                                                   he had
                                                      had been
                                                          been blocked by the
                                                               blocked by the

system.
system. Ms.
        Ms. Janowski
            Janowski advised
                     advised Plaintiff
                             Plaintiff that
                                       that he
                                            he was
                                               was listed
                                                   listed as
                                                          as terminated
                                                             terminated in
                                                                        in the
                                                                           the

system.
system.

INTERROGATORY
INTERROGATORY NO.
              NO. 11:
                  11:

      With
      With respect
           respect to
                   to each
                      each audio
                           audio recording
                                 recording you produced in
                                           you produced in connection
                                                           connection with
                                                                      with this
                                                                           this

Litigation
Litigation on
           on May
              May 24,
                  24, 2022,
                      2022, identify:
                            identify: (a)
                                      (a) when
                                          when this
                                               this audio
                                                    audio recording
                                                          recording was
                                                                    was made;
                                                                        made; (b)
                                                                              (b)

the
the individuals
    individuals whose voices are
                whose voices are heard
                                 heard on
                                       on the
                                          the audio
                                              audio recording;
                                                    recording; (c)
                                                               (c) any
                                                                   any individuals
                                                                       individuals

who
who witnessed
    witnessed and/or
              and/or participated
                     participated in
                                  in the
                                     the conversation
                                         conversation recorded
                                                      recorded whose
                                                               whose voices
                                                                     voices

cannot be heard;
cannot be heard; (d)
                 (d) how
                     how the
                         the audio
                             audio recording
                                   recording was
                                             was made,
                                                 made, including
                                                       including the
                                                                 the device
                                                                     device that
                                                                            that

captured
captured the
         the recording
             recording and
                       and any
                           any applications used to
                               applications used to capture
                                                    capture the
                                                            the recording;
                                                                recording;
                                          13
                                          13
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(ec) who
(e)  who made
         made the
              the recording;
                  recording; (f)
                             (f) Plaintiff’s
                                 Plaintiffs physical
                                             physical location
                                                      location at
                                                               at the
                                                                  the time
                                                                      time of
                                                                           of the
                                                                              the

recording;
recording; (g)
           (g) the
               the physical
                   physical location
                            location of
                                     of any
                                        any witnesses
                                            witnesses and/or
                                                      and/or participants
                                                             participants to
                                                                          to the
                                                                             the

conversation being recorded;
conversation being recorded; and
                             and (h)
                                 (h) any
                                     any documents
                                         documents which
                                                   which support
                                                         support your
                                                                 your answer
                                                                      answer to
                                                                             to

this
this Interrogatory.
     Interrogatory.

     RESPONSE:
     RESPONSE:

     See
     See Plaintiff’s
         Plaintiffs response
                     response to
                              to Interrogatory
                                 Interrogatory 11
                                               11 attached.
                                                  attached.

INTERROGATORY
INTERROGATORY NO.
              NO. 12:
                  12:

      Identify
      Identify every
               every position
                     position at
                              at Maximus
                                 Maximus to
                                         to which
                                            which you
                                                  you applied
                                                      applied during
                                                              during the
                                                                     the Period
                                                                         Period of
                                                                                of

Employment,
Employment, including
            including when
                      when you
                           you applied
                               applied to
                                       to the position, the
                                          the position, the manner
                                                            manner in
                                                                   in which
                                                                      which you
                                                                            you

applied
applied (including
        (including whether
                   whether you
                           you submitted
                               submitted an
                                         an application
                                            application and
                                                        and how
                                                            how you
                                                                you submitted
                                                                    submitted

any
any such
    such application),
         application), any
                       any applications
                           applications you
                                        you submitted,
                                            submitted, any
                                                       any responses
                                                           responses you
                                                                     you received
                                                                         received

to
to applying
   applying to
            to the position, and
               the position, and any
                                 any documents
                                     documents which
                                               which support
                                                     support your
                                                             your answer
                                                                  answer to
                                                                         to this
                                                                            this

Interrogatory.
Interrogatory.

      RESPONSE:
      RESPONSE:




INTERROGATORY
INTERROGATORY NO.
              NO. 13:
                  13:

      Identify
      Identify each prospective employer
               each prospective employer whom
                                         whom you
                                              you have
                                                  have contacted
                                                       contacted in
                                                                 in any
                                                                    any way
                                                                        way

during
during the
       the Period
           Period of
                  of Employment
                     Employment through
                                through the present and
                                        the present and describe
                                                        describe in
                                                                 in detail
                                                                    detail every
                                                                           every

attempt
attempt you
        you have
            have made
                 made or
                      or are
                         are making
                             making to
                                    to secure
                                       secure employment
                                              employment during
                                                         during the
                                                                the Period
                                                                    Period of
                                                                           of

Employment
Employment through
           through the present. For
                   the present. For each
                                    each such prospective employer
                                         such prospective employer you
                                                                   you have
                                                                       have

                                         14
                                         14
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contacted,
contacted, identify
           identify the
                    the following:
                        following:

      (a)
      (a)    The
             The dates
                 dates of
                       of each
                          each contact;
                               contact;
      (b)
      (b)    Whether
             Whether the
                       the contact
                           contact was
                                     was by
                                          by email,
                                               email, other
                                                      other written
                                                            written correspondence,
                                                                    correspondence,
             over the telephone,  or in person;
             over the telephone, or in person;
      (c)
      (c)    The
             The names
                  names of
                         of the
                             the individuals
                                  individuals with
                                              with whom
                                                   whom you
                                                        you corresponded,
                                                            corresponded, spoke
                                                                          spoke with,
                                                                                with,
             or
             or had
                had any
                    any
             other
             other contact
                   contact with;
                            with;
      (d)
      (d)    The position or
             The position or type
                             type of
                                  of work
                                     work you
                                          you sought;
                                              sought;
      (e)
      (c)    The
             The geographic
                 geographic location
                            location of
                                     of the
                                        the position
                                            position or
                                                     or work you sought;
                                                        work you sought; and
                                                                         and
      (f)
      (f)    The
             The results
                  results of
                           of your
                               your contact,
                                     contact, for
                                                for example,
                                                     example, “received      job offer,”
                                                                 “received job   offer,” “had
                                                                                         “had
             telephone
             telephone interview,”
                         interview,” “no
                                      99
                                        “no response,”
                                            response,” “rejected
                                           66
                                                                     job offer,”
                                                          “rejected job
                                                         99   66
                                                                         offer,” etc.
                                                                                 etc.
For
For all
     all other
         other attempts
               attempts you
                        you have
                            have made
                                 made or
                                      or are
                                         are making
                                             making to
                                                    to secure
                                                       secure employment,
                                                              employment, identify
                                                                          identify
the
the following:
    following:

      (g)
      (g)    Each
             Each and
                    and every
                         every jobjob board
                                       board or    job search
                                               or job   search website
                                                                 website you
                                                                           you are
                                                                                 are (or
                                                                                      (or were)
                                                                                          were)
             registered
             registered onon oror aa member
                                      member of  of during
                                                     during your
                                                              your Period
                                                                     Period ofof Employment
                                                                                  Employment
             through
             through the
                       the present,
                             present, and
                                        and each
                                              each and
                                                     and every
                                                          every employment
                                                                  employment opportunity,
                                                                                   opportunity,
             advertisement,
             advertisement, solicitation,        bid, or
                                 solicitation, bid,    or proposal
                                                           proposal youyou have
                                                                             have answered,
                                                                                     answered,
             responded
             responded to to or  pursued;
                             or pursued;
      (h)
      (h)    All
             All correspondence
                 correspondence youyou have
                                         have sent
                                               sent to
                                                     to or
                                                        or received
                                                           received from
                                                                      from all
                                                                             all employment
                                                                                 employment
             agencies,
             agencies, government
                          government agencies,         placement agencies,
                                          agencies, placement         agencies, temporary
                                                                                   temporary
             placement
             placement firms,
                          firms, internet   job application
                                 internet job    application sites,
                                                               sites, or
                                                                       or search
                                                                          search firms
                                                                                   firms you
                                                                                         you
             have
             have contacted;
                   contacted;
      (i)
      (i)    All job
             All  job offers
                        offers you
                                you have
                                      have received,
                                             received, including
                                                         including the     job title
                                                                     the job   title and
                                                                                       and salary
                                                                                             salary
             offered,
             offered, or or alternatively,
                             alternatively, whether
                                               whether youyou have
                                                                have rejected
                                                                       rejected anyany offer
                                                                                          offer ofof
             employment
             employment duringduring your
                                       your Period
                                             Period ofof Employment
                                                         Employment through
                                                                          through the      present,
                                                                                     the present,
             and
             and if
                  if so,
                     so, explain
                          explain in
                                   in detail
                                      detail the
                                              the reasons
                                                  reasons for
                                                            for each
                                                                each rejection;
                                                                      rejection; and
                                                                                  and
      (j)
      (j)    All persons, other
             All persons,   other than
                                  than prospective
                                        prospective employers,
                                                      employers, with
                                                                 with whom
                                                                      whom you
                                                                           you have
                                                                               have
             discussed
             discussed your   job search
                        your job  search or  possible employment.
                                          or possible  employment.


     RESPONSE:
     RESPONSE:

     Plaintiff’s
     Plaintiff's response
                 response to
                          to Interrogatory
                             Interrogatory 13
                                           13 is
                                              is attached.
                                                 attached.

                                                15
                                                15
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INTERROGATORY
INTERROGATORY NO.
              NO. 14:
                  14:

      Identify
      Identify and
               and describe
                   describe every
                            every position
                                  position of
                                           of employment
                                              employment you
                                                         you have
                                                             have held
                                                                  held since
                                                                       since the
                                                                             the

Period
Period of
       of Employment
          Employment through
                     through the present, including
                             the present,           but not
                                          including but not limited
                                                            limited to
                                                                    to self-
                                                                       self-

employment
employment (which
           (which includes
                  includes services provided by
                           services provided by you
                                                you as
                                                    as an
                                                       an independent
                                                          independent

contractor),
contractor), and
             and for
                 for each
                     each such
                          such employment,
                               employment, state
                                           state the
                                                 the following:
                                                     following:

      (a)
      (a)      the
               the name,
                   name, address,
                           address, andand telephone
                                             telephone number
                                                           number ofof the
                                                                       the employer;
                                                                            employer;
      (b)
      (b)      the position you
               the position  you held;
                                    held;
      (c)
      (c)      the
               the nature
                   nature of
                           of that
                              that employment,
                                     employment, i.e.,       your job
                                                       i.e., your job duties;
                                                                       duties;
      (d)
      (d)    _ the
               the rate
                   rate of
                        of pay;
                           pay;
      (e)
      (ec)     the
               the dates
                   dates you   began and
                          you began      and ended
                                              ended employment
                                                      employment with  with such
                                                                             such employer;
                                                                                   employer; and
                                                                                              and
      (f)
      (f)      the
               the reason(s),
                   reason(s), ifif any,
                                   any, you
                                          you left
                                               left such
                                                    such employment,
                                                            employment, andand whether
                                                                                whether you
                                                                                         you left
                                                                                             left
               voluntarily
               voluntarily or
                            or involuntarily.
                                 involuntarily.


               RESPONSE:
               RESPONSE:

      Plaintiff
      Plaintiff is
                is employed by The
                   employed by The Franklin
                                   Franklin Reese
                                            Reese Group,
                                                  Group, LLC,
                                                         LLC, 200
                                                              200 E.
                                                                  E. Illinois
                                                                     Illinois St.
                                                                              St.

#1607,
#1607, Chicago,
       Chicago, IL
                IL 60611,
                   60611, (872-270-2477
                          (872-270-2477 as
                                        as aa program
                                              program efficiency
                                                      efficiency lead.
                                                                 lead. Plaintiff’s
                                                                       Plaintiff's

position consults
position consults with
                  with client partners to
                       client partners to assist
                                          assist them
                                                 them with
                                                      with growth
                                                           growth and
                                                                  and strategy.
                                                                      strategy.

Plaintiff
Plaintiff earned
          earned $3,500.00
                 $3,500.00 in
                           in March
                              March 2022
                                    2022 and
                                         and $5,000 per month
                                             $5,000 per month thereafter..
                                                              thereafter..

Plaintiff began his
Plaintiff began his employment
                    employment on
                               on March
                                  March 21,
                                        21, 2022
                                            2022 and
                                                 and remains
                                                     remains employed.
                                                             employed.




INTERROGATORY
INTERROGATORY NO.     NO. 15:
                           15:
    Identify
    Identify all
             all income
                 income received
                         received from
                                  from whatever
                                       whatever source, by amount
                                                source, by amount each
                                                                  each week
                                                                       week on
                                                                            on

and
and after
    after January
          January 1,
                  1, 2008.
                     2008. Sources
                           Sources of
                                   of income
                                      income may
                                             may include,
                                                 include, but
                                                          but are
                                                              are not
                                                                  not limited
                                                                      limited to:
                                                                              to:

income
income from
       from employment
            employment or
                       or self-employment;
                          self-employment; any benefits, including
                                           any benefits, including but
                                                                   but not
                                                                       not

                                                16
                                                16
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limited
limited to
        to monetary
           monetary and/or
                    and/or health,
                           health, pension,
                                   pension, disability,
                                            disability, social
                                                        social security,
                                                               security, financial
                                                                         financial aid,
                                                                                   aid,

insurance proceeds, or
insurance proceeds,    profit-sharing benefits
                    or profit-sharing benefits received
                                               received from
                                                        from aa government, private,
                                                                government, private,

or
or employer-sponsored
   employer-sponsored plan;
                      plan; and
                            and any
                                any unemployment
                                    unemployment benefits,
                                                 benefits, alimony,
                                                           alimony, or
                                                                    or other
                                                                       other

support.
support.


      RESPONSE:
      RESPONSE:

      Plaintiff
      Plaintiff objects
                objects to
                        to Interrogatory No. 15
                           Interrogatory No. 15 on
                                                on the
                                                   the basis
                                                       basis that
                                                             that it
                                                                  it seeks
                                                                     seeks to
                                                                           to discover
                                                                              discover

information
information that
            that is
                 is not
                    not relevant
                        relevant to
                                 to any
                                    any claim
                                        claim in
                                              in the
                                                 the Second
                                                     Second Amended
                                                            Amended Complaint
                                                                    Complaint or
                                                                              or

any
any defense
    defense in
            in Defendants’
               Defendants’ Answer.
                           Answer.

INTERROGATORY
INTERROGATORY NO.
              NO. 16:
                  16:

      Identify,
      Identify, by
                by case
                   case name,
                        name, court,
                              court, and
                                     and docket
                                         docket number,
                                                number, each
                                                        each and
                                                             and every
                                                                 every criminal
                                                                       criminal

proceeding,
proceeding, administrative
            administrative proceeding
                           proceeding (including but not
                                      (including but not limited
                                                         limited to
                                                                 to any
                                                                    any application
                                                                        application

for
for Social
    Social Security
           Security disability
                    disability benefits
                               benefits and
                                        and any
                                            any charges
                                                charges of
                                                        of discrimination),
                                                           discrimination),

bankruptcy proceeding, and
bankruptcy proceeding, and civil
                           civil suit
                                 suit in
                                      in which
                                         which you
                                               you have been involved,
                                                   have been involved, and
                                                                       and state
                                                                           state

the
the current
    current status
            status or
                   or final
                      final disposition
                            disposition of
                                        of the
                                           the proceeding.
                                               proceeding. Also, with respect
                                                           Also, with respect to
                                                                              to each
                                                                                 each

judicial or
judicial or administrative
            administrative complaint
                           complaint or
                                     or charge
                                        charge that
                                               that you
                                                    you have
                                                        have instituted
                                                             instituted against
                                                                        against any
                                                                                any

person,
person, and
        and each judicial or
            each judicial or administrative
                             administrative complaint
                                            complaint to which you
                                                      to which you have
                                                                   have been
                                                                        been aa

party, state
party, state the
             the index,
                 index, docket,
                        docket, complaint,
                                complaint, charge,
                                           charge, or
                                                   or other
                                                      other identification
                                                            identification number
                                                                           number or
                                                                                  or

designation,
designation, and
             and state
                 state the
                       the current
                           current status
                                   status or
                                          or final
                                             final disposition
                                                   disposition of
                                                               of the proceeding.
                                                                  the proceeding.

      RESPONSE:
      RESPONSE:

      Plaintiff
      Plaintiff objects
                objects to
                        to Interrogatory No. 16
                           Interrogatory No. 16 on
                                                on the
                                                   the basis
                                                       basis that
                                                             that it
                                                                  it seeks
                                                                     seeks to
                                                                           to discover
                                                                              discover

                                          17
                                          17
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information
information that
            that is
                 is not
                    not relevant
                        relevant to
                                 to any
                                    any claim
                                        claim in
                                              in the
                                                 the Second
                                                     Second Amended
                                                            Amended Complaint
                                                                    Complaint or
                                                                              or

any
any defense
    defense in
            in Defendants’
               Defendants’ Answer.
                           Answer.

INTERROGATORY
INTERROGATORY NO.
              NO. 17:
                  17:

      State
      State whether
              whether you
                      you have been charged
                          have been charged with
                                            with or
                                                 or convicted
                                                    convicted of
                                                              of any
                                                                 any crimes
                                                                     crimes during
                                                                            during
      the
      the last
           last ten
                ten

(10)
(10) years,
     years, and
            and with
                with respect
                     respect to
                             to each,
                                each, state:
                                      state: (a)
                                             (a) the
                                                 the date
                                                     date or
                                                          or approximate
                                                             approximate date
                                                                         date of
                                                                              of the
                                                                                 the

charge
charge and/or
       and/or conviction(s);
              conviction(s); (b)
                             (b) the
                                 the crime(s)
                                     crime(s) for
                                              for which
                                                  which you
                                                        you were
                                                            were charged
                                                                 charged and/or
                                                                         and/or

convicted;
convicted; and
           and (c)
               (c) the
                   the case
                       case number(s),
                            number(s), court
                                       court name(s)
                                             name(s) and
                                                     and address
                                                         address of
                                                                 of the
                                                                    the court(s)
                                                                        court(s) in
                                                                                 in

which
which you
      you were
          were charged
               charged or
                       or convicted.
                          convicted.

      RESPONSE:
      RESPONSE:

      Plaintiff
      Plaintiff objects
                objects to
                        to Interrogatory No. 17
                           Interrogatory No. 17 on
                                                on the
                                                   the basis
                                                       basis that
                                                             that it
                                                                  it seeks
                                                                     seeks to
                                                                           to discover
                                                                              discover

information
information that
            that is
                 is not
                    not relevant
                        relevant to
                                 to any
                                    any claim
                                        claim in
                                              in the
                                                 the Second Amended Complaint
                                                     Second Amended Complaint or
                                                                              or

any
any defense
    defense in
            in Defendants’
               Defendants’ Answer.
                           Answer.

INTERROGATORY
INTERROGATORY NO.
              NO. 18:
                  18:

      Identify
      Identify every person with
               every person with personal
                                 personal knowledge
                                          knowledge of
                                                    of facts
                                                       facts relating
                                                             relating to
                                                                      to the
                                                                         the

allegations
allegations in
            in your
               your Second
                    Second Amended
                           Amended Complaint
                                   Complaint and/or
                                             and/or who
                                                    who may
                                                        may have
                                                            have discoverable
                                                                 discoverable

knowledge,
knowledge, information,
           information, or
                        or data
                           data relating
                                relating to
                                         to this
                                            this matter,
                                                 matter, and
                                                         and state
                                                             state the
                                                                   the subject(s)
                                                                       subject(s) of
                                                                                  of

that knowledge, information,
that knowledge, information, or
                             or data.
                                data.

      RESPONSE:
      RESPONSE:

      Bruce
      Bruce Casewell
            Casewell —– Defendants’ policies and
                        Defendants’ policies and procedures
                                                 procedures

      Christine
      Christine LaFortune
                LaFortune —– knowledge
                             knowledge of
                                       of Laura
                                          Laura Rosenak’s
                                                Rosenak’s interaction with
                                                          interaction with
                                          18
                                          18
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Plaintiff.
Plaintiff.

       Christa
       Christa Ballew
               Ballew -- knowledge
                         knowledge of
                                   of Laura
                                      Laura Rosenak’s
                                            Rosenak’s interaction
                                                      interaction with
                                                                  with Plaintiff.
                                                                       Plaintiff.

       Clyde
       Clyde Stith
             Stith —– knowledge
                      knowledge of
                                of complaints
                                   complaints he
                                              he made
                                                 made about
                                                      about Laura
                                                            Laura Rosenak
                                                                  Rosenak

       Colleen
       Colleen Duke
               Duke —– knowledge
                       knowledge of
                                 of her
                                    her compensation
                                        compensation and
                                                     and role
                                                         role at
                                                              at Maximus
                                                                 Maximus

       Colleen
       Colleen Mathias
               Mathias -- knowledge
                          knowledge of
                                    of Laura
                                       Laura Rosenak’s
                                             Rosenak’s interaction
                                                       interaction with
                                                                   with Plaintiff.
                                                                        Plaintiff.

       Daryl
       Daryl Reiber
             Reiber —– knowledge
                       knowledge of
                                 of his
                                    his compensation
                                        compensation and
                                                     and role
                                                         role at
                                                              at Maximus.
                                                                 Maximus.

       Harold
       Harold Horton
              Horton —– knowledge
                        knowledge of
                                  of the
                                     the interview processes for
                                         interview processes for the
                                                                 the Lead
                                                                     Lead Vice
                                                                          Vice

President
President —– Economic
             Economic Services position
                      Services position

       Hayley
       Hayley Secondo
              Secondo —– knowledge
                         knowledge of
                                   of the
                                      the organizational
                                          organizational reporting
                                                         reporting structure
                                                                   structure

       James
       James Graettinger
             Graettinger —– knowledge
                            knowledge of
                                      of his
                                         his compensation
                                             compensation and
                                                          and role
                                                              role at
                                                                   at Maximus
                                                                      Maximus

       Joseph
       Joseph DiPrimio
              DiPrimio —– knowledge
                          knowledge of
                                    of retaliation
                                       retaliation by
                                                   by Laura
                                                      Laura Rosenak
                                                            Rosenak

       Kathleen
       Kathleen Kerr
                Kerr —– knowledge
                        knowledge of
                                  of the
                                     the allegations
                                         allegations in
                                                     in the
                                                        the Second
                                                            Second Amended
                                                                   Amended

Complaint
Complaint

       Kelly
       Kelly Blaschke
             Blaschke Treharne
                      Treharne —– knowledge
                                  knowledge of
                                            of the
                                               the reorganization
                                                   reorganization and
                                                                  and _ hiring
                                                                        hiring

process for
process for the
            the Lead
                Lead Vice
                     Vice President positions.
                          President positions.

       Kevin
       Kevin Black
             Black —– knowledge
                      knowledge of
                                of the
                                   the hiring process for
                                       hiring process for the
                                                          the Lead
                                                              Lead Vice
                                                                   Vice President
                                                                        President

positions
positions

       Kim
       Kim Colbeck
           Colbeck -- knowledge
                      knowledge of
                                of the
                                   the allegations
                                       allegations in
                                                   in the
                                                      the Second
                                                          Second Amended
                                                                 Amended

Complaint
Complaint

                                          19
                                          19
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      INTERROGATORY
      INTERROGATORY NO.
                    NO. 19:
                        19:



      Identify
      Identify by
               by URL
                  URL or
                      or web
                         web address
                             address every
                                     every social
                                           social media
                                                  media site
                                                        site (e.g.,
                                                             (e.g., Facebook,
                                                                    Facebook,

Instagram,
Instagram, Snapchat,
           Snapchat, Twitter,
                     Twitter, LinkedIn,
                              LinkedIn, aa blog,
                                           blog, etc.)
                                                 etc.) and
                                                       and email
                                                           email account(s)
                                                                 account(s) to which
                                                                            to which

you
you have
    have subscribed,
         subscribed, used,
                     used, or
                           or maintained
                              maintained during
                                         during your
                                                your Period
                                                     Period of
                                                            of Employment,
                                                               Employment, and
                                                                           and

state
state whether
      whether you
              you have
                  have searched
                       searched these
                                these social
                                      social media
                                             media sites
                                                   sites and
                                                         and email
                                                             email accounts
                                                                   accounts for
                                                                            for

documents
documents and
          and information
              information requested
                          requested in
                                    in Defendants’
                                       Defendants’ First
                                                   First Set
                                                         Set of
                                                             of Interrogatories
                                                                Interrogatories to
                                                                                to

Plaintiff
Plaintiff and
          and Defendants’
              Defendants’ First
                          First Request
                                Request for
                                        for Production
                                            Production of
                                                       of Documents.
                                                          Documents.

      RESPONSE:
      RESPONSE:

      Plaintiff
      Plaintiff objects
                objects to
                        to Interrogatory No. 19
                           Interrogatory No. 19 on
                                                on the basis that
                                                   the basis that seeks
                                                                  seeks to
                                                                        to discover
                                                                           discover

information
information that
            that is
                 is not
                    not relevant
                        relevant to
                                 to any
                                    any allegation
                                        allegation in
                                                   in Plaintiff’s
                                                      Plaintiff's Second
                                                                  Second Amended
                                                                         Amended

Complaint
Complaint or
          or Defendants’
             Defendants’ Answer
                         Answer thereto.
                                thereto.




INTERROGATORY
INTERROGATORY NO.
              NO. 20:
                  20:

      Identify
      Identify all
               all persons
                   persons (other
                           (other than
                                  than your
                                       your attorneys)
                                            attorneys) with
                                                       with whom you have
                                                            whom you have

communicated
communicated concerning
             concerning facts,
                        facts, issues,
                               issues, or
                                       or other
                                          other matters
                                                matters involved
                                                        involved in
                                                                 in this
                                                                    this Litigation
                                                                         Litigation

and
and describe
    describe in
             in detail
                detail the
                       the substance
                           substance and
                                     and date
                                         date of
                                              of each
                                                 each communication
                                                      communication or
                                                                    or discussion.
                                                                       discussion.


      RESPONSE:
      RESPONSE:


      Plaintiff
      Plaintiff objects
                objects to
                        to Interrogatory No. 20
                           Interrogatory No. 20 on
                                                on the basis that
                                                   the basis that seeks
                                                                  seeks to
                                                                        to discover
                                                                           discover

information
information that
            that is
                 is not
                    not relevant
                        relevant to
                                 to any
                                    any allegation
                                        allegation in
                                                   in Plaintiff’s
                                                      Plaintiff's Second
                                                                  Second Amended
                                                                         Amended
                                         20
                                         20
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Complaint
Complaint or
          or Defendants’
             Defendants’ Answer
                         Answer thereto.
                                thereto.

      Plaintiff’s
      Plaintiff's response
                  response to
                           to Interrogatory No. 20
                              Interrogatory No. 20 is
                                                   is attached.
                                                      attached. Plaintiff
                                                                Plaintiff does
                                                                          does not
                                                                               not

recalls
recalls the
        the dates
            dates of
                  of these
                     these interactions.
                           interactions. Further,
                                         Further, for
                                                  for each
                                                      each party
                                                           party listed
                                                                 listed in
                                                                        in response
                                                                           response to
                                                                                    to

Interrogatory No. 20,
Interrogatory No. 20, Plaintiff
                      Plaintiff acknowledges
                                acknowledges discussing
                                             discussing the
                                                        the case
                                                            case and
                                                                 and _ the
                                                                       the

circumstances
circumstances giving
              giving rise
                     rise to
                          to his
                             his separation
                                 separation from
                                            from Maximus.
                                                 Maximus. Plaintiff
                                                          Plaintiff does
                                                                    does not
                                                                         not recall
                                                                             recall

the
the details
    details of
            of these
               these conversations
                     conversations beyond
                                   beyond acknowledging
                                          acknowledging that
                                                        that aa conversation
                                                                conversation was
                                                                             was

had
had concerning
    concerning the
               the instant
                   instant action.
                           action.




INTERROGATORY
INTERROGATORY NO.
              NO. 21:
                  21:

      Identify
      Identify all persons who
               all persons who will
                               will or
                                    or may
                                       may testify
                                           testify as
                                                   as an
                                                      an expert witness in
                                                         expert witness in this
                                                                           this case,
                                                                                case,

and
and describe
    describe in
             in detail:
                detail: (a)
                        (a) the
                            the general
                                general subject
                                        subject matter
                                                matter of
                                                       of the
                                                          the testimony
                                                              testimony of
                                                                        of each
                                                                           each such
                                                                                such

expert
expert witness;
       witness; (b)
                (b) the
                    the substance
                        substance of
                                  of the
                                     the facts
                                         facts and
                                               and opinions
                                                   opinions to
                                                            to which
                                                               which each
                                                                     each expert
                                                                          expert

witness
witness is
        is expected
           expected to
                    to testify;
                       testify; (c)
                                (c) aa summary
                                       summary of
                                               of the
                                                  the grounds
                                                      grounds for
                                                              for each
                                                                  each opinion;
                                                                       opinion; and
                                                                                and

(d)
(d) the
    the area
        area of
             of each
                each expert
                     expert witness’
                            witness’ expertise
                                     expertise and
                                               and his
                                                   his or
                                                       or her
                                                          her qualifications
                                                              qualifications

establishing
establishing him
             him or
                 or her
                    her as
                        as an
                           an expert,
                              expert, including
                                      including his
                                                his or
                                                    or her
                                                       her knowledge,
                                                           knowledge, skill,
                                                                      skill,

experience,
experience, training,
            training, or
                      or education
                         education relating
                                   relating to
                                            to the
                                               the subject
                                                   subject of
                                                           of the
                                                              the testimony.
                                                                  testimony.

      RESPONSE:
      RESPONSE:

      Plaintiff
      Plaintiff has
                has not
                    not identified
                        identified expert
                                   expert witnesses
                                          witnesses at
                                                    at this
                                                       this time.
                                                            time. Plaintiff
                                                                  Plaintiff reserves
                                                                            reserves the
                                                                                     the

right
right to
      to supplement
         supplement his
                    his response
                        response to
                                 to Interrogatory No. 21.
                                    Interrogatory No. 21.

INTERROGATORY
INTERROGATORY NO.
              NO. 22:
                  22:


                                          21
                                          21
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       With
       With regard
            regard to
                   to alleged
                      alleged damages,
                              damages, (a)
                                       (a) identify
                                           identify the precise dollar
                                                    the precise dollar amount
                                                                       amount of
                                                                              of

monetary
monetary damages
         damages you
                 you claim
                     claim for
                           for each
                               each element
                                    element of
                                            of damages
                                               damages with
                                                       with specificity,
                                                            specificity,

including but not
including but not limited
                  limited to,
                          to, any
                              any claims
                                  claims for
                                         for attorneys’
                                             attorneys’ fees;
                                                        fees; (b)
                                                              (b) state
                                                                  state the
                                                                        the method
                                                                            method or
                                                                                   or

methods by which
methods by which the
                 the amount
                     amount of
                            of damages
                               damages you
                                       you claim
                                           claim were
                                                 were calculated;
                                                      calculated; (c)
                                                                  (c) state
                                                                      state the
                                                                            the

nature
nature of
       of any
          any non-monetary
              non-monetary damages
                           damages and
                                   and the
                                       the reason(s)
                                           reason(s) why
                                                     why you
                                                         you are
                                                             are seeking
                                                                 seeking such
                                                                         such

relief;
relief; and
        and (d)
            (d) identify
                identify every
                         every document upon which
                               document upon which you
                                                   you relied
                                                       relied in
                                                              in answering
                                                                 answering this
                                                                           this

Interrogatory, which relates
Interrogatory, which relates in
                             in any
                                any way
                                    way to
                                        to the
                                           the information
                                               information requested
                                                           requested in
                                                                     in this
                                                                        this

Interrogatory
Interrogatory or
              or

which
which you
      you claim
          claim supports
                supports your
                         your claim
                              claim for
                                    for damages
                                        damages as
                                                as set
                                                   set forth
                                                       forth in
                                                             in your
                                                                your answers.
                                                                     answers.
      RESPONSE:
      RESPONSE:

      Plaintiff
      Plaintiff has
                has not
                    not calculated
                        calculated the precise dollar
                                   the precise dollar amount
                                                      amount of
                                                             of his
                                                                his monetary
                                                                    monetary

damages.
damages. Plaintiff
         Plaintiff will
                   will supplement
                        supplement his
                                   his response
                                       response to
                                                to Interrogatory No. 22.
                                                   Interrogatory No. 22.




 Dated: November 4,
 Dated: November 4, 2022
                    2022                 Respectfully
                                         Respectfully Submitted,
                                                      Submitted,

                                      BARRETT
                                      BARRETT &
                                              & FARAHANY
                                                FARAHANY

                                       /s/ Anthony Dawkins
                                       /s/ Anthony   Dawkins
                                      Anthony
                                      Anthony Dawkins,
                                                 Dawkins, J.D.
                                                             J.D.
                                      Georgia   Bar  No.  157904
                                      Georgia Bar No. 157904
                                      Attorney
                                      Attorney for
                                                 for Plaintiff
                                                     Plaintiff
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                                         22
                                         22
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        EXHIBIT I
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

MAURICE FRANKLIN                         )
                                         )
     Plaintiff,                          ) Civil Action No. 1:21-CV-04367
                                         )
                   v.                    ) Honorable Steven C. Seeger
                                         )
MAXIMUS, INC., et al.                    )
                                         )
     Defendants.                         )
                                         )
                                         )


             PLAINTIFF’S FOURTH SUPPLEMENTAL RESPONSES TO
               DEFENDANTS’ FIRST SET OF INTERROGATORIES

      COMES NOW Plaintiff Maurice Franklin (“Franklin” or “Plaintiff”), and

pursuant to Rule 33 of the Federal Rules of Civil Procedure, supplements his

responses to Defendants’ First set of Interrogatories. By supplementing his response

to Defendant’s First Set of Interrogatories, Plaintiff does not intend nor does he

represent to waive any objection raised in his initial responses to Defendant’s First

Set of Interrogatories. Plaintiff expressly reserves all rights afforded to him and

expressly reaffirms any objections raised in his initial responses to Defendant’s Frist

Set of Interrogatories.

    PLAINTIFF’S RESPONSES TO DEFENDANTS’INTERROGATORIES:


INTERROGATORY NO. 15:
    Identify all income received from whatever source, by amount each week on
                                          1
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and after January 1, 2008. Sources of income may include, but are not limited to:

income from employment or self-employment; any benefits, including but not

limited to monetary and/or health, pension, disability, social security, financial aid,

insurance proceeds, or profit-sharing benefits received from a government, private,

or employer-sponsored plan; and any unemployment benefits, alimony, or other

support.

      SUPPLEMENTAL RESPONSE:

      Without waiver of Plaintiff’s prior objection to Interrogatory No. 15, Plaintiff

identifies various Venmo payments in Maurice Franklin Production 001697 –

001715 and various Zelle payments in Maurice Franklin Production 001716 –

001821. Additionally, Plaintiff identifies a rental assistance payment in Maurice

Franklin Production 001822 – 001825.




Dated: January 20, 2023                  Respectfully Submitted,

                                       BARRETT & FARAHANY

                                       /s/ Anthony Dawkins
                                       Anthony Dawkins, J.D.
                                       Georgia Bar No. 157904
                                       Attorney for Plaintiff
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anthony@justiceatwork.com

                                          2
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MAURICE FRANKLIN,                                     Civil Action No.
                                                       21-cv-04367
        Plaintiff,


 V.


 MAXIMUS, INC., MAXIMUS
 HUMAN SERVICES, INC., AND
 MAXIMUS SERVICES LLC,

        Defendants.



                                    VERIFICATION

          I, Maurice   Franklin, hereby   declare, under penalty of perjury, that the

information contained in Plaintiff’s Fourth Supplemental Responses to Defendants’

First Request for Production and Plaintiff's Fourth Supplemental Responses to

Defendants’ Interrogatories are true and correct to the best of my knowledge. I am

over the age of eighteen (18) years of age and competent to make this statement under

oath.

          Date: January 20, 2023



                                          Maurice Franklin,
                                          Plaintiff
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        EXHIBIT J
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     Results as of 2/21/2023 10:53:24 AM — Click on the icon to view case details

        Case Number      PlaintiffVsDefendant

        19881743629      BERGSTROM TENINGA-vs-MAURICE FRANKLIN


        19891130274      COMMONWEALTH EDISO -vs- MAURICE FRANKLIN,EVANSTON HOSP
                         COR,EVANSTON HOSP

        19891728955      BERGSTROM TENINGA-vs-MAURICE FRANKLIN


        19891743129      BERGSTROM TENINGA-vs-MAURICE FRANKLIN


        19901740919      BERGSTROM TENINGA-vs-MAURICE FRANKLIN


        19911033675      ANASTASIA DIAZ -vs- MAURICE FRANKLIN


        19921703250      MAXICENE WATSON-vs-ROBBIE FRANKLIN,MAURICE FRANKLIN,CHGO TRANS
                         AUTH,CTA

        19941175165      BELL IL,AMERITECH -vs- MAURICE FRANKLIN,ARBY'S INC


        20011109261      PEOPLES CREDIT UNI-vs-MAURICE FRANKLIN


        20041701232      REALMARK GROUP LTD-vs-MAURICE FRANKLIN


        20185002193      AUTOVEST, L.L.C.-vs-MAURICE FRANKLIN


        20142000453      SPM CAPITAL LLC -vs- MAURICE FRANKLIN


        2005CH08165      PEARL DIXON-vs-MAURICE FRANKLIN


        2001CH06495      BANK NEW YORK-vs-DANIEL WRIGHT,UNKNOWN HEIRS,UNKNOWN
                         TENANTS,UNKNOWN OWNERS,NON RECORD CLAIMANTS,MAURICE FRANKLIN
     Case: 1:21-cv-04367 Document #: 95-1 Filed: 02/21/23 Page 100 of 100 PageID #:1004

      2009L015497   CELESTE TROTTER-vs-HOLY SWEET,MAURICE FRANKLIN


      2011L012413   CELESTE TROTTER-vs-HOLY SWEET,MAURICE FRANKLIN


      20041169487   DEVRY INC,INSTITUE DEVRY -vs- MAURICE FRANKLIN,IL DEPT OF CHILD S,HOLY
                    SWEET

      20141137304   NEW AGE CHICAGO FU -vs- MAURICE FRANKLIN


      20121111100   AFFORDABLE FURNITU -vs- MAURICE FRANKLIN


      20151721068   MJ GRUSZKA-vs-MAURICE FRANKLIN,UNKNOWN OCCUPANTS


      19841091821   BERGSTRO TENINGA-vs-MAURICE FRANKLIN



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